L:         4·1    C'                            Hcsy   L-L OJ   LI_,   ,c. L / .J. J   ..; <./ .J.,   J "' I ,:..   ..,.. o;p-1. <..,   l-'- J   <..J/ , _,

correct .. ·. ~14~     819~,?if~~~/~~
                             4:18-cv-04063-SEM-TSH         # 133-2Jli) Page
                                       6 1t'3£.B-41t22Ragf?3=+~3}.f(f  .    1 of 23
                                                                           destination            [ 1]    108/23
                                                                                                                                                              E-FILED
 ]23/20 131/3 1 31/ 4 1 40 /5                    1~6/13 146/18 146/20 152/24        determination [ 1]       14 6/3
 J 41/11 148/20 1 48/23 150/9                    1 55/20 158 /:..9 J 6 5/8 166/13 Monday, 28 September,
                                                                                    determines   (1 ]      2020 01:42:08 PM
                                                                                                        122/7.
 1 52/"I 152/10 153/?, 4 155/13                 days [ 5 1 9/2 ?. 62 11 ?. 62/2?.   did (133]Clerk,
                                                                                                4/12 U.S.4/J
                                                                                                          District
                                                                                                             8 9/2 Court,
                                                                                                                    9/9 ILCD
corrected (l ]          112/13                   63 1 11 l 09/l6                                                     1 0/20 13/l 13/7 13/21 1 3/23
correctional [ 25]             2/5 2/10         deaco~ [5l]      3l/l 31 /1 31 /2                                    1 3/24 14 /14 14/22 16/2. 4 17/ l
 8/1~ 11 /2 13/4 32/2 36/1                     31/17 31/18 32/7 3 2 / 15 32/16                                       17/11 ]7/14 17/ 1 5 17/21 18/8
 3 6 / 11 37/ 10 40 / 10 4 3/15 45 /6          33 1 2 33 1 3 3 4 /8 34/10 34/20                                      18/24 19/7 1 9/8 1 9/14 20/21
 4 8/3 80/8 86/10 89/6 10 8 /4                 3 4 /20 34/22 34/23 34/23 34/24                                       2 1 / 18 22/6 23/8 23/ 18 24/13
 113/21 12 0/22 l?.1/] 4 140/21                3 5 / l 3 5/2 35/ 3 36/4 36/4 36/5                                    24/14 24/15 25/4 25 /~ 25/ 6
 141/6 14 9/1 156/7 165/9                      3 6/5 36/10 37/12 37/ 20 39/2                                         2 5/10 25/18 27/5 29/3 30/1 6
CORRECTIONS [14]             1/7 39/6          3 9 / 2 3 9/3 40/13 40/ 1 4 40/1 4                                    36/12 3'// 4 3 7 /4 37/15 38/1
 4 6/15 53/2 80 /8 86/9 10 3/3                 41 /20 41/23 4 3/10 44/21 45 / 1                                      38/ 3 38/ 4 38/7 44/7 45/ 1 3
 10 4/ l i 12,;4 12 4/22 1 44/ 1 1             45 / 2 45/3 45/ 6 4 5/ 24 46/10                                       46/24 4'//5 49/18 5 4 /24 57/20
 1 57/2 158/13 161/8                           4 6/22 48/11 1 42 /13 144/5                                           58/3 58/16 58/16 ~9/20 61/2
could ( 43]         28/12 42/ ?.4 46/23        1 44 / 6 144 / 7 : 4 4 / 22                                           63/ 22 64/ 2 66/1 0 66/1?. 6 6/19
 52/11 64/9 54/?.3 66/3 67/6                  deacons [7]         30/2 1 30/24 31/1 4                                69/20 ·10/8 70/23 71/ 16 7 2/6
 67/22 6 8/1 4 94/1 2 97/7 97/9                34 1 22 36 /2 86/23 1 43/23                                           72 /12 72/16 72/1 9 76/8 77/2
 97/ 1 6 98/5 9 8/1'/ 98/18 98/1 8            deal [l]      3 3 /15                                                  81/5 8 1 /]5 83/15 B4/8 84 /l l
 1 01/8 102/3 102/8 1 02/ 21                  dealing ( 2 1 2 6/lJ 35/22                                             8 5/2 8 8/ 3 93/24 97/5 98/20
 102/23 103/9 ll?./12 lP /15                  deals [l]       161/8                                                  99 /9 99/1 3 99/U 101 /6 10) /1 0
 l ?.2 I 14 12 2 / 1 5 12 3 /1 7 1 2 3 / 1 9  dea th [ 1 l    7 7 /3                                                 1 01/23 1 0 3 / 16 J O 6 /1 1 O6 / 6
 J 2 4 / 8 12 9 / l 8 13 0 / 3 13 4 / 14      debate [ l l      99I 5                                                10 6 /11 l O7 / 5 l O"f/ 7 l O7 / 21
 1 37/13 140 /J2 145/12 152 /11               December [l]         1.66/13                                           107/24 108/7 108/16 1 1?./6
 152/19 156/22 156/23 157/9                   decent [l]        4 o;2 4                                              11 2/8 113/9 116/17 ll'//] 6
 157/1 0                                      decide [2]        21/15 153/7                                          11 7/19 11 7/2 1 1 17/23 118/ 2
couldn ' t [5]        61/18 71/ 1 8           decided (3]         72/1 4 79/ 6 80 / 18                               118/7 12//24 128/5 l.?.8/14
 72 /24 106/10 162/5                          deciding [1]          95 /5                                            1 2 9 /17 129/2 2 13 1/5 131 /9
counsel (3 ]         ]3'//8 166/5 1 66/8      decision [3]         123/12 123 /15                                    132/16 1 3 2/22 133 /1 6 133/22
counselor [13]             77/18 28 /5         1 35 / 8                                                              134/16 134/18 134/19 136/1'7
 28/10 28/11 ?.8/12 28/16 96/18               defendant [ 5 ]        8/18 2 4/1                                      1 4 3/7 144/7. 149/5 151/?.
 96/19 1 00/9 10 0/ 17 102/2 2                 100 11 2 123 1 14 123/17                                              151 /73 152/2 151/22 159 /22
 111/1 6 13 5/4                               defendants [9]           1/19 8/9 47/1 6                              didn't [ 58]          J.3 /1 8 18/ 4 ?.3/2 0
counselor/grievance [1 ]               28/ 12  11314 12 0/ l 2 121 /1 121/4                                          3 8/3 44/14 4 4 /18 57/22 57/22
counselors (2]             91 /24 10 4 /12     121 1 5 121 1 6                                                       61 /11 65/ 10 66/1 661 1 66/5
counties [2]          1 4 7/2 4 J.48/1        definitely [ 2 ]         ll0/ 15 116/ 9                                "13/1?. 7 4/1 ) 80/23 81 /1 4 83/12
counting [1]          85/17                   delivered [4]          l15/9 115/ 1 4                                  85/2 85/10 86/12 88 /6 88/10
county [5]          2/6 1 4 7/12 ] 48/2        1 15 1 1 6 115 1 19                                                   89/5 93/23 95/17 9 5 / 18 97/ 3
 165/2 J 65/10                                delivers [1]         115/12                                            1 01/J 5 101/21 103 /1 l J 03/ 13
couple (3]          105/22 149/9 155/7        denial [l]        l3"1/10                                              10 3/18 103/18 107 ;22 108/10
course [5]          44/11 51/2 0 60/8         denied (12]         12 /2 1 29/ 4 62/3                                 108 /1 2 108/12 109/9 109/ 13
 60/15 6 4/ 7                                  91/6 91/7 93/15 l OJ /23 110/7                                        109/16 11 2 /4 1 12/9 11 3/2
court (9)         1 /1 4/:5 5/ 23 6/14         115 1 1 148 /23 148 / 2 4 149/3                                       11 3/3 117/20 119/13 1?0/21
 1 11/22 1 ·1 3/5 138/1 4 162/ 1 1            denomination [4]            76/5 103/6                                 132/ 20 139/10 ~ 48 /5 1 4 9 /7
  166/ 1                                       1 53/3 ] 55/ 2 4                                                      149 /2 4 1~0/5 150 /7 157/17
courts [1]               ;                    denominations [2]            7 5/18 75/ 20                             159/1 9 160/4
                    11 0 1 6
crazy [2]         69/ 10,110 /12              deny [ 3 1 101/21 1 01/23 11 7 /21                                    diet [ 32]        23/23 56 /8 56/12
criminal [l]           9 /12                  denying [ 3]        2 7/2 91/ 13 110/20                                56/ 16 56/18 56/19 69/15 69/15
CSR [2]       2/? 1 65 /5                     department [31]           1/6 39/6                                     6 9/21 /0/3 70/5 80 /3 87 /16
Cursillo [30]            48/20 48/23           46 / 15 53 12 80/7 86/9 91 /23                                        3·1 ;22 91/6 91/1 5 92 /11 92/18
 4 9/15 5 0/8 67/9 67/2 1 67/21                96 1 2 2 lOl /9 10 2/1 2 103/2                                        93/ 4 98/5 98/ 23 101 / 7 1 01 /12
 71 /10 71/20 72/3 74/ 15 '/ 5/1 5             103 1 1 3 10 4 ;10 1 05 /11 107/23                                    101/?.2 11 5/4 126/8 129/24
 75/21 7 6/ 4 76/] 7 76/ 23 77/14              122 1 2 3 l23 /2 12 4/4 1 24/22                                       )30 /8 130/)5 1 43/22 152/9
 77/23 79/19 8 0 /10 80/24 81/5                127/16 139/15 1 39/ 21 139/23                                         16 3/2 4
 8 1 /7 81 /16 82/1 O 82/17 118/13             14 1./5 141/lO 141/22 1 44 /10                                       dietary [32]            25/23 29/9 53/3
  148/7 148/11 148/1 4                         l 52/12 157/ 1 158/13 1 6)/8                                          91 /22 96/21 97/3 97/ 13 101/9
Cursillos [l]            71/1 6               Depending [ l]         62/9                                            1 01/ 16 102/12 102 / 14 102/18
CV [ 1 ]        l/5                           depends [ 3 J 4 7 / 1 8 5 / l 3 8 5 / 2 0                              1 0 3 / 1 3 l 0 5 /J 6 1 0 5 / 18 1 0 7 / 2 3
- - - -- - - -- - - - - - DEPONENT [ 1 ]                            164/7                                            1 07/?.4 lJ 7 /6 117/1 4 lJ 8/8
D                                             deposing [1]          4/9                                              1 23/13 1. ).7/16 131 / 6 139/1 4
=-
D-- A- - Y---S- [_1_]__1_0_9_/_1_6_ _ _ _ _ deposition [13]             1/6 2/1 3/9                                  139/21 139/23 141 / 4 14·1;5
daily [2 ]            8 4 /2 152 / 23          4 /8 5/4 5/ 10 5/ 1 9 97/4 100/17                                     141 /10 14 1 /22 148 /23 152/22
damages [ 9]              I 50/ ll      ;      1 3 9/1 143/ 18 1 65/23 166/7                                        diets ( 7]         90/12 90/16 90/ 1 6
                                    150 14                        1 57 12
   1 50/1 '7 150/21 150/23 151/1              deprive [l]                                                            95/6 95/13 1 21/22 127/3
   151/3 151/2 4 152/2                        deprived [4)          8/1?. 94/22                                     difference [3]              lS/20 64/24
                                               1 40/?.2 15 4 /11                                                     '/8/ "l 5
  a  t
d 136/3e   [ 4]     1 3/  12   '/2/13 8 4 /23 deprives [l)          140/1                                           differ e nt [5]           4·1;23 54/18
                                              Describe [1]          125/ 4                                           56/5 56/7 86/l
dating (l]              26/ 6                 designated [2] 1 09/ 4 109 /2 1                                       diligence (4)             1 03/l S 1 05/19
dawned [ l ]            1 4/;i
LJ                                  .              .1. ..J?J .LO   J.UJ / U   ..L. 0 .1.. /   J. '-;t   1. U .L / ..l. .J    ..L.L"'! J..J   J...)j/~t   _l"jJ/.LU   I ..J"':/L.l


diligencf~~       q~10A?~~;t'4:18-cv-04063-SEM-TSH
                                3
                                               1    # 133-2
                              EM},i~ 14i!0141;3;~a~e;49 of 66                                                          Page 2  of 23160/23
                                                                                                                            1 59/3
                                                                                                                            d ry [ 1 ]  6 2 / 13
dinner [3]     16/10 5 5 ; 1 4 55 ; 2 o        DOC [ 3]     79/17 132/14 134/17
                                                                                                                            due [8]     5?./24 60/22 73/24
diocese [ 1 )   32/6                           DOC038 [1]       22/3
                                                                                                                              J 03/14 105 /1 9 108 /U 1 L2/9
direct [2 ]    42/18 4 4 /l2                   DOC0388 [6]       12 /15 1 7 /12 1 9/1
directed [ 1 ]   27/7         ·                 1 9/8 139/6 1 42/3                                                            141/8
directing [ 1]    33;-1 9                      doctor [2]       65/3 65/ 1 ?                                                duly [3 ]     4/3 1 65/6 1 65/ 16
                                                                                                                            during [28)        17 /2 2 18/17 19/24
directive [2]     39/7 144/11                  document [8]        1 0/18 J ?./1 40/2
                                                                                                                              22/ 13 22/22 23/ 3 23/9 24/8
directives [ 21    161/ J O 16 4 /J             91/8 109/13 1 4 0/4 1 41/14
                                                145 8                                                                         25/ 1 9 27/18 28/3 5 2/2 73/ 11
director [ 10]     1 /6 28/2 4 1 1 1 /4                /                                                                      83/8 83/21 84/5 90/ 23 99/3
 111 /18 111/19 1 1 2/ 1 4 l3S/ 7              documentation [1]          81/9
 1 58 /8 158/1 5 1 5 9/ 4                      documents [10]          4/11 4/16 4/22                                         128/15 128/2 4 1 40 /23 1 43/21
director's [ 1]      116/2                      38/12 52/4 80/ 1 2 136/4 1 44 /3                                              145/3 145/7 146/1 8 14 6/20
                                                                                                                              15 3/24 1 56/1 0
disadvantage [ l]       1 41/9                  144/4 162/1
disappeare d [l ]     6 9 /6                   does [14]       6/5 7/11 28/1 31/19                                          duties [ 1 2 )     26/ 1 6 29/15 88/23
discriminate [ 1 0 ]      93/1.2 93; -17        42/15 46/J.2 76/23 85/2 4 J 1 9/3                                             8 9/3 89/LO 89/12 89/11 89/18
 93/20 94/5 1 18/16 1]9/10                      1 22/24 12 3/24 126/7 13 0/ 10                                                91/2 91/4 127/7 1 43 /4
                                                         2
 119/18 120/ 2 1 20/8 120/13                    ]30/ 1                                                                      E
discriminated [ 2 ]       1 21 /20             doesn't [7]       19/2 1 9/2 20/10
 12 1/21                                        28/16 96/9 115/18 122 /1 1                                                  a-file [2]        5 7/2 1 15 9/22
                                               doin' [4]       98/ 1 13 1/ 22 1 32/11                                       e - fi l ed [ l]    162/2 4
discriminatin' [ 2)           131 /22                                                                                       e -maile d [ 1]       162/24
                                                132/12
  1 4 9/22                                     doing [27]       1 5/21 33/20 39/18                                          e-mails [ l ]       161/20
discrimina ting [ 3 )          68/3 95/ 11      40/ 23 42/ 7 42/8 45 /17 45/20                                              each [8]       8/ 1 7 5 2/2 12/ 4 82/ 1 4
  155/15                                        45/2 1 4 5/22 46 /5 66/8 78/6                                                 82/ 16 85/3 1 42 /9 750 /5
discrimination [ 3 ]           96/ 6 96/ 1 2                                                                                earlier [ 8]        47/16 47/)1 53/4
                                                78/ 1 9 90/2 95/1.0 96/12 96/22
  122/7                                         96/23 105/ 9 1 11 /12 ]31/ 1 6                                                80/22 81/24 1 18/21 1/3/ 12
discussed [3]        65/19 83/ 23               1 34/13 1 42/23 1 49/19 158/23                                                15 )/2 1
  88/8                                          1 58/2 4                                                                    early [ l ]      7]/ 14
discussion [3]         118/2 118/7
                                               doling [l)       39/17                                                       easily [4]        9"//7 97/9 112/1 2
  14 3/21                                      don ' t [ 9 o l 13 / 11 l 5 / 2 4 1 6 I 3                                      157/1 0
dishes [l ]       56//                          18/10 18/10 27/ 15 27/23 31/3                                               Easter [4)        1 40/24 16)/14
d i spensati on [2 ]       1 4 6/10 147/3       36/2 38/ 1 4 38/16 38/23 40/7                                                 162 /20 163 /3
disrupting [l]         42/ l?.                  41/10 42/17 43/3 44/13 45/1 2                                               eas y [2]      69/19 72/2
distress [ 6]       15 1 /5 15 1 /5             45/21 46/2 46/7 47 / 13 50/17                                               eat [23]       53/14 5 4 /2 1 54/22
  151/8 151/9 15 )/ 10 15 1/11                  50/21 52/ 1 6 52/23 53/13 53/14                                               54/24 56 /]8 58/10 58/1 4 58/1 4
distressing [l ]         I /?.0                 54/22 58/ 11 58/]2 58 /14 58/20                                               58/16 59/20 59 /24 60/9 62/7
DISTRICT [ 5]       1/1 1/J. 4/14               59/ 1 63/6 65/6 65/17 68/16                                                   62/24 63 /2 63/ 7 63/8 63/9
  138/1 4 162/10                                68/24 75/8 78/9 /8/22 83 /11                                                  63/ 1 3 63/18 ] 25/1 4 145/7
Diversy [ 2 ]      10 6/2 1 1 06/22             84 /22 89/9 89/2 2 90/3 91/ 3                                                 1 4 6/l
do [146]       6/20 7/ 1 9 l l /19              9 4/ 1 6 97/20 9 7/22 106/ 1                                                eaten [2]        53/10 53/12
  11 /22 17/5 )7/16 18 / 24 20/13               ]06/ 14 111/24 112/3 115/23                                                 eating [4]        1 6/2 4 59/8 59/9
  27/7 27/8 28/ 1 32/9 38/1 40/3                118/1 8 1 18/19 119/5 1 20/20                                                 62/3
  40/13 41 /4 41/ 13 41 /1 8 42/18               ];>2/20 1 22/20 124/ 20 1 25/1 1                                           effect [1 ]       134 / 9
  44/7 45/10 45/19 46 /)0 46/2 1                125/1 2 128/ 4 133/11 13 7/15                                               egg s [1 ]     5"1/ 5
  47/5 48/7 50/1 50/1 50/1 4                    ]39/9 143/11 1 43/20 ]44/5                                                  eig ht [9 ]      72/ l 82/16 82/2 4
  50/ 15 5 1 /18 51/24 5 1/24 56/1               1 47/]7 151/14 151/20 15 3/2                                                 83/9 83/14 83/ 2 1 84 / ~ 84/6
  56/12 57/ 11 57/15 58/10 59/7                 153/4 153/5 154/13 156/8                                                      85/l
   64/6 64 / 15 64/1 8 10/10 71/23               1 59/6 160/7 160/20 160/22                                                 eight-mon th [ l]         83/ 9
  72/3 74/1 0 77/12 78/1 78/23                  162 / 1 0 163/5 1 63/1 1 163/13                                             either [10]         4/23 4 /2 3 13/2 1
  78/2 4 78/24 79/4 79/ 4 79 / 5                163 /19 164/4                                                                 31 / 10 33/9 55/ 19 82 /?l 102 /1 3
  7 9/1 7 81 / 1 5 83/i 83/22 83/23            done [24)       5/9 6/4 3 1 /24 38/10                                          1 22/6 160/12
  84/1 84/4 86/8 88/12 90/10                     43/1 45/ 1 7 47/7 48/4 50/13                                               else [ 20]       4/2 4 21/1 5 6/ 4 61/7
   90/14 91/5 92 /8 92/16 93/1 1                 51/2 51 /21 61/17 69/7 85/17                                                 66/ 1 1 66/19 66/22 66/24 38/3
   93/16 95/3 95/ 3 96/4 96/5                    90/9 94/9 94/22 122 /15 144/ 20                                              90/2 99/13 1 08/6 108/1 1 11 3/8
   97/17 9 7 /20 97/22 97/22 99/l               14 9/7 149/13 149 /15 156/23                                                  122/19 J 40 / lJ 140 /13 142/1
  1 02/ 1 1 102/17 103/14 1 03/18                1'::,"//7                                                                    142/1 9 164/4
  103/ 18 103/23 1 04/6 105/i                  door [l]       68/ 1 2                                                       el se 's [ l]     118/22
  105/18 105/1 9 .1 06/3 106/6                 DORETHY [ 25]        1 /9 2/16 24/1                                          emp l o yed [ 6]      41/4 41 / 6 46 / 14
   10 6/ 9 106/1 8 J.07/13 1 07/19               26/8 88/20 89/2 1 90 / 7 90/14                                                47/17 166/5 166/9
   ]08/10 1 08/ 1 2 108/13 11 2/9                91 / 1 4 92/9 93/6 93/12 108/ 1                                            employee [ 4]         42/18 46/5 4 6/7
  113/21 11 3/23 11 4/3 1 15 /5                 109/J l 112/l 112/24 123/ 4                                                    166/8
  116/2 11 6/17 118/15 1 18/22                   127/2 127/ 6 1 27/24 128/4                                                 employees [1)          42/] 5
  1 1 9/9 119/12 11 9/ 1 2 1 20/1                ]35/18 1 50/1 2 1 57/11 15 7/12                                            empty [l)        62/5
   121/9 1 21 /13 ] 22/ 1 1 24/13              Dorethy's [3 ]         109/1 4 112 /19                                       end [ 4]      114/10 15 0/ 1 5 15 2 /2 4
     124/23 125/20 126/13 129/4                  ]37/10                                                                         15:i/20
     129/4 129/15 1 33/5 1 37/6                doubt [2]       139/13 139/ 19                                               end ed [1)      136 /2
     139/22 142/24 143/23 146/22               down [20]       5/2 4 6/ 1 9 7/1 7/l                                         end s [ 1 ]   4 9/ 2 3
     146/ 23 14 1 /9 14 7/ 1 4 147/1 9           7/8 12/13 20/14 34/21 64/10                                                e nough [ 2 ]    'I/ I 4 1 4 2 /?. 2
     147/19 1 49/17 151 /8 1 51/1 1              65/2 68/ 1 0 68/13 68 / 19 87/3                                            entered [1)        13/'2
     152/]5 156/4 156/ 8 ]57/2 2
                                                                                                            ..1. J /.   I   J.   ..>   .J. J i'.. I ✓
                                                                                                                                                    - '":t   .1. .J'-i /   L. V
                                              'f.AU.LiJ..L 1.-.::S   L   I   J   ..JI O   .L .l. ~ I J. 0

entire                         s,~~1s
          c1)18 19;'~Bt1q ~p6 4:18-cv-04063-SEM-TSH
                                       I
                                                13 8    1 6
                                                                # 133-2 Page134/?.3
                                         1:it!iaili.136/ P.:aget:;6):Pfi0619  3 of 23135/23
                                                                             137/15 137/1 6
                                                                                                                       136/ 5 136/27.
                                                                                                                       137 / 1 9 138/1
 1 6/15 74/18 2 4 /19 90/8 1 36/7                     1                                       138/12     ]38/16 1 45 /17 159/2?.
 137/24                                       exists [1]          32/22
                                                                                              162/24
entitled [2]    38/22 14 2; 8                 expecting [1]            2 1 /8              fil i ng [3 ]         132/7. 14 0/10
especially [2)     J/9 29/9                   explain [2]           67/2 2 16 4 /1
                                                                                              1 57/12
ESQ [2 1 2/J 3 2/l8                           explained [l]            57/9
                                                                                           fill [ 1 0 ]        1 0/12 15/27. 1 5/ 23
essentially [3]         33/4 129/9            F                                               17/14 1 9/8 19/ 14 43 /23 54/7
 156/1 5                                      - -- -- ~- - - -- - - - 66/7 143/1
                                              face [41        39/2 3 66/16 97/2
even [23]       6/ 3 22/5 23/2 0                132/10                                     fil l ed [10 ]          11/19 ]9/1 8 23/16
  38/13 38/ 1 5 39/4 7 5 /8 89/22             faced [ 1 J n I l                               7. 5/2 25/10 26/1 9 4 4 /9 91/9
  90/21 96/17 97/3 97/18 1 02/24              facility [81            8/15 21/ 1 8 36 / 1 1 91/11 11 1/2
  105/5 1 1 2/ 14 14 6 / 1 5 14"1/22            42 /16 1 04/1 1 108/5 113/ 2 1              f illed -out [ 1 ]            I "7 / 19
  151/20 152/11 152/18 153/2                    1 20/23                                     fillin i [2]           23/15 89/7.4
  153/ 4 153/ 15                              fact [71         64/21 70/ 13 70/2 3          finally [31             1 1 /8 4 3/8 150 /1
eventually [l]           72/12                   93/14 1 00/6 11 4 / 22 148/1 6             financially {1 1 166/9
ever [38]       5/ 9 5/19 9/9 9/14            failed [4]          1 03/1 4 1 04/ 1          find [ S J 36/9 72/10 85/7.7.
  1 1/7 1 4/13 1 5 /15 31/ 24 34/)              1 01/1 9 156/16                               104/14 16) /13
  37/15 38 /l 41/5 53/JO 5 6/8                fai ling [3]          102/ 11 1 05/14         fine [ 1]         I /3
  65/3 65/ )2 7 1 /13 81/ 5 91/1 4              105/16                                      finger [ 11          66/) 6
  91/17 105/23 1 06/ 6 106/1]                 failure [21           3 9/2 1 1 55/12         finish [ 2]          6 /3 6 5/10
  107/5 107/7 11 6 /23 1 1 7 /1               faith [3)          77/ 6 95/1 2 12 4 / 1 0    firm [ 3 1 4/17. 4 /23 4 /23
  1 ]7/4 1 1 7 /5 11 7/9 1 27/24              falls [1)          123 /3                     firms [ 2]          4/1 I 1 60/2
  1 28/5 129/12 131/5 132/16                  family [21          52/14 59/2                first [ 251           4 /3 5/ 13 5/19
  154/23 160/ 4 160/14                        far [131         26/11 30/9 4 1/7               1 0/20 11/7 27./2 22/17. 34/9
every [33]        6/23 8 /1 8 9/3 9/8            4 4 /18 45/17 50/4 61/16 82/3                35/2 36/12 31/ 4 7 1/13 73/2
  10/7. 1 0/4 11/12 17/21 1 8/4                  82/8 101/17 119/2 119/4                      7 8/ 5 79/21 99/18 106/ 9 ]09/7.
  19/16 22/9 2 2/24 2 6 /3 29/12                 158/24                                       109/19      1 1 3/7.3 128/1 4 128/17
  48/6 48 /17 49 /8 5 4 /2 55/6               fast [l]         6/23                           131 /9 1 48/3 165/16
  55/7 51/16 69/22 85/3 87/4                   fault [11         113/13                      firsthand [1]              156/21
  9]/1 103 /1 104/ 1 0 111/1 4                 faulty [11          11 0/22                   fish (141          55/3 5 5/7 55/8
  1)7./19 125/ 7 1 29/1 1 37./ 15              favor [21         110/1 9 119 / 1 3             55 / 14 55/19 62 /6 63 / 1 1 63/1 5
  162/18                                       feasts [31          1 42/9 142/] 2              1 02/5 102/7 111/22 L1 3/6
Everybody [1 1 135/4                             1 5 1/15                                      14 1 /8 159 /8
everyone [ 2 ]       87/9 89/7                 fed [38]        18/11 1 8 /23 1 9/4           fl i p [ 2]      16/10 80/ 1 4
everything [ 13 1 4/"/ 5/"/ 29/?.0               20/1 4 24/2 1 36/18 36/ 21 37 / 1 3 f lip-flop [1]                     80/14
  49/11 6 9/19 8 1/8 81/10 ] 0 7 / 20            37/15 3 8/16 39/1 39 /19 54/6               flop [11         80/14
  116/6 1 21/3 121/7 13 7 /17                    54/7 62 /4 67/19 68/1 73/14                 fluctuate [11              64/9
  167./16                                        7 3/15 88 /17 88/ 1 8 91/22 91 / 24 fluctuati on [1]                        6 4 /24
 evidence [ 291        64/18 90/ 1 0             97./ 2 92/4 94/24 98 /1 6 10 2/10 f ocus [ l ]                 44/22
  90/14 91/5 92/8 92/)6 93/11                    11 0/14 119/15 12 0/ 17 12 0/ 18            focusing [11             151 /J l
  93/ 16 93/20 94/ 4 9 4 /7 94/16                1 2 6 / 9 1 30/ 7 132/9 154/20              foll.ow [71          38/5 42/22 1 23/ 8
  95/4 1 02/17 103/23 1 04/6                     1 5 6 / 1 157/1 4                             1 23/11 14::i/2 4 146,23 1 48 /4
  113/23 ] 14/19 1)5/5 ] 1 6 /3                federal [2)           11 1/?. 2 11 3/5        followed [1 ]            43/3
   1 1 8/15 119 /9 1 19/17 120/1               feed [41        52 /13 120/21 17.0/21 fol lowi ng [ 4)                    39/6 80/19
   ) 2 0 /5 120/7 12 0/1 1 1 21/13               156/6                                         142/17 1 65/11
   1 22/1                                      feeding [31           68/ 1 88/ 1 5 151/15 follows [ 1]               4/4
 exactly [ 1 0 ]     1 3/12 1 7 / 5 26/3       feel [91        7/1 9 7/23 8/22 1 9 /2 1 f ood [8]             20/19 25/18 27/2
   26/3 38/7 70/19 72/]0 74/8                    45/ 1 3 45/19 4 6/21 50/1 9 158/1 63/11 95/19 139/24 )53/ 5
   111/4 123/21                                feeling [l]           7/13                      153/12
 examinatio n [13 ]         3/3 3/4 3/4        fell [1]         146/20                       for ced [2]           53/ 15 111/1 3
   3/5 3/5 3/ 6 8/ 7 41/20 12 3/1 0            fellow [11          61 / 5                    foremost [SJ              7 8/5 99/1 8 109/2
   143/16 155/9 1 59/11 165/7.1                fellowship [6)             31/ 2 4 34/5         109/19 148/3
 examined [2 1 4 /3 165/20                       50/2 61/4 61/ 6 68/ 1 0                     forged [l]           109/24
 example [11        5 4 /24                    felt (31         21/ 1 7 68/2 69/17           forget [21            7 /10 130/12
 except [ 3]      22 /1 0 4 9 / 17 13 7 / 5    Festival [l]            1 62/1 5              forgiven [ 1 1 141/20
 excluded [3]         74 /18 120/19            few [41        1 13/14 14 3 /13 15 4 /7       form [91]           8/ 1 9 10/27. 1 0/22
   120 /19                                       15 4 /1 8                                      12/4 12/4 12/6 1 2/9 1 2/ 10
 excuse [21        69/11 73/18                  fight [2)         60/23 l Jl / 21              12/ 15 1 2/16 12 /23 13/ 13 1 3/18
 execution [1 ]         77/1                    figure [41         59/1 8 .64/3 78/21           13/19 13/21 13/23 ] 4/15 14/22
 exempt [9]        39/22 39/23 39/2 4             79/3                                          15/ 2 15/22 15 / 23 1 6 / 7 17/12
   1 43/2 3 ) 44 /8 144/ 17 ]44/19              figured [11          1 40 /12                   ] 7/16 ] 7 /17 1 7 /1 9 19/10 19/13
    145 /6 1 60/ 9                              file [131         28/4 57/21 131 /5             19/ 1 4 19/17 19/ 18 20/9 20/9
 exhibit [24]         3/9 57/24 71/ 6             131/9 132/10 1 32/16 132/22                   20/ l l 20/14 20/ 1 5 20/20 21/9
   71 /6 71/7 79/23 79/23 79/2 4                  133/6 1 33 /22 1 34/19 1 4 3/7                22/3 22/14 22/16 22/11 22/17
   80/2 80/3 9 2/ ?.l 92/7.l 92 / 22              154/ 9 159/22                                 23/ 1 5 23/16 23/21 25/3 25/8
   92/22 108/19 109/7 135/ 1 4                  filed (291          4/ 13 27 /19 28/3           25/11 30/1 5 44 /3 44 /5 4 7/24
    135/21 13 6/2 1 31/23 138/5                   30/21 35/8 52/ 24 55 /18 7 0/21               4 8/19 54/7 51/10 70/4 76/7
    139/1 139/5 1 44 /15                          90 /2 4 125/ 1 1 25/ 5 125/21                 86/  1 4 90/11 90/18 96/6 108/22
 Exhibit 3 [1 )         57/24
                                                 LOIL   L Ot i J   LO/i~   L O/ i O   ,o,io    ':7 1/J. '-:t   J V l / .l. 0   I V._l /;>   .l U .J /.! 1
J!"
            4·+8 c· , AAAR3 4:18-cv-04063-SEM-TSH      # 133-2 Page 4]03/13
                            si:;M TSH 9e'fJ1P2M120Ragr2E5llso'fz6&.i9123  of 23 10 5/1                                105/5 105/2]
form . ..   [ 2ii i oiJii ll 07l      99/24 100h 10012 100/12            107/7 112/14                                11 4 /18 117/20
  ] 27 /3 1 27/17 129/16 129/1 7                 100/24 10 ) /6 101 / 20 10) /21               118/12 122/ 9 1 22/2 4 1 26/L 7
  1 29/ 1 9 13 0/9 130/10 130/12                 101/24 10 2/17 1 0 7/19 119/9                 127 / 18 129 /l 130 /2 1 140/1 2
  130/17 130/21 131/7 13 1/10                    122/24 135/18 135/19 )36/9                    140/17 141 /4 14 2/ 4 ]49/20
  132/ 1 4 ]3 2/17 133/1 133/ 7                  136/10                                        1 52/19 153/ 6 154/ 2
  133/ 1 4 133/17 133/20 134/16                 gave [14)         15/19 16/6 1 6 / 9          go o n [ 1]       1 41 / 4
  ]34 / 18 1 39/6 14 2/3 152/19                  2 3/7 59/1 4 73/ 2 73/2 73/18                God [4 }      40 /J 107/14 14 4 /20
  1 63/12 163/24                                 87/ 1 9 91 /1 1 1 11 /14 126 / 15             14 5/ 5
forms [24)    1 0/ 12 1 1/4 11 / 6               146/10 1 60 / 16                             goes (12]         9/8 68 /2 4 116 /1 4
 11/11 1 1 /18 11/ 19 ll /20 1 4 /1 3           general (7)           1 1 /18 20/2 20/ 5       127/1 6 136/ 1 9 1 3 6/20 1 36/21
 15/ 15 2 4 /3 2 6/10 26 / 19 36/1 7             36/15 36/15 52 / 8 56/6                       1 46/5 162/1 2 162/16 162/19
 43/8 43/ 2 3 44 /8 66/3 66/7                   General's [ 1 ]           2/13                 J 62/20
 66/10 79 /6 86/ 1 8 92/19 132/15               gentleman [3]             81/24 1 49/1 0      goin ' [l}        150 /3
 1 43/1                                          1 53/12                                      going [ 7 8)        5/4 7 /1 9/ 5 10/1 1
forth [7]        20/ 4 25/ 1 26/ l 66/8         gentlemen [1]             40/16                12/21 16/ 3 1 6/5 20/3 21/4
 7 4 /12 8 4/2 1 03/6                           get [54)         10 / 13 11/1 1 11 /13         21/1] 26/ 19 27/20 39/4 4 0 / 16
forward [7 ]         50/1 4 102/ 9               1 1/1 4 1 1 /2 2 12/ 10 13/21 14/8            44/ 15 50/1 0 51/5 51/5 51/5
 108/16 11 0/ 18 12 4 /1 156/3                   23/ 1 8 23/20 24/6 29 / 23 31/7               5 3/1 2 55/ 2] 55/22 57/20 62 / 4
 158/7                                           33/8 38/16 ,2;3 46/ 1 9 51 / 1 6              64/9 65/2 7 0/2 4 73/4 73/9
forwarded [ 2 ]         15/ 8 2 5/8              55/ 19 55/21 56/19 57 /2 5 7 /7               7 3 / I 2 '/7 / 9 7 7 / 1 4 7 8 / :i '/ 8 / 13
found [2]        45 /5 162 /6                    57/15 58/23 62/12 62/ 13 65/11                79/ 1 9 80/15 8 4 / 14 84/2 1 85/9
frame [l}        59/1 0                          69/1 8 73 / 23 75/2 7 9 / 2 1 85/17           8 5/2 2 86/3 90/ 4 93/2 97/23
Fred [1}        96/14                            95/20 98/14 99/20 105 /12                     100/5 1 00/ 11 100/ 1 4 100/20
FREDDIE [28}           1/1 0 2 / 16 27/l         110/17 117/24 122/2 1 24 /8                   100/21 10 1/ 2 101 /5 101/24
 27/5 27/7 27/12 94/]9 96/21                     1 24/8 130/ 10 133/1 134/16                   102/9 11 0/ 4 J 1 ~/11 L 13/ 20
 9 7/4 97/6 98/4 98/ 20 99/ 9                    1 43/2 156/11 1 58/20 158/21                  11 7/24 1 18/5 118/19 118/22
 99/ 1 3 102 /3 102/ 4 102/l3                    15 9/4 161 /11 161/11 161/12                  )19/6 119 / 1 4 121/ 9 122/9
 105/1 7 107/23 11 8/1 5 128/9                   162/23                                        123/ 6 1 26/21 134 /]3 136/4
 128/9 128/9 1 28/ 1 2 152/6                    gets [l}         3 4 /15                       1 3 7/3 138/20 143/1 7 1 47/2
 1 53/1 4 15 4/12 15 4 /22                      gettin' (2)            1 19 /7 1 49/ 1 3       14 7/3 1 4 9/15 156/14 15 6/2]
free (3)        40/ 1 8 53/20 7 8/1 6           getting [21)             43/12 5 4/ 2 63/23    1 59/7 1 63/20
freedom [4)          40 / 4 75 / 5 145 121       65/14 65/2 1 66/1 4 70/3 95/23               going through [1]              159//
 1 4 7/5                                         97/ 1 4 99/12 119 / 1 11 9/7                 gone ( 3)        49/7 1 38/12 1 54 /20
fresh [1]        7 4/8                           126/17 1 29/20 130/17 133/1 2                gonna [ 21}         32/19 4 3/19 4 4/2
Friday [ 3 2)        16 /1 "1 17/ 9 l l / 2 l    153/21 l:i 4/9 158 /22 1 58/2 4               63/8 63/9 "/ 3/23 95 /20 99/5
 17/22 18/5 19/ 1 6 20/5 20/23                   162 /6                                        1 00/7 1 01/ 4 1 04/ 21 11 0/10
 22/24 24 /9 24/11 2 4/1 6 26/3                 give ( 361         8/9 10/13 1 1/1 6           1 22/2 1 1 25/ 1 4 128 /19 128/ 23
  49/ 23 53/10 55/1 55/2 55 /6                   1 5/24 18/13 21/8 23/8 2 5 /1 8               130 /3 132 / 11 14 6/12 147/ 20
 5 5·; 1 2 5 ~;
             J
                13 57/17 58/2 58/15
                                                 26/19 26/22 4 2/20 52/ 24 55 1 3              163/12
 59/13 62/16 86/15 125/"/ 1 40/2                 56/4 63/ 6 7 3/l 73/ 1 9 75/7                good (10]         40/16 43/ 5 51 / 6
 141/ 2 14 9/4 150/6 155/2                       7 9/3 95/16 95/ 18 96/7 102/4                 5 7/19 60/17 8 6/20 96/13 1 24/1
Fridays (49)           1 8/1/ ] 8/23 1914        1 02/7 11 0/23 126/ 11 1 27/22                131 / L4 158/2 ]
 19/16 19 /24 20/ 2 20/15 20/2 4                 134/18 1 3 7 /4 147/2 152/4                  got [ 4 1 )      11/8 11/23 1 2/3
  21 / 2 22/ 13 22/22 23/9 23/19                 152/1 4 152/16 152/20 1 53/12                 12/16 13 /1 1 14/1 15 / 21 15/23
  2 4 /8 24/22 2 5/18 53/8 55/ 4                 ]53/1 4                                       16/7 23/]3 23 / 1 5 23/20 24/7
  55/5 55/7 55/ 9 56/2 58/10                    given (19)           1 0/23 1 9/16 1 9/ 2 3    26 /14 29/21 30/1 9 32/17 35/6
  59/12 59/19 5 9 /22 59/24 60/3                 2 3/22 23/23 2 4 / 1 7 25/ 24 74/15           3 6/2 49/ 2 59/ 1 59/4 59/5
  60/7 60/9 61/22 62/7 62/12                     80/15 95/2 1 97/ 1 2 1 03/7                   71/ 1 7 71/22 76 /12 8 4 / 1 6 99 / 4
  63/10 63/2 4 64 /16 65/14 65/] 8               105/1 3 111/23 112/1 8 145/2 4                ]11/21 ]14 /20 125/ 10 13 9/7
  65/2 1 66/5 67/ 2 12 1/9 1 2l/l 5              149/16 15"1/1 4 1 65/24                       1 39/11 14 7/1 4 15 0 / ?. 153/5
  125 / 2 1 25/5 125/23 126/4                   gives [2]          38/11 118/23                158 /8 1 59/15 1 59/21 159/ 23
  1 4 5/4 145/7                                 givin' [l]           131/23                    16 2/8
front [2 ]       137 /14 138/3                  giving (5)           21/7 21/1 2 38 /1 9      gotta (5)         5 2 / 1 2 6 4 / 3 79 /8
FROST [ 16]        l / 15 2/ 16 27/ 16           3 8 / 2 0 5 5 / 15                            1 29/] 6 13 0 / 9
  27/22 28/1 96/ 1 9 1 00/9 10 //17             gmail.com [l ]            1/2 4               gotten (2)          11/15 121/1 6
  1 0 8/8 1 17/1 0 120/1 122/ 11                go [91)        5 /22 10/8 J2/3 29/11          great (2]         40/ 15 64 / 1 7
  1 22/13 136/9 136/10 136/1 0                   30/10 30/14 3 1 / 5 3 1 / 1 3 32/1 9         grievance (102]             1 4/1 7 19/23
Frost's [ 1]         10 0/ 1 7                   41 / 23 42 /3 48/6 50/3 5 0/20                2 7/]9 2 7 /20 2 7/21 2 7/23 28/ 4
full (2)        93/1 94/2 0                      50/23 54/1 5 4/3 54/9 5 4/ lJ                 28/4 28/6 28 / 8 2 8 /12 ?.8/ 1 4
funny (2 )       1 1 /1 3 1/20                   5 4 /17 59/4 61/ 1 61/4 61/1 1                28/15 28/17 30/20 3 4 / 17 70/12
further [ 15 }         3/4 3/5 3/5 3/ 6          61 /1 8 64/8 65/ 1 68/7 6 8/10                70 /12 70/1 5 7 0/ 1 7 81/ 1 2 81/13
  98/ 1 9 123/10 110/17 113/ 1 2                 68/ 1 3 68 / 2 1 70/13 71 /2 72/11            88/5 88/ 11 9 1/18 92/2 92/6
  14 3/ 16 155/9 15 9 /17 1 6 4 /5               75/ 1 2 7 5/13 75/ 21 7 5 /22 75 / 22         92/15 92/19 93/ 1 5 93/19 94 / 1
  164/7 1 66/ 4 ] 66/7                           75/23 7 6/ 3 76 /16 77/22 78/12               94/ 8 96/1 6 96/19 96 / )0 97/2
                                                 79/5 79/5 "/9/16 80/10 80/ 20                 104 / 12 107/18 108/21 108/21
G
                                                 81 / 6 82 /2 82/20 83/] 83/3                  10 8/?.2 11 0/7 110/1 8 11 1 /16
Galesburg  [6}   1 /23 2/6 2/ 1 1                83/ 1 5 84/ 1 8 85/ 2 85 /3 85 /10            112 /2 11 2/11 114/ 2 4 116/6
 1)6/ 15 165/10 16 6/ 17.                        85 / 22 87/2 92/2 1 96/ 1 97/3                116 / 8 ] 16/ 11 116/1 8 117/5
GANS [30 ]  1/1 6 2/16 27 /2 1
·                                       UC..Llll   l   J..~   J   U J. / .,)   O .l. I   I   VJ.. I 0    ;:)J/ I   ::JO /_-,   -:;)I/ 1 .J_   ':'/1/   LJ   ;,J/L.1.



                         737 w=M TS -: ~~~~~~~~~~~~~ce~66211
                            4:18-cv-04063-SEM-TSH # 133-2 Page 598of
                                                                   /223
;rievancf.~~     1
                     940?
                c[ { 9
                                                                       98/J ?. 98/14 98/19 102 / 6
                                                                1 03/ 1 1 06/8 108/3 110/2
 1 17/18 117 /22 121/8 128/7.           harm-wise [3]  61 /7 6)/8 61/10                                  113/20 ] 1 4 /3 116/15 111/3
 131 /2 13 1 /5 1 31~ 9 1~1/1:          has [27 ] 4/22 8 /1 3 12/1 12/9                                  1 1 8/22 121/ 11 1 21/1 6 12 4 / 14
 132/11 132/13 J~2/16 132/19             12/20 1 4/ 10 22/ 14 31/24 34/1                                 125/ 11 l?.6/13 l?.7/19 129/2
 132/22 132/24 133/4 133/ 6              43/10 57/13 65/3 65 / 12 69/5                                   129/3 136 /15 13 6/16 13 7/5
 L33/9 133/16 133/21 1 33/ 23            74/2 1 92/ 1 4 103/3 109/24                                     137/1 7 139/7 139/ 1 1 1 4 0 /1 4
 133/24 134 / 1 9 134/22 135/5           1 15/ 20 1 15/20 125/1 12 7/1 4                                 1 40/16 ]40/18 740/20 1 41 /6
 135/9 135/22 135/23 136/5               130/1 139/8 1 44 /22 145/5                                      1 41 /12 1 4 2/4 1 48/?. ] 51/2 1
 1 36/6 136/ 7 136/12 13 6/15            1 54/23                                                         153/12 158/l l
 136/20 13 6/21 136/22 131/10           hasn't [3]     121 /16 144/20                                   HEREBY [ 1 J l 6 5 /7
 137/23 138/7 138/ 11 138/17             163/2 1                                                        hereto [l ]        1 66/9
 140/ 7 1 40/10 140/7.0 141/19          hate [l]     l59/19                                             hereunto [ l ]        166/11
 J 42/ 2 143/10 1 4 6/7 157/12          have [243]                                                      hers [2]      89/1 11 2 /5
grievan ces [ 7 ]      11/ 22 92/ 17    haven't [11]      22/17 68/1 2 69/7                             hey [8 ]     41/24 97/10 98/1 1
 117/8 1 32/3 131/14 143/ 7              148/ 7 149/16 1 54/20 158/3                                     102/4 104 / 18 ]57/1 2 151/ 20
    154/8                                1 59/2 1 1 60/1 1 1 62/7 163/19                                 1 63/14
grilled [ 6]      16/9 16/19 16/24      havin' [l]     99/5                                             Heyl [1]      2/18
  2 4 /21 59/15 1 26/ 15                having [9]     4/3 6/9 8/1 2 64/16                              heylroyster . com [l]         2/20
grounds [ l]      6/ 1                   72/23 103/22 106/9 113/4                                       hierarchy [1]           77/16
Group [ 2 ]    3/9 1 39 /1               155 /1                                                         Hil l (32 ]      2/5 2/10 8/ 14 J l /2
groups [1]      142/8                   he [301]                                                         13/ 4 24/4 30/4 32/1 36/1
g uard [ 1 ]   42 I 5                   he , s [ 5 6]  11 /7. 3 13 /3 13 / 5                             36/11 31/9 43/15 45/ 6 48/3
guess [ 11]     21/ 1 27./l 7 3 1 1 2   28/8 28/10 7.9/18 2 9/20 30/2                                    5 ~/ 3 51/22 76/ 15 80/8 86/9
  69/ 17 90/2 1 2 7/1 0 127/12          30/ 3 31 /11 31/22 32 /9 36/ 19                                  89/6 94/21 108/ 4 ] 13/20 117/3
  133/18 145/10 150/ 4 158/6            37/7.0 38/9 42/19 42/19 44/21                                    1 20/22 l ?.l /1 3 140 / 21 1 41 / 6
guns [l]      118 / 2 4                 45/2 45/5 4 6/6 4 6/10 4 6/1 4                                   1 48/20 1 48/2 4 156/"I 165/9
Gutierrez [l]         8 6/'l            46/?.l 48/1?. 68/14 68/17 69/1                                  him [ 81]     7 0/9 10/9 10/ 10 1 4/4
guy [8 ]     29/16 51/l 9 69 1 1 8      78/14 89/2 4 97/24 100/19                                        2 5/ ]1 29/2 4 29/24 3 1/10 31/24
  78/6 118/23 119/6 131/21              100/?. l 101/1 101 /1 105/1?.                                    32/4 32 / 7 32/1 1 32/22 33/24
  ]54 /15                               112 /18 11 7 / 2 4 1 18 /5 1 18/24                               3 5/ 9 35/1 0 36/18 36/ 20 31/7
guy's [ 3]     36/3 36/ 4 3 6 / 4       122/19 13 0/ 3 133/10 133/ 11                                    43/13 43 /2 4 44 / 1 2 44 / 17 44/17
guys [24)      14 /12 42/2 44/ 7        133/19 133/20 142/23 142/ 2 3                                    45/8 67/ 24 68/1 68/1~ 68/ 11
  68/9 75/10 77 / 1 77/11 80 / 17       14 9/ 1 9 1 49/22 15 4 /]6 158/9                                 68/18 69/3 69/5 69/2 0 69/22
  102/4 1 02/1 102/9 1)0/23             1 58/13 1 58/15 158/19 158/23                                    70/2 71/11 8 4 / 1 1 ,88/ 15 90 /2 0
  11 7/ 1 9 118/2 119/7 131 /23        head [ 22]      6/12 13/3 13/3 26/2                               91/12 95/9 95/9 96/18 98/]7
  131 / 24 1 32/2 1 4 9/ 1 2 149/22     29/2 0 30/2 30/3 31/22 32/1 1                                    98/22 101 /14 ] 02/ 1 5 102/2 1
  153/2 15 4 /1 7 1 5 4/ 18 158/21      3 4 /20 36/5 36/10 4 3 /7 44/21                                  1 03 / 16 1 13 /]3 113 / 1 5 1 13/19
guys' (1)      160 /18                  44/24 45/ 3 45/5 50 /7 72/2 1                                    11 4/9 1 1 4 /9 1 14/?.3 ]15/1 9
H                                       8 1 /20 82/3 1 48/21                                             116 / 8 1 16/20 11 7/ 1 7 J l'l/20
~ -- -- -- - - -- ---:----=- hearing [1] 32/21                                                            118 / 8 1 18/ 14 L2 2/4 1 2 6/71
had [49]     1 4/? 15/J 16/8 21/17 heart [1] 50/2 4                                                      126/21 1 28/18 12 8/2~ 128/24
 30/21 31/l 31/ 9 33/3 34/24           heavily [l]        11 3/ 13                                       1 29 / 4 729 / 4 130/5 130 /5 1 39/8
 35/1 35/8 49/22 58/1 9 58/21          held [2]      72 /4 87/4                                           1 4 3/2 1 52/1 4 152/16 15 2/19
 63/3 67 / 24 69/4 70/'?. "13/1        hell [2]      101 /18 102/16                                      153/22 15 3/ 23 155/20 158/11
 '/ 4/9 "/4/12 74/24 82/6 82/13        help [3]      5 2 /5 94/23 159/ 4                                his (63]      1/7 l/8 1 / l l j/12
 86/10 93 /1 94/20 95/3 95/4           Henry [19]        2/5 2/ 10 13/4 24/3                             1 /1 4 1/ 15 1/1 6 4 / 4 9/2 1 10/5
 98/6 10 2/ 17 105/22 105/22            30/3 32/] 36/ J 36/1 1 45/6                                      27/16 2 9/ 15 31/3 41 11 6 66/ 15
 106/6 109/6 110/5 110/24               89/6 94/21 1 08/4 1 13/20 1 11/3                                  69 /2 76/5 85/14 85/19 85/23
 1 1 2/ 14 1]3/15 1 19/17 1 22/6        12 0/22 1 40/ 21 1 41/6 156/7                                     8 5/24 96 / 10 100/2 10 1/ 12
 : 25/2 125/ 4 1 25/22 126/3            165/9                                                             1 02/20 1 03/1 4 103/18 ) 03/18
 136/5 154/4 158/13 163/ 4             her [22]      1/9 1 / 17 1 4 / 8 26/16                             103 /1 9 1 03/21 103/24 10 4 /6
half [ l ]   158/ 1 7                   89/J 9 1 / 9 91/17 91/19 92/4                                     10 7/2 0 108/10 108 / 12 108/13
hall [7]     54 /9 129/6 129/6          92/13 93/4 93/16 1 08/ 15                                         109/5 1 15/9 115/10 11 5/1 4
 129/7 129/8 12 9/9 153/6               108/20 108/ 22 1 09 /5 109/18                                     1 1 5/1 6 115/20 1 15 /23 116/1 0
hallway [1]        41/ 24               112/9 112/10 11 2/10 12'1/ 7                                      118/1 9 118/24 : 1 911 ) 1 19/] 4
hamburger [ l ]       56/3              143/4                                                             119/2 0 1 19/?.4 :20/4 l?. ?/15
Hamilton [l ]        7./19             here [ 103]       5/5 8/1 4 8/22 9/4                               1 22/ 22 126/20 1 21 /12 129/4
hand [4]     1 2/13 17.4/8 156/15       10/3 lJ/2 17./13 13/5 14/7                                        152/12 152/ 75 157./ 15 153/10
 166/17.                                22/10 23/1 23/ 5 2 5/10 26/8                                      165/17 165/2 0 1 65/ 21
hang [l]     75/ 1 2                    29/1 0 31/21 31/ 2 3 33 / 1 34/21                               hit [ 3 ]    4 3/6 43/6 68/ 1 2
happen [ 6]      4 3/19 81 / 1 4 88 17  35/2 35/ 4 35/ 23 36/ 5 3"//8                                   hold [ 4]      ?. 4/14 24/15 48/13
 88/10 128/19 1 28 / 23                 37/9 37/1 0 37/11 38/1 9 40/10                                    113 /1 3
happened [ 4 ]       67/23 81/20 86 12 4 0/17 40 /19 42/3 42 /15 43/15                                  holiday [1]          1 4 7/8
 1 46/19                                45/1 46 /13 53/22 68/21, 71/2                                   Holy [1]       146 /9
happenin ' [ 2]       99/8 13 2/2       7 2/18 '/ 3/?..2 76/ 1 2 7 6/1 4 ·18/6                          honest [l]         11 8/20
happening [ 5]        43/1 5 43/16      78/7 7 8 /1 4 78/18 79/5 79/21                                  honestly [4]           40/13 124/2
  91/ 20 9'1/5 1 02/15                  81/17 86/6 87/2 4 88/12 89/ 7                                     155/23 156/5
happens [ 2 ]      48/16 50/8           89/14 89/ 22 89/23 90/5 90/2 2                                  honor [4]         18/13 2 5/6 4 4 / 2
hard [ 1 ]   1 4 6 / 21
ti                                          ..LU..LU.i.:::uu   L.J..J   f..)j L."'2    .i.UHUt.:=.UY.V::fi   Li. J   U;; / J. .1.

honor .. . 4 :c¥f 6 ~ ii~63 4:18-cv-04063-SEM-TSH
                                    S EM TS -±o& ~ - 1 11 l?;age#53      133-2
                                                                            of 66 Pageinstance
                                                                                         6 of 23 [ 5] 54/ 4 62/10 62/24
                         3
honored [ 9]         22/15 44/2 7717         if [124]       6/2 7/5 7/7 7/9 9/23 125/10 1 49/2
  )7/ 10 129/17 130/10 132/7                  ll/2 0 13/8 15/21 15/22 1 6 /3            instead [l )       110/20
  ]33/3 15)/15                        .       2)/7 27/9 28/6 28/16 2 9/20               institution [ 30)           12/17 15/19
hoodwink [l ]          100/12                 30/13 3 1 /4 38/1 38/4 39/10               15/24     16/6   L6/  1 3  16/15 23/7
hoodwinked [2 ]            34 /16 4 4 120     4~/4 41/15 41/18 41 /19 42/21              24/JO 24/18 24/20 31 / 8 31/9
hoping [ 1 ]       111 /7                     4 3 /3 4 6 / 16 4 6 /] 8 4 6 /1 9 4 7 / 2  33;1·1 40 /21 4 6/12 49/12 54/8
hospital [1]           64/20                  50/19 53/14 54/ 4 58 / 14 59/1             60/  2 0 73/ 3 87/20 9 1/20 92/14
hot [ 4 ]    62/ 13 62/17 62/23               63/2 63/5 63/8 63/16 66/2 4                103/2 108/17 1 10/9 110/1 9
  62/24                                       67/15 69/1 69/2 69/18 72/3                 1 11/7 11 1/15 11 2/16 138/13
hour [ l ]     2/ 4                           73/9 73/11 73/23 7 4 /13 76/2             instructed [l]           50/5
how [ 5 2]     23/ 1 32/ 9 40/ 5 441 13 76/10 77/12 77/15 78/4 79/1 7 intact [l]                          137/17
  46/2 46/24 47/ 1 52/8 52/20                 80/18 81/12 82/3 82/8 83/4                integrate [l]          49/5
  5 4 /1 55/8 55/12 58/10 59/18               83/4 83/7 84/4 85/5 85/11                 intended     [l ]    94/4
  64 /2 64/6 64/15 68/5 69 /24                85/ 21 86/8 88/5 88/10 95/3               intent [l]        93/ 17
  71 /)6 7 1 /23 74/19 7 7/11 85/1 4 96/5 96/6 97/19 97/ 22 1 02/1                      interested      [2]      76/2 166/10
  95/19 98/2 98/20 106/18                     102/2 103/8 104/11 1 04/13                interrogatories [ 8]            4 /10 4/16
  109/14 109/16 112/18 125/4                  104/14 106/3 106/6 109/2 4                  4/21    38/12   88/?.  2  89/2   160/ ] 2
  126/7 126/ 17 139/24 144/24                 112/5 1 15/23 1 16/10 11 6/1)               160  /21
  ]45/10 145/22 1 47 /6 151/2                 119/6 121/9 121/11 1 22/ 1 4              interruption [l]            42/1
  15)/12 151/ 17 15) /18 1 51/23              1 23/24 12 4 /5 1 25/ 1 4 126/8           intervene      [1]     156/16
  152/ 2 157/8 158/11 159 /4                  126/1 8 12 7/5 1 27/14 1 29/19            into [15]       9/7 9/'/ 10/16 28/5
  161/4 1 61/7 161/1] 161/14                  130/4 1 30/16 130/ 2 0 1 34/9               34/16    34/17    37/9 40/21 66/4
however [5]           16/1 ~8/13 53/2l        1 37/12 1 40/14 142/24 1 43/3               102/  23  11 3/5    117/ 2 4 158/20
  139/ 2] 147/10                              1 43/20 1 44 /12 1 45/8 14 5/18             162/19 162/20
human [ 1]       4 o; 2 4                     1 4 7 / 6 14 7 / 8 14 7 / 18 14 7 /19     involved [ 5]        32/10 90/ 11
hungry [2]         62/4 63/22                 1 4 9/20 154/2 156/5 156/8                  90/15    118/11     ]24/21
                                              163/2 1 63/4 163/11 163/16                involvemen t [4]           1.01/6 112 /11
I                                             ] 63/19                                     122/"I   12?/12
                                             ILLINOIS [26] 1/1 1 /6 l/23                Irish [8]       1 4 6/11 146/15
I ' d [l]     1 05/5                          2/ 2 2/7 2/11 2/13 2/14 2/19                1 46/]6 146/2 4 147 / 9 1 47/18
I ' l l [7]     5/12 6/10 J/3 36/23           39/5 43/17 46/15 47/17 53/1                 1 47/21 141/ 22
  123/8 123/23 1 27/ 15                       86/8 103/2 1 04/10 124/22                 is [276]
I ' m [113]      5/3 6/2 6/22 7/ 1            1 44/10 14 7 /13 158/12 161/8             isn't [2]       39/6 1 19/6
  10/17 13/8 14 /20 18 /22 20/6               165 / 1 165/7 165/11 1 66/ 13             issue [9 ]      1 2/16 31/5 37/5
  20/ 10 20/21 21 /3 ?.l / 6 21/11           immediately [2)            112/13 165/21 103 / 16 11 8/1 142/13 154/10
  21/12 21/23 22/16 24/13 26/1 3 implement [1] 77/5                                       1 56/15 1 36/24
  32/24 33/1 35/18 36/6 38/6                                                            issued [4]        1 4 /13 15/16 27/3
                                             important [l]           158/2
  38/18 38/21 39/9 39/11 40/19 imposter [ l] 32/2 0                                       1 39 /8
  42/7 43/14 44/6 44/15 44/15                impression [5]           34/19 45/9        issues [3]        7/20 32/12 90/18
  44 /23 46/ 14 46/19 50/15 52/15 46/4 4 6/19 88/24                                     issu i ng [4]       90/11 90/15 95/ 1 2
  53/11 53/1 9 54/13 55/16 56/23                                                          133/20
                                             in [343]
  57/21 58/22 59/3 59/6 59/1 6               in there [l]         160 /3                it [ 305 )
  59/1 7 59/17 60/ J 61 / 17 67/5            incarcerated [9]             10/24 22/4    it a n d [l]      134/20
  68/7 68/9 68/19 7 3/7 75/20                 48/3 49/10 53/18 53/19 116 /14 it's [ 150]                  9/22 10/6 10/16
  7 8/1 1 82/7 84 / 15 8 4 /21 88/ ]          144/16 148/3                                12/2 12 /4 1 2/5 12/5 12/8
  97/22 98/1 99/23 100/16                    include [1)         136/17                   12/21 1 4/1 15/12 17 /1 8 17 /2 4
  102/22 ] 02/22 104/1 5 10 4 /19            included [l]          66/24                  20/ 4 20/4 21/13 21 /22 2?./24
  106/14 108/18 110/12 1 10/16               Including [l]           138/3                23/4 25/2 25/7 25/ 23 26/12
  11 1 /7 111/13 1 11/17 112/20              indicated [2]           5/18 9/17            31/20 32/20 38/15 39/5 40/1 2
  11 2/21 114/7 116/ 14 117/2                indicating [6]           70/16 7 1 /3        40/ 18 40/20 41/20 42/21 43 /5
  12 0/ 16 122/9 123/6 1 25 / 13              79/24 137/4 137/21 1 60/1                   43/ ]3 43/18 43/20 4 6/4 46/5
  125 / )5 125/24 127/ 19 129/21             individual [10]            l;-1 1/9 1/lO     49/1 9 49/20 52/7 52/19 5 4 /8
  133 /13 133/13 134/13 135/)7                1 /11 1/13 1/1 4 1/1 5 1/16 1/] 8 55/7 ~5/10 57/5 57/9 59/6
   135/17 136/4 13 7/3 137/12                 1 58/10                                     62/ 4 63/8 65/2 65 / 6 70/9
  138/20 140/ 13 143/17 146/12               individuals [ l]           8 /1)             7 0/J l 70/12 70/18 10/22 71/1
  147/2 1 47/3 148/17 150/2                  indulge [3]         1 47 /7 14 7 /15         72/]7 73/5 75/16 75/17 75/24
  151/10 152/1 7 160/ 19 161/1                1 47/23                                     76 /24 77/8 )7/ 9 77/10 77/18
  16·1 /23                                   inform [2]         41/23 87 /11              78/2 78/3 7 8/5 79/ 1 ~ 7 9/23
I ' ve [26]       4 / 10 9/4 9/10 9/ 1 3 Information [l] 75/6                             79/23 81/1 1 81/12 Bl/ 1 2 81/13
  10/2 10/24 13/5 27./24 23/5                informing [2]           9/5 17/4             84/1 87/14 88/5 88/6 88/10
   31/21 32/4 33/24 35/ ] 0 37/11 infringing [l] 40/3                                     88/11 92/19 92/?.l 97/ 19 98/3
   37/11 41/16 53/11 53/12 57/1 4 initially [2] 9/16 70/21                                99/6 1 05/13 106/20 106/2 1
   58/7 66/4 73/4 8)/24 88/24                initiative [l]           101/15              108/19    110/ 8 1 10/ 18 11 4/1
   13 4/ 20 159/15                           injury [2]         80/23 154/24              114/1 114/3 114/b 114/5 114/9
I.D [3)       96/1 96/?. 1 5?./15            inmate [3]         42 / 6 97 /21 9'l/ 23     114/10 1 14 /10 115;15 115/21
idea [ 1]       1 1/ 1 6                     inmates [9]         11/8 11/10 27/4          ]15/23 1]5/24 116/10 118/4
identification [2]                139/2       41/14 41 /17 89/6 95/5 1 1 0/20             118/5 121/4 124/12 ]29/ 16
   l 40/3                                     161/18                                      129/17 1 29/1 9 130/9 130/13
identify [ 1 ]         'I 37 / 13
J.
i t · s .. .   i3~
                .      C'
                        1B;19~
                              4
                        1 ?0111
                                        E~ TS {~~~;1 ~
                                    3 4:18-cv-04063-SEM-TSH # 133-2        .L

                                              2 6 /17 38/9 7:.11 0 93/1 96/24
                                                                                rag~~,ro.f~~6 Page 7 of 23
                                                                                                        J ,<
                                                                                                                    0;1/ L.J   -:7J /   L::1   ;)..)/
                                                                                                                    126/21 133/2 1 3 4 /]2 J,l"//3
                                                                                                                    156/5
                                                                                                                                                        .l   :J:JJ   l ':7   lJ.VI   LC)




 130/20 131/8 131/ 1 4 132/7                  131/16 156/20 1 63 /2                                                let ' s [7]       30/17 31/13 33/2
 133/8 133/18 133/18 133/21                know [223)                                                               3 4/8 67/20 72/18 78111
 133/24 ]3 4 /10 134/20 135/10             knowing (1)               44 /24                                        letter [11)          19/15 111/3
 ]35/12 13:,/)4 138/11 140/13              knowledge [3]                 93/2 9 4 /20                               1 13/15 113/24 1]4/23 11 5/6
 140/14 140/15 142/ 1 3 L42/24                l 65 / 1 7                                                            116/4 116/7 116/9 146/8
 146/5 147/4 150/13 1 :, 0/]8              known [ 7]            34/ 2 4 43/22 58/7                                 1 62/16
 151/8 152/12 157/4 158/21                    91/19 110/3 1 1 2/4 134/12                                           letters [ 1 ]        1 29/18
 1 61/9 1 62/14 162/15                     knows (3)             26/13 J 09/20 l?.5/ 1 7                           lett ing [4]         11 0/3 1 14/22
itself [21    93;·13 119/20                Knox (4)             2/7 1 48/2 165/2                                    139/7 158/20
                                              165/10                                                               library [2)          149/18 149/21
J- - - - - - ---- - - - - - kosher [6] 54/11 5 4/16 56/22                                                          lie [3 ]      ~,3/1.2 58/;'0 l 44/9
jail [l]       53/22                          57/3 152/22 153/7                                                    lied [4]        99/18 99/18 100/3
Jenky ( 5]      33/9 36/2 4 37/2           - -- - -- - - - -- - --                                                  100/24
  39/3 58/"I                                L                                                                      life [l)        5 0 /1 1
Jesus [ l]      38/21                      _l_a _c -t o
                                                      _s_e_ [_4_]_ ~5 ~6 /~ 2~2=----=5~7~/~4---=-
                                                                                               1 ~52~/7-2::-::-3   like [121]          4/8 5/22 6/22 6/24
Jew [l]      7 9/ 1                           153/7                                                                 7/ 1 9 8/5 10/2 11/20 24/12
Jewish [10]         1 1/13 15/2 2 29/21 LAHOOD [ 18 ]                J / 13 2 /7- l. 31 /1 6                        30/19 32/1 ,,,~ 32/20 -     33/7 35/1 8
  5 4 /5 ]04/19 10 4/22 104/?.3               31/17 32/3 32/ 1 7 32/18 32/19                                         36/16 37/7 38/10 38/ 1 3 38/15
  105/8 l?. 4 /10 155/24                      33/9 33/18 34 /4 34/5 39/ 4                                           41/ 2 41/]5 41/20 42 /13 44/6
job [19)       52/24 53/1 4 58/23             39/12 123/17 1 44/6 155/]1                                            44/ 23 45/2 45/20 46 /2 46/ 4
  97/18 1 02/1 ] 102/20 103/18                1 60 / 3                                                              46/5 46/]3 46/21 47/3 4 8/9
  103/18 10 3/19 103/21 103/24              laid [1]            128/ 18                                              48/ JJ 4 8/15 49/ 11 49/20 50/2
  104/7 105/20 10 7/20 108/1 0              last [14]            5 / 1 4 5/15 13/9                                   50/ 1 3 52/6 52/JO 54/4 54/4
  108/1 2 118/22 119/13 122/15                22/20 3 1 /3 55/1 55/2 55/11                                           56/3 56/5 5 7 /13 58 /13 58/1 4
J OE [ 7 ]   1 /13 2 I 21 3 1 / 1 6 31 /1 7 5 5 /18 65/8 105/1 1 158/16                                              58/18 59/8 60/2 60/ 7 60/14
  34/20 39/4 144/ 6                           158/16 162/4                                                           62/ 4 62/LO 62/ 12 62/20 63/5
JOHN [18 )      1 /6 1/14 2/15 2/1 6 late [2)                   13/9 1 10/1 8                                        63/ 19 64/ 1 3 64/23 68/ 1 9 7 1 /1 4
  27/1 6 28/1 1 07/16 113/12                later (2)            73/17 7 4 /3                                        71 /2 1 7 3/7 74/5 75/4 J8/3
  115/5 1 16 /3 11 6/17 1 16/23             law [7]           95/ 1 0 97/ 18 110/15                                  7 8/6 '/8/17 ·1 9/1 2 80/;,' 80/ 1 6
  1 17/9 120/1 120/7 122/1                    131/1 7 149/18 149/21 1 60/2                                           8 4 / 1 84/6 84/'I 84/19 85/12
  1 22/11 154/5                             lawsuit [22]               9/ 11 52/24 59/1                              8 5/14 86/1"/ 86/19 87/18 88/5
Johnson [ l]        54/13                     59/11 59/1 7 60 /8 60/ 1 5 66 /13                                      92/12 9"//19 99/4 100/16
join (1]       87/10                          66/2 0 81/12 81/14 88/4 88/ 1 1                                        1 02/16 107/14 )09 /1 0 109/15
j o t [2 ]   6/24 7/1                         9 0 /24 94/ll 94 / 13 97/1 99/ 1 4                                     109/23 1: 0/12 113/17 11 3/19
Judaism [ l]        75/23                     111/14 121/8 1 25 / 1 125/21                                           114 /11 J :. 6/13 117 /2 1 18/20
judicial [2]          111/2 2 1 13/5        lawsuit's [l]                55/17                                       1 20/ 1 8 123/23 12 4/ 7 125/8
just [109]         4/13 5/21 8/9 11/7 lawsuits [1 1 1 54/1 0                                                         12 6/ 1 4 129/15 137/19 138/21
  11 /16 13/9 14/?. 15/6 16/2               lay [2)           52/11 153/10                                           1 4 4/ 1 8 ]45/1 2 1 46/2 150/2
  16/5 17/4 17/7 1 7/22 18/2                leadership [11                  39/1 4                                   15 0 /20 155/19 15 5/23 157/ 9
  19/3 19/19 23/6 24/6 24/10                leading [2]              9/ 4 22/ 4                                      158/6 159/5 159 /6 159/1 4
  32/5 32/7 35/3 38/10 4 0/20               l east [3]            72/ 1 98/15 1 60 /16                               160/ 1 1
  4 3/6 43/15 45/ L6 45/?.3 46/19 leaves [3]                       28/15 92/J.3 139/22                             like he [1 1 46/5
  49/ 18 49/22 51/5 54/16 56/ 6             left [4]            68/8 115/13 136/2                                  likes [l]         113/16
  57/1 8 57/20 59/14 59/1 7 61/ 10 1 41/9                                                                          limited [1]          :,3/23
  6 4 /2 1 65/7 65/ 1 1 65 /19 67/22 leftovers [l ) 153/8                                                          line [2 ]       5 4 /10 85/14
  70/24 72/13 '/5/ 1 2 76/1 78/3            legal [3]            100/ 1 5 100/20 101/3                             lines [ l]        1 30/2 0
  78/17 79/1 1 79/ J 6 80/3 80/16 Lent [75 )                      9/22 9/2 4 10/10                                 Linwood ( 2)         2/6 2/11
  85/7 85/7 86/2 86/19 88/15                  1 4 /11 1 5/14 16/12 16/14 16/16                                     list [43 ]        25/22 42/ll 68/1 4
  88/2 1 89/1 89/17 91/1 91/JB                16/18 17/1 17/ 6 1 7/ 8 17/ 22                                         68/] 7 69/?. 69/1 69/8 69/12
  92/ 1 2 93/24 101/22 102/7                  18/1 18/2 18/1 ] 18/11 19/ 9                                           "72/8 7?.. /1.1 72/1 5 821 2?. 82/23
  103/21 : 03/21 103/ 2 4 105/2               19/1 9 19/2 4 20/6 22/13 22/22                                         8 2/23 83/4 83/5 83/20 84/9
  105/22 1 06/23 109/17 110/13                23/3 23/9 2 4 / 8 25/19 34/13                                          84/]3 84/]5 84/16 84/20 84/ 2 4
  111 /5 11]/?.4 1 ]2/4 113/1                 37/13 37/1 5 39/20 4 3/18 86/1 1                                       85/lJ 95/1 5 95/22 98/6 98/ 1 4
  115/7 11:">/ 9 1 1'//8 118/14               86/12 87/13 87/16 87/22 87/23                                          99/ 7 99/11 118/2 4 1 39/14
  118/21 1 19/16 ]20/1 2 121/2                93/ 10 95/16 97/12 97/14 99/3                                          139/20 141/11 141/23 ) 42/7
  121 /6 122/9 122/10 123/1 1                 101 /12 11 5 /4 12 4 /5 126/23                                         1 48/6 1 48/8 148/10 152/14
  1?.3/19 129/?.l 131/17 137/16               127/1 9 1 28/15 1 28/ 24 129/10                                        153/15 1 53/17 163 /9
  14 0 /3 ]41/4 143/8 145/15                  1 3 0/8 134/8 134/12 13 9/ 1 4                                       listed [3]          103/ 2 4 140/8 152/3
  146/7 146/19 ] 51/10 154/12                 139/20 140/2 1 40 /23 14 1 /11                                       listen (4 )         27/12 125/8 146/ 4
  154/2: ]:,7/?.4 1 60/21 162/3               141/23 142/7 143/22 14 5/7                                             14 7 /]7
  1 62/?. 0                                   1 46/20 148/23 149/2 1 5 3 /2 4                                      lists (1)         153/3
                                              15 9/1 8 1 60/15 16 0/18 160/24                                      little [3]          6/2 4 53/21 67/20
K
                                              161 /6 1 61 / 15 1 61/ 1 6 1 63/24                                   lives [1]         32/5
keep [9]       2 0 /2 20/3 2 1 /11          Lenten [l]             8/1 2                                           located (1 )         106/2 1
  2 4/1 1 43/ 1 8 80/14 99/5 132/11 let [24)                    6/3 1/7 7/8 1 4/3                                  lockdown [3]           49/13 60 /20
  163/5                                       2 0/1 7 43/22 45/9 65/7 66/ ?.                                         60/ 22
kept [1]       93/9                           68/11 68/15 68/18 69/3 73/5                                          locked [l]          158/ 19
kicked [l]         89/21
                                                1.J/J   1-1/..Lf-   l ' i / '-J   J.)/ L   IOJ J. ..)   lT.U::..La.&. .:, 0::,-M,   L .L ~ J     J. /   l   I   L J .l 1   /J O I   .L ':J
.L

Loevy
           f 1~ o~~~~ 4:18-cv-04063-SEM-TSH
                  ~o'
         [2 · 3 ; 3 ~~ 8
                                            J    # 133-2efi/2Page
                        SEM TS 8:#fi:sli.122 l?ageE5S;of
                                83/13 83/13 84/2 4 85/7 86/5
                                                              3   8108/1
                                                                    of 234 1 12/7 113/9 1 1 4/24
                                                                   117 /1 1 1 7/ 6 ]20/5 122/6 135/6
long [ 5]        49/20 55/8 68/2 l               8 6/6 8 8 /22 88/23 93/ 1 95/14                            135/16
 69/24 73/4                                      95 / 1 6 97/20 97/21 97/22 97/2 4                      membe rs [l]  95/lJ
longer [3]           67/3 107/2 1 48/ 18         98 ; 1 99/6 99/19 101/23 1 01 /24                      memo [8]   69/9 70/]3 70 /1 4
look [13]          9/7 9/ 7 2 1 /5 46 1 24       1 09/9 109/15 112/5 1 12/18                                70/ JB 70/22 11/9 7 4 /B 81/3
 5 4 / 1 4 55/2 63/20 72/18 ]05/10 112/20 113/1 7 114/22 114/22                                         mental [1 ]     7/20
 109/2 109/10 123 /7 125/16                      118/ 2 3 1 2 0/ 15 120/15 120/1 9                      menti on [3]      4 /9 31/2 0 31/4
looked [5]          10/ 1 6 46 / 23 l 0 2 1 23 12 5 / 4 1 2 8 / 18 131/21 137 /22                       men t i oned [3 ]    67 /8 1L4/24
 109/9 109/23                                    1 48/12 148/15 149/8 151 /7                                126/ 6
looking [4]           82/7 J0 4 1 15             157/3 159/20 162/13 165/8                              menus [ 1]   1 6/10
 112/21 11 4/7                                   165/1 6 165/2 2                                        met [ 6 ]  19/22 31/2 4 32/3 32/4
looks [6]          28/ 5 7 1 / 1 4 80/2         meal [ 69]       8 /12 9/ 8 9/2 4 10/1 4                    33/24 47/15
 ]09/15 127/9 150/20                             12/8 14/ 6 14/13 15/1 4 15/ 17                         might [ 22]      7 /20 44 /1 / 44/17
lose [2 )        64/1 64/ 2                      16/6 16/14 16/15 1 6/19 17/24                              45/7 4 7/4 59/9 60/21 62/12
losing [2]           64/4 64/4                   18/11 1 9/4 23/2 0 24/10 2 4 / 1 2                         62/ 13 62/16 1i118 79/8 85/ 15
loss [3)         6 4 /l 65/4 65/13               25/ 1 7 26/4 26/5 27/3 35/9                                85/ 1 6 85/18 87/2 96/ 8 119/5
lost [5)         61/6 64/6 64/ 12                38/22 39/20 40/1 43/9 43/13                                121/3 1 25/9 153/6 155/6
 64 /21 65/8                                     43/1 8 55/3 55/22 55/23 55/23                          milk [ 1 )                      57 / 4
lot [5)        58/ 1 8 6 4 /3 7 4 / 2 l          61/2 4 6 6/3 8 6 /1 5 87/18 93/10                      min d ( 4)                      33/1 51/1 7 4 /8
 1 02/6 ]53 /1                                   94/22 95/16 95/20 97/12 97/14                              11 8/19
Lovell [l]           154/5                       98/9 98/ 1 3 1 02 /10 102/19                           mindfu l [1 ]   7/4
lunch [3]          16/9 55/14 55 / 2 0           104/ 2 0 105/12 105/13 115/3                           minds [ l]    155/22
M                                                1 2 6/ 1 8 1 2 6/23 128/1 128/6                        min istry [3]    31/ 18 3 1 /23
                                                 ]28/1 4 128/18 1 2 9/ 1 0 129 /1 2                         32/ 12
made [5]         30/13 125 /9 131 /1 2           130/8 133/ 1 3 14 0/ 1 150/6                           minutes [l]   113/1 4
 135/8 148/1 6                                                                                          miss [ 2]  71/16 ·12/6
                                                 152/7 15 2/16 160/15 160/18
mail [7]         11 /14 1 4 /9 2 6/14                                                                   missed [3]   60/19 81/16 82/1 7
                                                 160 /2 4
 85/16 85/19 ] 1 4/13 115/1 2
                                                meals [25]         9/19 3 4 / 1 3 36/14                 missi ng [6)  61 /12 61 / 2 3 6 7 /9
mailed [l)           16?./2 4                    36/21 37 / ~ 3 37/15 54/2 54/ 18                           136/1 1 136/14 138 / 2 1
mails [1)          161 /20                       5 7 / 16 62/7 63/ 12 66/1 98/5                         mistaken [l]     13/8
main [1]         61/24                                                                                  modera t ion [l)    147/9
                                                 1 23/13 1 24/6 127/1 129/2
make [13 ]         6/1 6/ 5 7 /11 4 9/]3
                                                 129/2 1 40/2 1 4 1 / 8 1 44/9                          moment [31    1fl/9  68/6 10 ?./9
  59/20 60/2 1 65/11 78/ 9 87/ 11                                                                       money [ 5]   59/159/3114/ 10
                                                 152/22 154/1 1 1 55/2 15 6/1 4
 1 30/5 142/6 1 45 /14 1 4 6/4                                                                           li 4/l6 114/17
                                                mean [14]        H/19 32/16 48/7
makes [6 ]         29/6 95/ 15 95/ 21            102/2 1 11 /18 1 14/3 125/8                            month    [ 9]   48/ 1 0 48/1 6 71/20
  99/7 99/11 146/3                               1 2 5 /20 135/1 9 136/9 144/2                           82 /10 82/1 4 83/9 99/3 1 5 8/16
man [ 4 )      l O2 / 4 ·1 3 1 /?. 1 13 4 / l 4
                                                 15 0/ 1 9 151/9 151/14                                  162/18
 14 9/ 1 0                                      meaning [4]         1 5/15 45/7 95/22                   months ( 13)        71/18 71/?. 1 71/ 2 4
manager [ 3]           10?./14 105/ 18                                                                   72/1 72/4 72/6 82 / 16 83/1
                                                 152/13
 1 0"// 2 4                                     means [2]        126/9 165/22                            83/15 83/2 1 84/5 85 / 1 158 /1 6
MANUEL [ 4 ]         J /8 2/15 9/ 1 7                                                                   moon [ l)      85/1 3
                                                meant [1]        144/16
 118/1)                                                                                                 moot [ 2)      118/5 11.8/9
                                                meat [58]        8/1 2 1 6/21 16/22
many [8]         21/10 23/l 53/23                                                                       more [ 21)      4 2 /7 4 7 /10 4 7 /I 4
                                                 17/7 17/9 18/6 18/23 19/4
  7]/16 71/23 95/19 98/20                        22/22 23/l 23/2 2 3/4 23/8                              60/4 70/]8 7 4 /16 1 00/5 1 00/7
  159/11                                         23/ 1 2 2 3/13 23/15 23/ 18 23/20                       100/ 1 4 10 1 /2 101./4 1 49/9
March [1 )         1 25/6                        23/23 2 4 /22 2 4/23 26/1 26/5                          15 0/ 4 154 / 7 ]54/7 154/21
mark [l)         138/20                          43/13 53/8 53/10 53/11 53/12                            155/ 7 156/23 157/4 158/9
marked [2)           1 39/?. 139/ 16             55/1 6 55/22 56/6 57/3 58/2                             1::,8/ 18
mass [5]         48/9 4 8/10 48/22               58/1 0 58/14 59/8 59/9 59/2 0                          most [ 3]      49/]4 60/ 1 2 64/1 1
  49/2 78/12                                     59/2 4 60/9 62 /14 63/3 63/16                          mouth [ 1]      161 /?.2
match (1 )         1 12/ 22                      11 5/4 126/10 1 26/ 1 6 126/18                         moving [4)        1 02/9 124/1 1 56/3
matter [ SJ          63/8 70/13 94/ 23           130/8 1 4 4 /8 144/17 1 4 5/3                           158/6
 1 48/] 6 153/3                                  1 45/ 7 1 46/23 1 47/ 7 1 47/8                         Mr [19]       3/3 3/ 4 3/4 3/5 3 /5
matters [ 1)           1 65/1 8                  14 7/ 15 147/ 17 ] 47 / 1 9                             3/6 8/ 7 27/2 1 4 7 / 20 88/ 1 4
may [8]        6/3 6/ll 6/13 716 716 meatballs [l ] 56/3                                                 95/14 10}/17 1 04/22 12 3/10
  I /10 43/J 4 3/1                              meatl ess [36)         1 7 /21 1 7/24                    131/] 1 39/4 143/16 155/9
maybe (11)           42 / 1 1 42/1 1 55/10       18/17 19/16 19/2 4 20/19 20/23                          1:i9/] 7
  57/21 57/2 2 60 /2 3 62/ 1 6 64/13 20/2 4 2 1 / 2 22/13 2 4 / 8 2 4/9                                 Mr . [ 3 2]    5/6 9/1 I 10/3 26 /13
  1]3/19 155/21 159/2                            2 4/1 1 24/16 25/1 6 57/16 59/1 2                       27/22 32/14 47/15 54/1 3 67/1
McLaughlin [1 )             89/1~                6 1 /21 63/23 64/16 65/1 4 65/18                        6 8/ 1 4 8 1/ 3 8 1 /5 88 /2 96/14
me [101]         4/9 6/3 7/7 "//8 8/11 65/2] 66 /5 67/2 8 6 / 1 0 86/ ) 4                                96/21 97/6 100/10 100/ 1 0
  l l / 1 6 1 2/ 4 14/2 17 / 4 18/ 1 9           12 1 /9 121/15 125/2 125/4                              1 01 /2 ]01/6 10 1/9 101/ 1 0
  20/13 20/17 21/8 26/7 26/12                    125/22 1 26/3 1 4 9/4 1 50/6                            101/11 101/20 101/21 10 5 /8
  33/] 3~/1 2 35/16 36/8 39/10                                                                           108/8 17.0/21 1 30/7 14~/1 6
                                                 155/1
  39/1 7 44/20 4 4 /20 4~/9 52/24                                56/1                                    1 4 6/7 155/19
                                                meats [1]
  53/24 57/7 57/9 57/ 1 8 58/24                                     64/18 154/23                        Mr . Ahmad [1]        1 4 6/ 7
                                                medical [2]
  59/2 67/15 67/17 67/22 68/ 1 1 medications [ l)                          7 / 1. 6                     Mr . Ahmad ' s [ 1 J      l 45/ 1 6
  69/9 70/19 7 0/22 70 / 23 / 1 /12                                 155/21                              Mr. Ankney [2 ]         5/6 26 /1 3
                                                meeting (1)
  7 2/12 72/1 4 7 2/2 1 72/22 73/2
                                                                                               .l.. '1 0 /   1.   J. '-;I: ;., /   t   .1 _! '1 /   "Y   I• ..J   <JI   0


=r.    Brit~~tS    {~~   819?f94:18-cv-04063-SEM-TSH      # 133-2 Pagenumber
                               S1~~1116S i ~4!~ul [4page:f16><1Jfi.6tl/18
                                                                          9 of 23[ 9]                              12/8 12/12 "1 4 /14
                                                                                              9 5/19 139/9 139/1 1 14 1 /19
Mr .   Fred [ l]  96/l 4                        105/1 9 1 0 7 /19
Mr.    Freddie [1 ]  96/2I     .               negligence [ l]           8/ 1 9               151/7 152/3
Mr.    Frost [2 ] 21; 2? 10818                 neither [3]           4/ 11 15 9/22 1 66/4 numbers [2] 151/2 151/23
Mr.    Gans [3]   101/6 101/20                 never [38]          9/10 9/13 10 /17         n umerous [2 ]              98/22 140/21
 101 /2 1                                       10/19 11/5 ll/15 16/7 16/7
                                                                                            0
Mr. Johnson [ 1]        54/13                   23/16 2 4 /1 2 6/ 17 32/3 32/ 4
Mr . Manuel [ 1 ]      9/17                     32/2 ] 33/24 34/5 35/10 36/10 O'NEAL [1 7 ]                           1/3 1/7 %/1 2/10
                                                                                              3/3 4/2 5/15 47/ 1 5 68/1 4
Mr . O'Neal [5]        47/15 68/l 4             74/1 74/24 75/9 83/1 81/21
 101/11 105/8 120/? l                           87 /23 96/15 96/15 96/17 96/20 84/ 1 4 )01/11 104/22 105/8
Mr. O'Neal's [ 1]        1 01/2                 1 00/6 124/8 1 27 /23 129/23                  1?0/2 1 12"/ /20 146 / 16 165/1 4
Mr. O'Toole [ 1]        32/14                   131/6 131/12 131/16 132/19                  O'Neal ' s [1 ]             l OL/?.
                                                                                            O'Toole [ 18]               3L/l 32/14 32/ 1 6
Mr . Ro j as [9]      10/3 6 71 1 8113          1 45/5 157/ 11
 8 1 /5 88/2 9 7 /6 100/10 100/lO              new [8]        1 4 /7 14/1 4 73/1 73/5         32/16 32/ 17 34/20 34/22 35/ 4
 130/7                                          73/19 124/1 2 158 /7 163/1 4                  35/)3      35/16 36/8 36/10 36/20
Mr. Uphoff [l ]        155/19                  next [7 ]        59/10 62/16 85/18             37/12      39 /3 40/ 1 4 4 4/1 4 45/7
Mrs . [ 1 l   13 7; 9                           8 7 / 5 9 7 / n 1 o5 / 21 16313             oat h [2 ]         4/ 4 165/20
Mrs . Phoenix [1]        ]37/9                 night [10)          43/12 50/"7 55/24        obligation           [l ]       21 /l"l
much [ 7]     41/15 64/2 6 4 /6 68/ 5           61/19 81/20 84/13 85/19 85/20               obser    ve    [3]        16/   12 16 /16 ?.2/13
                                                                                            occasio n [ l]               58/16
 107/18 139/24 1 61/ll                          85/23 86/2
                                                                                            occas i o ns [2]              98/22 99/2
multiple [l]        30/17                      nine [1]         84/ 7
                                                      169                                   occurring [3]                 10/21 108/3
Muslim [10]       11/13 ?.9/21 63/6            no [       1                                   1 4 9/3
 "/ 4/7.?. 76/2 "18/ 3 78/7 78 ; 24            Nobody [1]          l 3/20
 103/6 1?.?./22                                nod [l]        6/1:                          October        [l ]       4/ 1 9
Muslims [9]       15/21 :> 4 /5 63119          non [19]         8/ 1 2 1 4/19 1 6/21        October 9 [1]                 4/19
 75/1 75/2 3 76/8 76/ 12 76/18                  19/ 4 23/23 26/5 43/13 7 6/15               odd    [ 2]      84/23        109/9
 86/19                                          76/16 77/13 77/ 13 77/22 77/22 Odi nism [ l)                          75/?4
must [3]      78/21 1 45/24 163/ 8              80/9 80/9 115/ 4 130/8 1 44/8               off [ 46]          12/1 12/20 24/?. 24/4
                                                144 1 7                                       25/13 26/ 2 26/10 41 /l7 41/2 1
my [ 7 8 ]   8/   2 14 / 11 18 / 8 2 0 / 1 7          I                                       42/3 42/6 42/ 1 1 4 9/?.0 68/6
 21/8 21/ 1 4 21/16 22/l 9 2 2119              non- biased [1]            14/19
 26/2 32/24 43/6 4 3; 6 44119                  non- Catholics [4]             "/6/15 77/13 69/6 69/8 69/ 1 2 72/21 82/23
                                                7 7 /22 80/9                                  82/23 84/15 92/14 9)/20 92/24
 44/22 46/16 51/13 :>2/1 52/13                                            .
 52/ 17 57/l 57/6 59/2 59; 16                  non- Christians [4]              76/16         93/15 94/1 96/1 97/14 102/7
                                                77 /13 77/22 80/9                             1 02/8 1 ) 0/2 1 1 4/ 16 1)5/13
 64/8 65/10 68/12 69/5 72/10
 12/21 75/11 80/6 81 /17 82/2                  non- meat [10]           8 /1 2 1 6/2 1 19/4 1 1 6/5 11 6/6 1 17/18 118 / 23
 82/ 4 82/22 83/ 4 83/4 85/5                    23/23 2 6/5 43/13 115/ 4 130/8                1 19/6 l?.7/5 127/23 135/ L4
                                                                                              1 35/15 l 35/16 135/20 J 36/ 1
 89/3 90/6 90/22 91 /18 93/5                    1 44/8 14 4/17
 9 4/"/ 96/14 97/19 98/3 9 8 ; 16              nondenominational [l]               75/15      1 52/20
                                                                                            Off e n der [2 ]             80/2 130/14
 1 00/2 1 00/5 100/7 100/11                    none [2]         112/22 129/11
                                                                                     101/15 offen    d e r s   [3]        79/18 90/1 l
 100/14 100/22 101/13 1 01/19                  nor [7 ]       66/7 92/2 97/5
 104/24 110/7 11 0/ 19 1 1 4/17                 107/24 1 44 /23 1 6 6/5                       90/15
                                                                                            offer e d [ l]            86/16
 117 /18 1 2 3/7 12"//1 9 127 /1 9             norm [ 1)        85 /12
                                                                                            offhand [ 3]               47/8 65/22 72/13
 128/2 133/5 133/8 13"1/23                     normally [3]           ll./11 27/ 1 2
                                                                                            office [13]               2/13 10/5 91/19
 1 4 4/3 ]46/5 146 / 1 4 150/ 4                 29/10                                         92/5 92/13 11:>/9 11:> / 1 4
 159/21 161/20 162/3 166/ll                    Norman [2]          1 48/21 1 63/20
 1 66/12                                       not [239]                                      115/]6       116/2 1 29/5 145/16
myself [ 2]    5/5 1 42/ ! 4                   notarial [1]           166/12                  14  5/ 16    16?./ 23
                                                                                            off i c er [ 28 ]            12/2 1?./20 23/24
mysteriousl y [ l]     69/6                    Notary [2]          2 /3 165/5
                                               notes [ l] 123/7                               25 /13 27/20 2"1/ 21 27/23 28/12
                                               nothi n' [9]          53/1.3 69/8 98/1         28/15 28/17 28/21 41/23 85 /1 3
N
-n-ah- -
       [ 2_]_ _4_2_/_1_7_
                        4_2_
                           /_1_-,- - -- -       11 6/ 1 2 148/13 1 48/16 1 4 9/13             85/15 85/18 85/2] 86/3 86/ 5
                                                                                              86/6 9?/2 96/19 96/20 107/18
name (25]     5/13 5/1 4 5/15 1 4 /8            14 9/24 157/7
  1 4 /10 15/11 31/3 69/2 69/ 5                nothing [21]           21/1 38/10 4 0/ 1 2     109  /1 109/21 109/22 111/1"/
  72/10 82/22 83/4 83/5 85/5                    58/21 65/17 66/22 74 /9 90/9                  135/5
                                                                                            offic ers [ 4 ]              28/9 68/20 86/1
  107/3 109/11 109/1 4 ]12/19                   9 4 /23 99/8 108/11 113/ 22
  1 1 5/10 126/20 127/11 12 7/20                1 19/22 1 22 /19 129/2 12 9/3                 104/12
  1 4 6/9 146/16 151/15                         132 /3 149/14 15 6/11 164/5                 official [ 9 ]               1/7 1/8 1/ 10
                                                                                              1/11 l/ 13 1/14 1/15 1/ 1 6 1 / 17
name ' s [ 11 8 4 ; l 9                         16 5 / n                                    offic i ally [l]                28/14
named [2]     8/18 1 65/ll                     notice [2]           161/5 165/8
                                                                                            oft e n [ 1 ]        58/10
nature [2]     31/12 126/l?.                   notify [l]           9/2 3
                                                                                            oh [ 8 ]       13/24 44/4 6S/2 ]05 / 10
necessarily [ 1 ]       33/13                  November [2 ]          2/4 165/9
necessary [ l ]     141 /7                     now [41 ]        5/9 6/2 1 9/5 11/16           120/20       128/1       2 148/ 1 2 153/22
necessity [ l ]     166/l                       13/13 15/19 17/11 26/ 1 2 2"1/22 Ohio [ 1]                     l :., 8 / 14
                                                                                            okay [ 124]              4/24 5/12 8/4 8/?.l
need [12]   6/17 ·117 11/20 20/S                27/ 24 29/7 34/8 36/9 37/20
 21/15 37/2 43/17 54 / 11 88/21                 38/24 41/10 43/5 43/10 4 5/5                  8/24     10/1      10/20        11/9 14/14
 91 (15 134/21 1 49/18                           45/9 49/17 55/3 55/7 67/7                    18/12      18  / 1 6     19 /"/  20 /12 22/ 1
needed [1 ]   29/23                             73/5 85/7 85/J 2 91 /1 103/22                 22/9 2 4 /1"/ 25/7 25/ ] 5 2:>/21
needs [ 8]  3 7 / 5 3 /; 16 3 7 /2 3            111 / l 3 1 LI /2 1 12 7 / 4 12 7 / 15        26/18 27/5 27/1 5 28/1 28/8
 98/13 110/] 1 17/6 117/] 4                     ]34/13 134/14 137/12 138/ 1 4                 2 8/13 28/23 29/6 2 9/1 6 30/23
                                                                      .L U   ..)J/                                    _1       IJV / U   .L J l /1.0   J...}.L /.J..7   l..J ""J/ J.J.
u                                            ..)..)/ ;J   ...)...Jf                  ~,G   ...) '-:t /   I   ..)(Jf


         fMf c~ Q/01q6jl 4:18-cv-04063-SEM-TSH
okay. - _g
                                                    # 133-2 Page 10138/21
                          ~~ T~ ~3 # J12li-il120P.agEe351J)f16S3;4
                               /1~ 45/ 14 45/19 45/19 46/22 47/2
                                                                     of 23 140/14 1 4 0/16 142/6
                                                                   143/1 146/9 )46/9 14 7/ 11
 32/9 34/1 35/5 36/7 36/1 2                  47/23 48/20 4 8/20 49/J3 51/l                                                  1 48/12 159/23 161/13 161/2 2
 36/22 37/J 3 7 / 1 4 37/22 38/4             55/15 55/16 5 5 /20 55/24 56/5                                                 1 62/3
 38/7 39/9 39/2) 40 / 6 41/ 7                60/20 60/23 62/13 62/17 62/20                                                 outdoes [1]      '/ 4/ 22
 44/11 44/14 4 4/ 1 6 45/4 4 5/1 3           62/23 63/l 63/9 64/13 65/23                                                   outsi de (5]     31/8 40/16 40/24
 46/ 18 54/24 57/15 60/11 62/22              69/1 74/4 ') 4/ 13 75/12 75/24                                                 50/9 124/15
 65/16 65/23 69/ 1 3 7 2/18 78/8             77/]3 77/22 78/4 79/9 79/19                                                   outta [1] 148/1 5
 80/22 81/3 81/15 82 /1 0 87/1 5             80/1 80/8 80/9 80/23 8 1 /12                                                  over [33]      5/?.2 21/U 21/ 11
 88/8 93/ 3 9 4 /1 4 94/ 18 98/3             6 1 /21 82/5 82 /8 87/10 88/11                                                 50/3 56/4 59/ 4 60 /15 60/22
 98/8 100/2 1 01/6 10 4 /4 105 /2 1          88/16 90/16 9 1 /13 94/ 18 96/18                                               64 /6 65/1 81/ ]8 82/2 86/6
 106/1 1 10 7/ 1 6 108/ 11 114/1 4           96/19 97/4 98/10 98 / 10 1 02/13                                               90/ 21 96/8 97/17 98 / 12 98/1 4
 116/23 117/8 117/23 11 9/22                 103 /6 1 03/ 7 104/22 1 05/ 1 7                                                1 02/12 102/ 21 1 0 6/20 111/ 11
 121/18 122/9 122 /2 4 1 25/4                1 07/24 1 09/5 116/20 121 /1 2                                                 11 5/2 4 116/ 1 4 1 16/ 14 117/3
 127 /1 4 127/21 128/5 128 /2 4              121/17 1 22/21 122/22 123/1 3                                                  ]2 2/ 16 12 '//18 129/1 15 3/2 0
 1 34/8 134/1 6 135/13 136/24                123/17 123/ 18 1 26/11 129/1 7                                                 1 54/16 15 4 /20 )61/24
 1 37/3 138/9 138/16 138/20                  130/9 130/19 134 / 1 134/5                                                    overs aw (2]      90/8 93/ 7
 1 40/3 140/9 141/14 1 41/2 1                13 7/19 140/11 1 44/22 1 46/23                                                oversee [2]       48/14 48 /1 4
 142/1 142/19 143/13 1 45/5                  1 47 /20 152/ 1 3 15 3/7 15 3/7                                               overs ees (3]       14"1/ 11 14'//12
 148/6 148/ 18 14 9/2 150/ 19                153/8 154/2 4 155/11 155/19                                                    1 48 / )
 151/16 153/18 156/24 157/2 4                158 /16 158/17 ) 60/20 161 /15                                                own (1)    124/ 11
 159/ 1 3 161/ 4 162/9 1 63/ 7               163 /13 166/S 1 66/5 166/8
 163/ 10 163/18 164 /3                       ]66/8 166/9                                                                   p
older [1] 14 9/1. 0                         ordained [ l]         35/6                                                     P.O [1]      l/2 2
on (227]                                    ~rdeal [1]        8 5/24                                                       packet [3]        1 37/2 4 1 38 /18
once [13]       1 2/ 19 18/7 24 / 2         order [6]      1 2/17 46/ 1 8 46/20                                             13 9/1 7
 25/12 26/ 18 27/ 21 48/10 48/16             47 /5 108/22 1 23 / 22                                                        page (19]       3/2 9·1;2 138/3
 '/3/2 79/6 82/10 85/J 2 90/18              ordered (l]         ] 23/18                                                     1 3 9/9 1 39/16 139/ ] 8 139 /18
one [72]       5/2 4 6/l 13124 1418         ordering [1]          46/21                                                     140 /4 1 40 /7 1 40/8 1 40/ 1 9
 15/2 16/4 1 6/4 22/ 11 23/16               original [5]          1 4/16 135/22                                             14 1/12 1 41 /14 1 41/ 1 9 142/5
 2 8/8 31/14 33/4 34/2 4 39 / 8              1 40 /10 1 40/19 141 /19                                                       14 2/15 142/1 7 ]42 / 17 150/20
 39/24 48/14 48/23 49/1 4 9/5               other [61]        9/11 11/ 1 2 20 /7                                           pages ( 3]      14 0/ 7 1 41/ 18 1 42/18
 50/23 51/16 55/ 20 57/4 57 /lB              20/18 20/21 21/16 21 /21 2]/21                                                paid [ 1 ]    l 13 / 1 8
 62/6 68 /8 71/20 74/ 4 78/11                2 1/ 23 22/1 36/18 42 / 9 42/ 1 0                                             paper [ 5]      1 4 /9 130/"I 130/ J 9
 7 9/7 80/S 80/1 1 80 / 12 80/13             5 1/2 Sl/5 52/ 4 55/22 63 /22                                                  130/20 149/14
 82/6 8 4 /1 3 95/ 18 96/17 97/14            63/22 65/ 19 65/20 66/8 66/1 4                                                papers [1]        81 /23
 97/17 99/1 1 1 0] /8 109/1                  66 /24 68/ 1 75/ 1 8 75/ 20 81/3                                              paperwork [2] 35/8 4 4/19
 1.12/22 11 8/ 21 118 /2 ?. 120/ 17          82/13 82/18 83/8 83/22 86/1                                                   Paprocki [2]         1 47/11 147/24
 1 21/18 ]23/18 131/20 13 2/3                8 6/ 24 88/8 88/13 93/ 1 9 95/13                                              paragraph [7]          J.3 9/12 139/18
 1 34/5 135/1 4 135/1 5 1 3 5/ 20            1 03/22 116/1 11 7/4 118/2                                                     1 40/ 1. 9 141/13 1 4 1 /19 142/4
 14 2/10 142/ 18 1 43/22 144/19              118/7 118/11 1 1 9/12 119/16                                                   1 42 /JS
 14 5/23 148/ 1 1 48/ ] 7 15 3/20            119/1 7 1 20 /1 0 1 20/11 120/24                                              Parcel [1]        1 15 / 13
 154/6 154/1 6 156/ 3 ]59/14                 12 1/1 1 2 1 /2 1 ] 22/ 18 1 2 3/18                                           pardoned [1)         1 4 '1/20
 159/15 160/ 1 9 160/2] 161/ 2 1             13 1/24 142/7 1 43/7 157 /1 4                                                 parishes [1]         1 47/12
  163/23                                     158/5 1 S8 /5 158/6                                                           parishioners [23]              24/ 3 3 2/ 1
one ' s [ 2 ] lJ 8 / 2 4 l 5 3 / 2 0        our [ 15]     9 / 2 ). O/ 13 1 4 / 5 2 7 / 2 3                                  40/ 17 4 1 /2 4 5/1 8 6) /5 88/16
ones [5]       30/19 7 ?./ 7 7 3/1 9         36/21 38/1 7 39/ 2 39/8 4 0/2 2                                                90/19 91/22 9 1 /2 4 92/1 92/3
 138/21 148/1 7                              58/ 4 96/1 96/2 ) 40/1 146/24                                                  94/21 10 1/] 9 1. 08/ 4 115/ 2
ongoing [ 3]       8/13 1 08/2 1 3 4 / 21                                                                                   1 20/16 12 4/23 156 / 1 ]5 6/'/
                                             1 57112
only [41 ]      6/1 12/10 18 /1 6           out [111] 4/12 10/12 10/19                                                      1 57/1 3 160/6 160/8
 19/1 7 19/18 19 /2 1 20/22 22 /21           11/8 11/ 21 12/6 1 4/]7 15/22                                                 part [12]       9/ 11 39/13 49 / 14
 23/16 39/2 4 42/ 1 3 4 2/ 20 48/ lO         17/1. 4 1 7/19 19/8 1 9 /14 20/8                                               51/ 18 64/1 7 8 1 /1 ] 88/6 9 7/1
  48 / 1 4 48/ 16 68/8 71/20 /3/2 2          23/15 23/16 23/ 1 7 25/3 25/11                                                 136 / 22 13 7/23 138/ 11. 138/17
 7 4/13 8 0/12 80/13 83/3 89/ 1 0            26/ 19 32/ 6 34 /9 3 4/1 8 36/9                                               partake [2]         9/23 148/7
  93/3 93/5 109/5 109 / 21 116/1 3           40/17 40 / 1 9 41/24 4 3/ 23 44/3                                             participants [3]             74/21 1 41/ 12
 12 0 /17 126/ 24 130/2 136 /14              4 4 / 4 4 4/9 45/ 5 49/21 50/ 23                                               14 1 /2 4
 1 37 /1 2 ]38/21 13 9/22 14 2/5              54 /8 56/21 5 9/18 61/6 61/23                                                participate [3]            7 4 /15 7 4 /1 7
 143/10 14 4/ 19 154/ll 15 9/ 2               66/3 66/7 67/17 67 /18 68 /Jl                                                 1 4 8 /1 1
 1 61/1 7                                     68/15 68/ 1 8 69/ 1 69/ 3 70 /7                                              parties (2] 166/6 16 6 /9
opinion [2]        40/7 40 /8                70/8 7 0/19 10/23 71/ 1 2 7 J/l3                                              pass [3] 28/17 85/1 6 8 5/1 9
opportunity [3]         5/5 73 /1            72/10 72 /22 73 /9 73/ 1 4 7 3/1 6                                            passed [ 1 ]      41/L9
 111 /)4                                     73/19 74 /6 7 4 /9 75/2 7 5/13                                                passes [l]        7 5/'/
option [ 1 ] 86/10                            76/9 78/16 78/21 7 9/ 3 83/ 13                                               passing [1]         42 / 2
options [ 1 ]      1 9/24                     85/19 8 5 /22 86 /1 9 89/21 90/ 1 8                                          Passover [1] 104/1 9
or (136] 6/ 1 1 6/ 11 7/ 6 7 /10              91/10 91/11 94/23 95/ 15 99/7                                                past [5]            58/13 58/11 ~ 9/1 4
 10 /9 11/21 12/2 1 1 3 /9 16 /5              99/ll 101 /16 104/2 104 / 1 4                                                 J 1 4 /1'1 1 26/ 14
 16 / 1 0 16/1 7 1 7/22 18/17 1 9/14         1 08/ 1 7 1 08/ 1 8 108/20 ] 10/] 7                                           Pat [ 5 J 31 / 2 3 4 I 2 3 3 '/ / 13 3 9 / 3
  20/22 21 /10 ?.2/2) 23/18 26/l             11]/2 114/17 119 / 14 12 4 /8                                                  40/1 4
  2 6/ 1 28 / 1 29/23 30/3 30/5              126 / 22 127/ 24 130/ 4 130/4                                                 Patrick [ 3]                3 ] /2 146/ 18 147 / 8
  31/11 3 1 / 11 31/11 32/1 3 33/4
.t:'                                   f-'-"'11 '-Y   l-'J   ,..,,_,   1..)/ .J. V   pL-u<.:.. U UL ..,;   L .1. J   I   l /   J_ I


Patrick  ,f 3&f✓  1q19?f   4:18-cv-04063-SEM-TSH
                           f'4~~c{S !>ldt Jm-l 75 ?,age# 58
                                                         133-2
                                                            Of 66 Pageproceeding
                                                                      11 of 23 [4]
                                                                       67/13 69/23
                                                                                                                     8/20 6"1/3
patty [l]    62/18                     plus [lJ     14 2/9
pay [2J    50/13 113/l6                point [12]      17/1 1 34/18 4 5/13           process [ 6]      8/ ] 4 11 /1'/ 29/7
pedals [l ]   74/3                      72/7 81/9 84/5 99/4 110/17                     54/1 96/ 1 7 1 00/13
people [14 J 39/ 1 42 /lO 5019          118/ 4 118/9 1 24/9 131/ 15                  produ ce [ 1]     145/8
                                                                                     p roduction [7]        4/]1 4/16 4/22
 73/l 73/5 7 4 / 1 4 1 4/ 1 6 15 ; 7   pointed (SJ       76/9 108/18
                                                                                       38/12 144/3 144/4 162/1
 76 /19 78/22 95/ 1 9 104/1             108/20 13 4 /11 140/14
 110/14 159/1 1                        Polish [2]      55/1 5 56/3                   products [ 3 ]     12 6 / 1 0 141/ l
Peoria [SJ 2/19 3]/18 32/5             pope [lOJ     58/5 58/5 144/71                  1 45/3
 32/6 33/10                             1 4 5/12 145/13 1 45/ 14 145/18              p rofessional [l]           1 54 /23
per [l )   16/1 1                       145/19 147/10 1 47/1 0                       program [ 2]      89/23 93/7
                                                                                     Programs [ 4 ]     89/19 89/20 90/3
percent [9 J 60/3 60/5 60/ 7           pork [ 2 J 63/7 63 /7
 60/ 1 7 60/18 60/ 19 125/l            postage [lJ       11 3/1 7                      127/8
 125/22 J26/3                          posted [2]      8 7 / 1 87/ 1 4               p rohibit [2 ]     77/13 77/1"/
percentage [ 5]     59/ll 5 9119       potentially [lJ           76/2                prohibited [ l ]        7 7 /21
 60/14 63/ 12 64/5                     pounds [2]      64/13 65/4                    prohibiting (l]           "/9/18
period [14]     17/22 18/6 18/ l7      power [3]     4 5/15 45/20 153/1 0            prohibits [ l ]      140/ 2 4
 18/23 19/19 20/6 2?./ 23 30/2         Powers [3]      2/ 2 1 65/5 1 66 /16          p romoted [ 1 ]    2 '/ / J. 9
 4 5/ 16 52/23 63/18 83/ 9 81 ; 1      practice [30)         40/4 40/5 48/4          p roven [1]      93/14
 12 0/22                                5 1/3 5 1/ 19 52/5 52/7 52/9                 p rovide [ 15 ]    13/18 )0/11
                                        52/20 5 3/ 20 53/21 83/23                      2 1/19 51/11 66/J 66 / ~ 66/10
periods [1 ]      14 2/10               1 0 2/ 24 103/3 103/9 103/12                   72/ 16 72/19 98/5 10//18
Perkins [ 1 ]    4/12                   ] 04/8 1 04/9 1 05/2 105/4 105/4               1 2 1/14 124/6 1 33/1 7 15 6/14
permission [1]        80/16             1 05/5 105/15 1 07/22 117/21                 provided [ 32] 11 /6 1 2/7 1 3/1 3
person [18 )      6/ 1 8/21 10/ 4       1 45/1 1 45/22 1 45/23 1 47/6                  13/19 14/6 14/12 15 / 14 1 5/]7
 1 2/22 34/ 6 35/11 41 /22 42/11        14 7/ 1 5                                      16/18 18/16 20/18 22/22 22/24
 52/8 63/6 73/9 89/11 104/14           practicing [l]          1 4 4/24                2 4 /10 25/16 61/21 62/1 1 66/3
 105/21 111/ 1 9 126/24 1 2 7/9        pray [l]     52/1                               70 /4 73/1~ 75/6 93/9 95/2
 1 65/1 1                              prayer [2)      51/1 8 77/2                     98/8 121/10 121/22 123/14
person's [ 1 ]     91/ 1 8             prayers [l]       5 1/24                        131/1 0 136/1 2 1 42 /3 152/2 2
personal [ 2]      40/12 52/19         prepare [3]       139/13 139 /20                16 0/15
personally [12]         27/6 30/1       139/2 4                                      providing [3]        1'l /3 4 0/9 67 /2
 32/9 35/11 59/20 115 /6 116/ 4                                                      Public [2 ]      2/3 165/5
                                       preparing [1]         1 39/23
 11 6/ 1 8 117/11 ]2 2/2 158/11        present (3]       2/9 27/10 50/1 1            pull [ 2]    2 5 /22 1 4 9/21
 16 0/1 4                        .                                                   pun itive [ 4 ]    150/14 151/ J
                                       presented [1]         137/ 20
personnel [ 6]       97/3 101;1·1      pretty [2 )     68 /5 107/18                    ] 51/2 4 152/2
 139/21 139/2 3 141/4 141/5            previously [4]          83/23 1 24/24         purpose [2]       86/13 166 /2
perspective [ l ]       47/11           14 3/;.>0 152/5                              pursuant [l ]      1 65/"/
pertain [l)       47/3                 priest [5 ]     3 1 / 11 48/ 11 48/ 12        put [11]     20/13 44/22 49/20
pertaining [ 5]       19/10 50/4        48/16 14 4/2 2                                 63/7 72/12 77/3 84/24 1 4 9/) 4
 1 01/1] 154/ 1 0 161/18               primary [3]       8/21 39/9 39/11               1 5 5/22 157/ 16 161/5
pertains [2 ]      1 9/ 13 20/ 1 5     prior [7]     17 /9 53/1 7 62/6               p u tting [1]     158/19
PHOENIX [ 16 ]     1/17 2/ 1 7 28/ 1 9  63/15 63/16 86/8 87/15
 108/ ] 4 1.11/ 1 0 112/7 113/9        prison [1 8]      24/7 25/ 5 2 5/8            Q
 11 5 / 1 117/1 11.7/6 120/5 122/6 31/1 7 31/19 31/23 33/7 33/13                     qualified [1 ]     165/6
 13 5/6 135/1 6 135/19 137/9            33/15 33/22 35/24 41 /11 46/22               que stion ( 32 ]   6/ll 6/23 J 8/8
phone [3 ]    97/8 97/8 97/ 10          47/6 158/1 4 161/5 161/1 4                    ]8/8 18/14 18/19 20 / 11 21/6
phonetic [2]       ]54/ 6 154/ 1 6      161/16                                        21/ 1 0 21 /1 4 21/16 22/ 19 72/ 19
phrase [l]      59/18                  prisoners [S]         11/1 0 14/19             46/16 46/17 4"1 /2 47 / 4 50/16
physical [7]       61/8 61/10 61/12 34/6 38/1.6 93/8                                  59/10 59/]6 65/10 80/6 86/2]
 61/16 61/20 64/8 80/23                prisons [l]       1 61/18                      86/22 90/6 94 /1 133/5 150/4
pick [SJ     50/23 54/ 19 59/5         Pro [l]     2/12                               159/2) 160/10 ]61/2 ] 62/1 3
 63/17 12'//] 9                        probably [7]        25/24 55/10               questionnaires [ l]      50/12
picked [2]      97/8 97/9               6 4/13 72/9 1 40/ 13 143/1.7                 que stions [20 ]    5/7 6/?.0 -i/2
picking [l]       59/ 7                 1 58/16                                       '7/6 7/24 21./3 50/12 50/18
picture (1 )      32/24                problem [34]        28/7 40/6 40/8             50/21 50/22 75/5 81/23 82/ 1
pinpointed [ 1 ]      1 09/ 1 8          40/23 43/1 4 73/ 1 2 73/1 3 74/24            100/5 100/8 100/]1 100/15
pinpointing [ 1]        11 l/ 4         75/9 76/11 96/14 100/2 1 01/14                100/22 101 /3 155/7
pizza [7]     16/9 16/19 1 6/20         101 /19 103/8 10 4 /3 1 04/5                 quick [l ]     159/15
 17/ 1 24/21 59/15 126/16                104/11 104/13 1 08/2 108/2                  quite [4 ]     26/13 77/9 140/13
place ( 8]    4/7 11/17 49/23           ]09 /6 110/5 11 0/24 111/5                    154/17
 72/14 ]31/2 146/22 158/17               111/7 11 1/8 11 1/ 1 0 111/20
 159/1                                  111/2 1 11. 2/16 1 27/1 4 1 49/11             R
placed [ 4]     5/ 8 72/8 83/20                                                       Ramadan [4]        15/21 8'1/9 87/1 0
                                         157/17
 8 4 /8                                problems [2]         7 2 /23 102/6               87/10
plain [ 2]    130/6 130/18             procedure (13]           8/1. 4 1 2/3          rat her [4]       67/7 75/12 75/12
Plaintiff [l ]       1/4                18/19 79/10 90/8 110/22                         75/13
Plaintiff's [l]         71/7            112/11 127/10 1 2 9/16 130/22                 re [ 1]    2l / 9
plan [l ]    50/ 1 4                     131/ 2 131/16 1 42/24                        r e - form (l]     21/9
played [ 1]     64/17
t(.                                         O~/ L ~   J~I~~   i~~/ L ~   i~L/ L          IV/ L


reach [2f 1   ~o~~A ~9?;2'4:18-cv-04063-SEM-TSH
                   4
                           4E:MTSH l ~ AJ241-1 Page#59
                                                     133-2
                                                       of 66                      Pageretu
                                                                                       12 rofn 23
                                                                                     11.5/8
                                                                                                [4J      17. /1 8 9000 114/;:>0
reached [1]   3 4/9                       religious [61J          9/ 1 9 19/ 5
                                                                                   retu rned (6 )            25/1 1 26/2 1
read [SJ   20/8 22/ 1 7 ~l /8              21/17 26/5 29/8 29/22 30/10
                                                                                     1 1 3/17 1)4/21 1 4 8/ 6 1 4 8 /1 0
  8 )/ 1 7 92/17 116/4 116/9               33/11 33/18 35 /9 39/13 40/)0
 141 /16                                    4 3/9 47/1 1 61/2 61 /12 69/15         Review [S J 28/21 29/ 2 108/24
                                                                                     109/?. 0 1 11 / 18
readin' [lJ       1 50/2                    69/15 69/21 70 /3 7 0 / 5 80/3
reading ( 4 ]     51/ 6 84/2 8 4 /3         8 2 /J8 83/2 83/ 16 86 /2 4 90/ 1 1    revisit        [ l J "1/9
  1 5 8/ 10                                 90/1 5 90/16 91/6 91/15 92/11 rice [ 2]                   125/10 J 25/ 15
                                                                                    rid [2J         69/18 1 58/8
ready [3 ]     68/7 154/9 16 2; 6           92/18 93/4 95/6 9 5 /12 98/23
                                                                                    right [76J 5/3 6/20 1 016
real [l J 1 59/15                           1 01/7 101 /21 1 02/2 4 1 03/3
                                                                                     1 2/1 1 12/ L3 2 4/ 1 9 33/8 35/16
realize (2J       14 9/5 1 49/7             103/9 10 3/12 1 04/7 10 4 /9
                                                                                     40/3 41/ 4 41/1 1 41/22 43/?.l
realized [lJ        150 /7                  105 /1 105/5 1 0 5 /1 5 1 07/2 1
                                                                                      45/19 46 /9 46/)1 48/ 2 51/2
really [ 3]     103/1 6 125/16              115/4 11 7 /20 120/3 122/3
  155 /12                                   130/15 1 42/7 142/1 0 1 43/2 2           53/9 53/24 58/ 6 67/7 67/20
                                                                                     7]/ 2 71/11 72/1 7 7 4 1·1 7 6/12
really is [l] 103/16                        1 44/9 15 0/4 150/8 1 63/24
                                                                                     76/20 7 7 /20 7 8/18 79/23 80/5
reason [ 19J      2 4 /5 32/2 3 4114      relinquish [lJ           1 43/4            84/1 7 8 S/l 2 8 6/24 92/4 97/9
  36/J 6 40/19 55/1 8 60/18 69/1 relinquished [lOJ 26/15 88/ 23
                                                                                      97/ 24 99/20 101/24 11 2/12
  72/16 72/19 73/18 73/24 74 / 2            89/3 89/9 89 /1 1 89/17 89/18
                                                                                      113/11 121/?. 4 123/4 1 23 / 6
  77 / 4 84/23 8 6/ 4 110 / 1 132/]         91/2 91/4 12 7 /7                         1 2 3/?.] 126/2 12 7/21 729/11
  1 52/ 4                                 remember [7J         7 /7 70/ 10 84 /22
                                                                                      133/LS 134/13 134 / 1 4 135/2
reasons [3J       19/5 7 4 /6 7 4 ; 10      106/9 106/10 1 07 /13 143/19
                                                                                      135/ 2 0 137/12 137/ L) 1 39/1 1
recall [6]       83/17 83/19 9911         removal [l]        71/10                    140/ 12 1 41/12 1 42/22 144/23
  1 06/1 14 3/20 14 3/ ?.4                remove [lJ       42 / 6                     1 45/22 1 47/5 149/ 11 1 51/1
receipt [3J       114/12 11 4/20          removed [2J        67 / 2 1 1 48/8
  115/8                                   rephrase [3J         20/17 ?.1 /14          1 52/20 153/ 1 7 15 4 /8 1 56/20
                                            39/10                                     1 57/19 158/9 1 58/23 JSB/2 4
receive [ 9 J 17 / 12 5 / /'?, 2 7 0 / 4 rephrased [1]           1 0 0/23             159/1 0 164/3
   94/24 1 42/8 1 42 /9 150/5 15 0/7 replaced [lJ 1 4 /18                           right-hand [ lJ               J?./13
  163/1 2                                 reporter [SJ         3/6 5/23 6/14        rights [ 4J           145 / 2 3 1 4 9/5 150 /5
received [13]         57/23 95/5            1 66/1 1 66/J 7                           )50 /8
  113/18 113/24 1 14/ 15 114/ 21          REPORTING [ l J 1/22                      ritual s [2]           48/13 48 /.1 5
  1 1 5 /6 115/1 0 115/11 1 1 5/22        represent [3J          30/19 47/ 1 6      r oad [ 3 J 2 / 6 2 /] L 'I/ 8
  116 /?. 116/ 22 13 ) /6                   154/1 3                                 ROBERT [ l0J           1 /12 2/20 3 1 /13
receiving [7]         40 /1 92/11         representation [3J             1 00/) 5     3 4 /10 3S/17 35/ 1 8 36/8 44/22
   ]31/19 1 32/] 7 133/7 144/8               10 0 /21 101/3                           44/23 1 4 4/7
   152/6                                  request [26J         4/17 1 0/18 10/18 rock [1 ]             l 46/21
reception [ 1]        11 4 /2 3              1 2/6 13/23 14/5 1 4/14 14 / 2 2       RODRIGUEZ [ 4 4J              1/ 1 2 2/20 31/1
recognized [lJ          16 / 1 4             17!21 20/18 2 0 /22 20/22 22/6           31/1   3  32/    7  32/13      33/3 33/3
 record [7 J 5/8 5/1 4 6/18                  26/1 0 30/1 3 8 0/2 88/1 7 99/ 9         33/19 34/8 34/10 34 / ll 34/23
   81/1 1 88/6 123/2 4 165/24                101 /7 1 2 9/2 3 13 0/ 1 1 30 /2         35/1 35/3 35/1 5 35/1 "/ 35/19
 records [ 1 ]     6 4 /2 0                  1 30 /1 4 144/4 163/4 1 63/12            3 6/ 9 36/13 36/ 17 37 / ~ 37/8
 rectify [ 4 ]     104/5 l l l/8           requested [9J         1 4 /16 14/24        31/8 37/1 2 37/ 1 6 37 / ?.2 38/8
   ] 11/19 ]11/20                            18/22 21/18 22/3 56/8 56 /17             39 /2 39/12 40/9 40/ 1 4 41/ 1 6
 redeemed [ 1 ]      3 8 /1 7                139/5 1 42 /2                           .42/23 43/10 44/ 2 2 44/23 4 5/3
 reduced [ l J 165/21                      requesting [4J           11/21 18/22       45/ 1 0 48/12 123/ 1 7 144/7
 redundant (3]         20/3 20/ 4 21113 1 9/15 132/1 3                                ]55/1 1. 760/3
 Reece [ 3 J 14 8 / 2 l 1 6 3 /J 4         requests [3J         30 / 9 163/5 1 63/8 ROJAS [ 106J             I / 8 ?./ ! 6 9/ 1"/
   16 3/20                                 require [lJ        20/10                    10/3 11/1 2 12/ 11 12 /2 4 1 4 /4
 refer [2]      70/1·1 9?./22              requirement [lJ           19/21             15 / 1 22/8 24/2 25/8 26/20
 referring [l]         1 2 /15             requirements [2 J 17/ 2 17 /5              26/22 29/12 2 9/1 4 30/1 1 30/15
 reflection [lJ          24/6              reside [l J 1 48/2                          31/ 6 31/ 7 32/8 33/ 5 33/6
 reformed [ lJ       158/10                resides [l]        109/3                    33/16 37/3 37/6 37/17 3·1;23
 refuse [ 3 J 5 2 / 1 8 52/23 111/20 resolve [l]              28/6                     38/1 43/ 1 43/8 43 / 22 4 4 /3
 refused [3 ]      91/8 91/12 161 /2 4 respect [2]            40/ 13 40/15             44/ 4 44/10 44/ 12 65 / 24 66/12
 refuses [4]       141 / 7 141/10          responded [1]          1 5/6                67 /1 67/11 69/5 76/8 18/21
   14 1/22 1 42/6                          response [4J         8 2/4 1 34/22          81/3    8 1 /5 8 1 /8 8 4 / 8 88/2
 regarding [2 ]        34/13 l?.7/24         135/1 137 /16                             88/ 1 4 90/18 9 1 /8 95 / 15 95/ ] 5
 regardless [lJ          14 7/13           responsible [3]           8/ 22 9/1 9/18 95/2?. 97 / 6 98// 98/10 98/ 1 3
 regards [ 2 J 95/5 99/14                  rest [2J      52 / 1 7 55/21                99/7 1 00/4 100/4 100/6 1 00 / 10
 regular [ 2 ]     48/20 49/2              restrictions [lJ            53/ 4           ]00/1 0 1 00/18 1 00/19 101/1
 regularly [lJ         106/8               resubmitted [lJ            72/ 11           1 04/23 1 05/3 1 11/1 5 118/11
 regulations [l]           76/?l           result [7]       61/3 61/21 65/5            1 22/5 122/8 122/1 6 122/ 1 8
 related [ lJ      166/5                     65 /13 65/21 70/6 1 55 /1                 123/3 1 23/18 126/8 126/20
 relates [ 3J      66/12 66/20 8 8 /4 retaliated [2J                67/15 69/ 1 3      )26/2 4 1 21/2 1 27/4 127/5
 relative [lJ        166/8                 retaliating [1]            58/24            1,1112 129 / 18 130 /7 133/9
 relay [lJ 127/S                           retaliation [2J            67/1 6 88/15     133/16 136/10 137/22 139/8
 religion [10 ]        1 1 /]3 40/4 52/5 retire [lJ 13/7                               1 39/1 2 139/1 9 141 /10 1 42 /5
    52/7 80/]9 83/24 ]18 /17               retired [9]        13 /6 13/8 13/ J l       1 42/11 1 4 8/18 1 49 / 19 ] 52/ 18
    120/ 1 4 127/11 145/1                     1 3/12 1 4/ 4 15 /1 27/22 ?.7/22         1~3/20       ] 60/5 160/14 160/1 7
 religions [8]         26/ 1 2 66 /9 68/2
K
                              4:18-cv-04063-SEM-TSH
                                         /U/J.V 10/J..l_
                                                         # 133-2
                                                            O ..J / 0
                                                               10/J..)
                                                                                Page ::Jt:::UU
                                                                              01/0
                                                                                       13     of l 23J
                                                                                                ~ .L     J V / .l I   J.. J / ...... ..;   j_   .LI ..:. "1

ROJAS .. _4   :c~~ 6 ~~9i 3L?19M TSH 8#:iQ»~ 13 Page G6'°b6g)cJ;4                       12/6 14/S         15/11 28/5 43/2?
                                                                                        44/4 66/2 86/18 97/13 97/23
  163/)3                                      99/9 100/20 100/24 107/6
                                              108/19 11 5/18 1]6/ 1 3 117/23            1 ?.6/?.2 1 30/3 130/4 130/5
Rojas ' s [3]         13 / 1 87 /6 l ?.3/J 4
                                              118 / 18 120/ 1 5 120/ 15 120/15          15 2/ 19 163/16 163/J I 1 63/?.4
role [ 5 ]       9/21 13/: )6/7 27/17
                                              121/11 121/16 122/1 3 122/13             sending [S J 11/21 12/23 59/2
  42/5
                                              122/1 4 123/23 :25/10 127/19              86/14 133/9
Roman [2]          47/23 ~8/1
                                              ]29/10 129/ 23 130/7 131/18              sends [4]          12/ 19 121/4 127/6
room [6]         5l/ L3 51/lS     75/ 4
                                              138/21 140/15 1 40/18 140/20              1 53/?.0
  87/5 87/6 8'/ /10
                                              143/4 14S/ 1 2 145/13 145/15             sens e [ 4 J 6 / 6 ·1 / 11 2 9 / 6 5 9 / 2 l
Royster [ 1]          ?./ 18
                                              145/19 146/12 )48/9 150/20               sens e l ess [ l]        159/8
RPR [2]         2/?. 165/5
                                              151/5 151/8 152/1 153/11                 sent [ 19]         10/19 15/ ✓. 44/3
rule [4 ]        79/17 80/7 110/19
                                              155/23 1S7 /9 160/11 161/4                44/ 10 70/?i 1 1/ 9 81/4 88/22
  145/6
                                              161 /4 162/7 162/9                        91/9 11 1/3 1 12/ 1 5 1 L3/15
 rules [SJ         6/1 76/21 '/ 8 / l 0
                                             sayin' [12J          40/20 46/14 59/ 3     116/8 124 /1 4 137/22 ]45/1:i
  80/2] 86/17
                                              S9/6 60/1 102/22 125/13                   158/ll l!:i9/23 }63/8
run [l)         85/14
                                              125/ 1 5 132/ 3 14 9/10 152/l7           separated [ 3]           63/4 63/S 63/9
running [l)           33/17
                                              161/?.3                                  September [ 2]           4/18 4 / 19
 s                                           saying    [ 59J      6/1  3 16 /2 20/10   September         18   [l]   4/ 18
-sa
  ~ hrn
    - -a- d_[_l_J_?._/_2_0_ _ __ _ _ _        21/)3 21/2 3 ?.2/16 23 /1 24/7           series [ l )         5/6
 said [97)         5/?.4 6/22 8/ 4 10 ; 2     2 4/11 ?.4/13 26 /18 36/6 38/18 seriou sly [ 2 J 51/19 57/20
   IS/6 21 /2 0 2 4/ 15 2 4 /19 29/11         38/21 39/11 39 /?.2 42/7 43/14 serve [ 2] :i6/1 153/?
  32/18 3 6/16 37/7 38/2 4 4 /4               4 4 /15 47/10 50/15 S5/16 56/23 s erved [4J                   ?.3/2 23/ 4 S4/16
  44 /7 44 /9 44/19 4S /7 46/?.               58/3 58/14 58/18 61 /8 6]/17              6?./9
  47/2 41/21 S0/2 53/7 56/3                   64/22 66/12 69/13 70/6 75/20 s ervic e [56J                      40/lS ~l/15 42/ 1
  57/13 60/11 68/16 68/2 3 71 /21 77 /18 80/4 82 /24 83/14 87/21                        4?/12 42/1:> 48/6 48/ I 48/21
  7?./22 73/ 21 19/1 2 80/22 84/14 89 /12 89/18 91/ 1 103/7 110/?. 0 49/3 49/ 14 49/1 8 5116 51/16
  8 4/15 84/16 8 4/18 8S/J 86/17              1 11/17 1 12/ 1 6 125/21 125/2 4          60/22 61/ ?. 61/13 61/17 6 8/1
  87/18 88/5 93/24 95/11 95/24                127/13 131/6 1 31/9 1 32/4                68/22 68/24 70/7 10/8 10/ 24
  96/4 96/5 96/11 96/13 98/3                  132/6 133/6 134/4 138/9                   71/12      71/14 12/22 71/3 73/9
  99/11 1 01 /1 101 /1 102/1 6                146/22 161/1 162/2: 163/5                 73/12 7 4 /20 74/20 14/22 74/?3
  103/?.2 10 6/1 5 1 09/1 2 1 09/23          says [9J        2 7 /13 80/9 96/7          75/1 75/ 3 1~/8 l:i/15 76/6
  111/10 1 1 2/3 11 4/12 117/ 2               109/16 1 15/15 1 16 /1 129/11             76/9 76/13 18/2 79/12 79/ 1 3
  117/24 118/?.0 119/16 123/12                133/16 141/ 18                            80/]?. 80/13 80/20 81/19 82/3
  1 25/8 1rl/6 13)/21 132/J                  scene [lJ         66/1"1                   83/2     83/3 83/6 83/13 87/4
  13 2/4 1 3?./6 132/8 13 ✓./lO              school [5]          ~8 /9 106/24 107/1     111/3 11,/8 139/24
  133/9 1 39/1 2 143/19 143/23                1 0 7/2 lS S/20                          services [17 ]           40/1 0 48/8
  1 44 /18 1 45/5 1 4 5/6 145/ 18            Se [l)      ?./ 12                         48/1   7   48  / 19  4 9/7  5?./2 60/1 2
  148/22 149/17 15?./5 153/19                seal [lJ        1 66 / 12                  60/16 61/18 82/1 4 82/18 82/20
  1 53/23 157 /20 158/5 158/6                searching [l)           79/1               83/8 83/16 85/2 85/3 87/4
  1 59/S 159/21 160/l l60/l 3                seats [2)         76 /10 7 6/11           serving ( 4)          55/8 5S/;>3 62/6
  160/17 161/ 16 161/ 22 166/3               second [3J          2/14 4 8/?.3 l?.9 /22  63/ 1 0
said he's [ 1 ]           lOl/ l             Section [l]          150 /?.l             set [3J         136/4 )51/)8 )66/11
SAITH [1) 164/7                              security [SJ           42/5 73/24 74/2 settle [lJ 151/22
sake [lJ         17/4                         7 4 /6 74/10                             seven [ l]         113/4
same [17]          i/5 15/ 22 15/23          see [51)        5 /23 11 /2 4 15 /20      shake     [ l J    6/11
  21/12 21/?.0 ?.8/13 40/2 1                  22/16 28/ 6 32/ 19 32/22 34/14 shape [ 1 ]                  159/1
  107/18 120/4 120/6 120/9                    36/6 4 1/19 42 /1 4 55/3 55/11           she    [56J       6/ 18 6/23 2 4 / 4 26/JO
  122/24 123/l 14?./4 112/ll                  56/23 64/9 68/16 1 4 /19 78/15            ?.6/15 26/lS 28/20 29/4 88/21
  152/4 154 /10                               85/5 85/11 86/19 92/2 2 94/23             88/23 89/1 90/8 90/10 90/23
sandwich [ 3J          11 1 /22 113/6         97 /17 98/16 108/18 111/1 ·1              91/2 91/3 91/3 91,S 91/ 7 91/7
  159/9                                       1 1 9/14 123/23 12 4/5 124/18             91/12 92 /14 92/ 1 6 9~/ 1 9 9?/24
sat [ l]        160/23                        125/)5 127/11 131/1 4 143/3               93/1 93/7 93/1 4 93/L5 93/20
Saturday [3 J 52/12 52/16                     143/5 149/21 15?./11 152/15               94/1 94/4 94/9 94/10 94/11
  52/18                                       152/17 154 /7 155/24 158/ 7               9 4 /15 108/16 109/1 109/19
                                              158 /1 7 159/ 4 16 ] /1 1 61/23           110/S 110/1 110/1 110/2 4
Saturdays [lJ            52/?.1                                                         112/6 112 /8 112/9 I 12/ 9
                                              161/?.3 162 / 7 162/11 163/22
sausage ( 3]          24/23 55/15 62/18
                                             seei ng [9J         39/19 91/21 91/23      112/12 112/l:i 113/2 113/3
saw [lJ         13'1/8
                                              92/1 92/3 109/11 1 12/20 115/2 122/6 127/6 127/1 143/3 143/4
say [116]          6/9 6/15 6/15 6/16                                                  she ' s [3J        26/9 91 /1 14 8 /21
                                              133/11
  6/16 6/17 6/18 8/23 10/lS
                                             seeking [3J          150/11 15 0/16       sheet [4 J 79/?.0 J 30/6 130/1 9
  13/1 1 4 /1 ]5/20 16/18 2 4 /9
                                              l 50/2 4                                  130/19
  2 4 /13 24/14 24/15 28/12 30/17
                                             seemed [lJ         157/3                  shenanigans [ 1 )           121/?.l
  3?./11 32/14 33/2 34/14 36/23
                                             seems [2)         157/4 159/1 4           shorthand [2 J 165/21 166/16
  38/? 38/22 39/23 39/24 40/12
                                             seen [5]       11/16 65/8 7 0 /2 1        should [24 ]          12/3 12/12 41 /1
  4 ✓./19 4 S/16 46/ 1 3 49/ 19 50/10
                                              105/11 162/7                              45/ 17 4'//6 S7/23 79/24 98/8
  52/6 52/7 52/11 52/lS 54/ 4
                                             seg [lJ 84/6                               98/10 103// 10 4 /2 111/23
  55/10 5 7/?.0 58/13 58/16 59/9
                                             segregation [ 3 J 60/21 60/23              114/11 124/3 1?.4/18 236/3
  59/22 60/6 60/15 60/17 62/12                                                          142/?.2 152/]1 152/14 152/16
                                              84/4
  63/ 1 4 63/ ] 4 64/11 64/17 64/ 23
                                             SEM [l]      1 /5                          156/3 156 / 4 159/3 1~9/12
  67/22 68/ 1 4 68/11 72/1 73/23
::S                                         OV/ .LO   OV/ LI   O'i/   L..)   J.. J....)/ .L.;J   .::Ii l.,.Cl,UU   L-'- J   J ✓
                                                                                                                              - L/   ,


shouldn 'f '~lcv           4:18-cv-04063-SEM-TSH
                    4~96 f6~~M                        # 133-2
                                TS-l 11B4!212'6;11?age;6l a.fsep-2 Pagestanding
                                                                        14 of 23 [l ] 5 4 /10
      152/13                         15 3/11 154/24 ]58/14             standpoint   [1 )  1 61/i
                                                                               start [5]   5/12 1 0/ 20 35/2
show [5 ]      64/?.0 79/ll 12919          somebody [3]   46/ 22 7 4 /1'/ 85/8
                                                                                36/12 15 H/20
 136/4 l39/5                               somebody's [l]     115/21
                                                                               started [2]    73/13 '/5/5
showed [5]        102/15 ll2/20            someone (11]   1 4 /18 16/2 31/12
                                                                               starting [lJ     158/18
 1 14/9 114/9 130/l l                       32/21 4 0/2 90/2 91/3 116/20
                                                                               starts [l)    1 40/23
showing [4]        13/10 94/JO              11 6/20 143/5 159/ 1 2
 1 37 / 1 1 1 42/ 22                       someone's [2 )   115/24 115/24      state ( 23)   2/7 5 /13 38/14
                                                                                39/ 16 41/5 41/6 43/17 45/11
shows [1]       78/4                       somethin' [2]    49/13 119/3
                                                                                45/12 45/ 1 4 45/14 45/20 46/ 1
shrines [1 ]       87 /3                   something [30)     34/16 39/11
                                                                                         46/ 4 46/"I 41/ ] 7 53/ 1 1 44/ 11
shut [1]       135/4                        41/20 42/6 46/20 47/3 47/5
                                                                                         156/ 13 1 63/1 4 164/15 165/6
sic [7]       53/ 11 81/13 93/l             4 7 /6 51 /18 55/16 62/10 62/20
 106/]9 130/20 130/20 152/14                64/14 66/24 67/9 74 /4 77/7                  165 /11
                                                                                       stated [ 37)         26/15 43/20 43/21
side [3]       33/18 33/27 33/23            84/7 lJ0/22 113/16 Jl9/12
                                                                                         63/]9 7 4 /1 74/7 75/4 89/2
sign [21]       12/]8 12/20 1 6/8           125/9 126/6 132/5 132/6
                                                                                         91 /2 91/3 92/1?. 96/16 97/2
 24/4 25/13 5 4/15 79/13 79/16              13 7/19 137/20 137/2 4 149/14
                                            15 5 19                                      100/3 1 00/4 10 0/6 100/10
 79/20 87/10 90/19 9 1/8 91/12                   1          13/8                         100/13 100/ 1 3 100/17 100/19
  92/14 102/8 109/4 112/6                  sometime [1]
                                                                                         1 07/20 109/7 11 3/14 114 /23
                                                             6/10 53/13
  11 6/18 1 27/4 127/15 12 71 21           sometimes (2]                                 116/ 19 123/24 139/10 142/11
sign-up [1]           79/20                somewhere [4]
                                                             71/2 107/15
                                                                                         1 44/7 14 7/2 147/14 15?./21
signature (24]            109/3 109/5         1 33/18 140/13                             1 60/3 160/ 12 16 0 /21 160/23
  109/7 109/8 1 09 /10 1 09/lS              soon [1]        85/16                      states [14)           1 / l 4/] 4 17 /23
  109/:;>4 110 / 6 u 0/21 1 11; 6           sorry [7]         59/ 16 5 9/1 7 65/ 1 0
                                                                                         57/24 74/5 7 9 / 20 80/1 l 90/17
  112/4 112/1 7 112/19 1 12/21                88/) 106/14 129/2 1 135/ 23
                                                                                         90/2 1 96 /2 115/13 140/6 145/8
  1 12/23 11 2/24 1 13/3 115 ; 20           sort [2]        49/8 15 4 /24
                                                                                         162/14
  115 / 21 115 / 2 3 11 6 /1 o 1 l 6; 21    soup [ 2 J 12 6 / 1l 12 6 / 11
                                                                                       stating [9 ]          14/9 15/12 54/15
  127/1 2 164/8                             South [lJ         2/1 4
                                                                                         69/1 0 89/ 16 102/8 110/8 127/5
signed [28]           12/1 23/2l 241 1      space [2]         75/10 109/3
                                                                                         161/3
  25/ 17 74/17 92/19 92/2 4 g3; 14 spaghetti [2] 26/1 55/15
                                                                                       stayed [2]         ·1 56/19 ]57/5
  94/l 105/11 109/11 109/13                 speak (22 ]         10/8 29/24 32/13
                                                                                       Staying [ 2]          156/18 156/20
  110/2 1 10/7 112/1 1 1 2/3 112/6 32/1 5 32/18 5 0 /21 50/2 4 6'J/7
                                                                                       Staying silent [l]                156/ 1 8
  112/17 114/16 ) 16/5 1 16/6                 98/20 99/19 99/20 101/16
                                                                                       stead [ 1 ]     l 4 / 18
  116/21 117/18 135/14 135/15                 101 / 24 103/11 103/ 13 104/'J
  135/16 135/20 ]36/]                         12 0 /6 120/9 12 4 / 4 14 4/23           stenotype [1)             ·165/22
                                                                                       step [2)      42/ 4 98/18
signing [l]           127/12                  157/11 157/17                            STEPHANIE [16]              1/9 2/16 26/7
signs [2]          26/1 0 1 27/5            speaker [2]          S0/7 81/20
                                                                                         26/23 88/20 90/ 7 90/]4 91/ 1 4
silence [ l ]         69/1 9                speaking [7]          39/8 67/16 6"1/18
                                                                                         92/8 93/6 93/11 108/1 1 09/17
silent [4 ]         156/18 156/l 9            67/ 18 73/13 1 22/18 146/7
                                                                                         112/1 112/18 15 0/12
  156/20 157/5                              speaks (5)          93/18 11 9/20
                                                                                       stepping (1)            156/13
simple [2 ]         105/13 1 42 /2 4          119/24 120/ 4 1 20 /10
                                                                                       STEVE [ 7]      l /16 2/16 28/2
since [32 )         9/4 10;2 4 11 ; 2       special [7]          87/1 6 8 7 /22 98/5
                                                                                         28/13 28/14 99/16 119/9
  13/5 1 3/5 15/1 22/4 23/ 6                  1 21/22 123/13 1 48 /23 152/9
                                                                                       Steven [lJ          ?.8/18
  36/19 37/7 37/11 44/24 49/lO specific [4] 19/9 75/16 99/1
                                                                                       stew [1]      56/:i
  55/17 58/8 65/8 70/ 1 70/3                  102 / 1 9
  86/]5 87/23 89/?.l 1 06 / 20              specifically [20)             8/16 56/20 Steward [1) 154/15
                                                                                       stick [3]       79/7 79/8 79/9
  )24/2 4 125/5 1 25/2 1 126/1                57/11 62/1 64/2 64/15 65/23
                                                                                       sticking [1)            1 1 8/24
  126/14 1 4 8/6 148/ J O 1 48/24             79/ 22 88/1 88/19 91/6 95/8
  149/1 158/15                                 103/20 104/7 11 4 /7 115/18             still [9]       1 1 /6 23/23 31/J5
sins [l]          38/1 7                       1 17/ 1 6 139/6 143/19 149/4               45/5 107/4 134/9 1 34/: 3
sir [l)         5/20                         spell [3]        1 06/18 1 09/14             1 51/2 1 15?/12
                                                                                        stomach [ l]          62/5
sit [3)         88/12 1 2 4 ;3 15913           109/1 7                                  stood [l )      43 /10
sitting [2]           76/13 1 4 4 ; 21       spelling [1]         5/14
                                                                                        stop [ 6 J 9 0 I 9 1 o5 /3 13 4 I 1 4
six (8 ]        '72/1 82/16 82/24 3 3 ; 8 spoke [16) 23/6 67/24 73/21
                                                                                          13 4 /15 157/7 157/16
   83/14 83/21 84/5 85/ 1                      81/10 82/8 95/9 96/20 98/22
                                                                                        stopped [ 5]          1 3/10 36/10 9 4 /1?
 skip [l)         153/7                        100/3 100/9 102/1 102/3
 slap [1)         39/27.                       11 9/20 12 2/16 160/ 17 160/23             97/16 159/12
                                                                                        straighten [2)             10 4 /2 1 10/16
 slash [1)         48/24                     spoken [7]         9/3 74/ 12 91/14
 slip [l)         163/13                       116/23 11 7 /1 1 17/9 160/14             strange [l)           43/20
                                                                                        Street [lJ         2/1 4
 slips [5]         72/23 73/15 3 8 ; 17      Springfield [ 12)           2/ 14 28/22
   88/17 126/27.                               108/23 11 4/18 114/ 21 11 6/ 1 5         strictly    [1  ]       33/18
                                                                                        stuff (91       33/7 56/4 59/5
 smart [l]         38/1 o                      116/1. 9 11 7 /2 136/?. 138/13
                                                                                          85/24 125/] 1 )25/ 1 1 1 25/ 1 6
 so [266]                                      138/ 15 147/1]
                                                                                          1.25/17 1;:,3/1
 society [1]           78/16                 squared [1]         85/24
 socked [1]          57/1 8                  St [11]      106/13 106/15 106/16 submit [l]                   163/5
 solve [ 1]        2 8 /] 6                    10 7 / 3 10 7 / 4 10 7 / 11 1. 0 N 12
                                                                                        submitted [ 4]            129/?. 3 I 4 6/ 6
                                                                                          15 4/ 19 ]63/ 4
 some [29)         5/21 8 /1 9 l 7/ ll         1 4 6/13 146/ 1 8 1 46/19 1 47/8
                                                                                        submi tted a [1]            163/4
   31 / 5 4 1 / 1 9 4 2 /] 4 8 /1 9 4 9 ; 8  stamp [ 3 J 1 15 / 1 5 11 6 /1 1 2 7 / 13
                                                                                        submitting [l)             88/16
   53/3 56/4 62/ 1 2 65/8 67/5               stamped [3]         115/9 1 1 5/10
                                                                                        success [l)           158/1 4
   71/ 18 71/21 7 3/5 77/9 78/22               116/21
!:)                                             .1. •1:,/ .Lt-   1. ..J.J/ .1 0   .l...J::J /   0

 such rs 14   :%~R~ ~9~? ?5M 4:18-cv-04063-SEM-TSH
                                 8     TSH:a~w2 !(-sg                # 133-2 6~/2
                                                                 ~e:B-21af          Page  4 15    of 23 [l ] 39/21
                                                                                              theirs
                                                                                              t he  m [ 55]       9/3 9/5 1 0/12 L0/13
   73/8 141/8 142/1 3 14 4 / 1 8           tax [lJ          40/18
    1 44/ 19                               teaching [4 ]             57/10 58/4 77/19 1 1/8 ]J/13 1 1 / 1 4 1 1 /15 11/22
                                             78                                                  11/ 23 11/24 3 1 /4 3//14 4 2/3
 sue [ 2 ]    9/9 44 /14                         13
 sued [3 )      9/10 9/13 9/14             teachings [4] 77/6 77/8 7 7 /21 42/21 43/18 44 /9 4 4 /10 68/1]
                                             78 9                                                72/24 80/15 82/5 91/10 91/10
 suffer [ 3]       61/2 63/23 80/23              /
 suffered [6]         61/7 6 1 /20 62 ; 2 tell [26] 8/16 1 0/10 2 6 /2                           9 1/11 91/11 93/9 99/2 1 104 /1 3
   65/13 65/20 15 4 /24                      26/1 27/9 27/14 37/16 53/2 4                        1 0 4 /14 115/1 1 22/9 12 4/12
 suggest [3]        42/19 42/7.0 44 ; 11 64/8 64/23 65/ 6 68/11 68/17                           124/13 129/ l 13 0 /3 13 0/4
 suggested [1 ] 4 2/24                       72 /13 84/8 89/5 97/20 97/21                       130/6 131/23 132/8 132/15
 suggestion [l ] 4 2; ✓.:1                   97 /22 98/1 1 02/ 1 8 104/1?.                      133/?. 133/8 l 33/ 1 9 134/5
 suing [ 2 ] 8/17 1 12/l0                    10 4 /18 132/8 1 40/18 1 44 /13                    138/20 1 4 3/l 143/ 2 151/15
 suit [4 ] 8/8 8/10 380 1 ;:i 5 ; 5 telling [5]                   68/9 78/13 81/24              15 4/13 1~5/18 15 7/6 ]57/8
 Sunday [ 3]      49/?.4 '/8/11 140/ 2 4 97/2 4 1 57/13                                         160/10 163/20
 Sundays [ 4 ]      5 2/13 52/1"1 52118 tells [3]             70/18 7 4 /4 80 /1              themselves [2 ]            77 /5 124/7
   52/22                                   terms (2]          2 9 /7 41/1 1                   then [ 2 8 ] 12/19 J 2/19 13/10
                                           testified [l] 4/4                                    15/6 21/14 26/22 27 / l 3 1/4
 supervis e [6J 4 ] /10 41 /12
   41/13 4 1/1 4 42/15 42/17               testify [l]            1 65/ 1 6                     33/8 35/6 4 8/21 54/]4 54/15
 supervises [1]         4?./9              testimony [2]              25/ 2 165/24              55/ 1 4 62/ 1 6 73/ 17 73/21 8 4 121
 supervisor [l J 2'//2                     Texas [l]          77 /2                             86/13 90/20 105/1 Ll0/1
                                           than [29 ]         9/12 20/ 18 3 6/18                114/i5 12 3/4 129/10 134/16
 supplement al [l] 13 6/8
                                             42/8 42/10 51/5 60/4 63/22                         14 1/3 141/4
 supply [2] 14 1/10 1 4 J/22
                                             65/ 19 66/14 74/16 75/13 81/3 ther e [132]                              I /5 7 / I 9 1 0/8
 suppor t [lJ       64/ 18
 supposed [ 37 ] 17/7 17/8 1 7/23            86/1      88/8   93/19       103/22    1 16/  1    1 1/17     l l /20   12 /1 1 %/ 11 13/2 4
   18/6 23/2 2 39/1 39/]4 39/18              1 17 / 4 1 18/ 11 1 19/1 2 119/16                  1 4/ 24 1 6/4 16/2 2 1 6 / 27 17/23
   40/22 41/ 1 8 42/8 56/1 9 57/1            120 /10 12 1 /1 122 /18 154/21                     21/16 25/23 30/1 7 3 4 /22 35/6
   57/7 58/1 66/2 77/24 86/18                1 58/5     158/5     158/6                         40/8 47/15 4 9/l 49 /l 49/18
   95/1 95/20 109/2 133/12                 that [755]                                           50/19 50/20 50/24 5 2 /4 54/18
   133/20 139/13 1 39/19 1 42/23           that he [l ] 11 6/11                                 55/19 56/5 57/?.4 57/24 58/1
   144/1 4 145/2 146/1 146 /17             that's       [156  ]     5/2    5/16   1/2 7 /3      59/4     61/6 65 / 1 65 /20 66/ 11
   147/16 1 47/22 148/ 4 16 ]/5              8/18 12/11 1 2/1 6 1 2/16 ]5/ 20                   66/19 67/23 68/11 68 /1 3 68/19
   1 61/Jl 161/12 1 63/23                    18 /8 18/14 19/1 0 1 9 / 17 19/18                  70/ 1 4 71 /2 71/11 71/17 72/ 3
sure [25]        6/1 18/21 2 4 /2 4          20/ 1 5 20/20 21/12 22/7 22/16                     72/ 1 7 73/1 1 74/~ 14 / 7 74/13
                                             22/19 24/19 26/21 2 7/2 29/15                      75/3 75/4 75/9 76 /7 76/11
   26/13 37/ 2 J 38/4 38/6 54/17
   57/21 61 /9 62/15 62 /19 65/ 1 1          29/]5 34/10 34/1 6 35/22 39/18 7 8/5 7 9/5 79/2 4 85/6 86/ 1 3
   6//S 75/20 79/2 79/1 3 87/1 1             39/22 40/ 1 40/ l 40/23 41/2                       8 7/7 87/16 88/2 9?./ 4 94/7
   90/6 91/ 5 124/19 1 4 0/13                41  /1 4   41/18     4 1 /24   42/13     45/7      96/8 97/9 99/ 1 3 1 02/]2 102/21
   1 48/17 151 /2 156/12                     46/1 6 46/16 48/10 49/22 ~1/7                      104/13 105/ 1 0 106/20 10 7 /14
surpri sed [1 ] 84/12                        52/17 57/3 57/ 9 57/13 58/3                        1 01/15 708/6 108/20 1 1 1/11
sworn [3]        4/1 4/3 1 65/16             58/4     63/5    67/16       68/ 4  69/9           11 3/8 11 4/ 1 1 15/20 l 15/21
SYED [ 1 ]     2/18                         70 /17 7 1/11 72/8 73/7 73/10                       1 15/2 4 1 1 6/ 74 1 19/!6 120/24
                                            7 4 /19 75/4 77/7 77/ 1 1 78/ 9                     1 22/16 1 27/18 127/21 128/21
systems [l J 158/1 4
                                            78/15 78/ 1 9 79/7 80 /1 3 80/17                    1 29/] 129/11 17 9/22 131/8
T                                           81/ 2 83/18 8 5 /12 86/17 86/17                     133/8 1 33/18 1 33 / 1 9 1 33/19
TA [l ]      13/20                          86/19 86/20 86/20 86/21 89/7                        1 3 4 /10 13 4/11 13 4 /2! 13 4 /22
TA's [ 1]      72/23                        92/24 93/14 94/4 96/6 96/9                         135/2 135/ 1 0 135 /1 2 136/J
take [24]       6/18 20/8 31/9              96/ 1 4 98/2 9 8 /16 99/6 99/23                     136/1 1 13"1/7 138/21 14 0/11
  3 6 /23 37/2 37/5 39/1 4 41/17            10  0/  16   1 00/24      1 01/ 13   102/20         1 42/ 1 14 2/ 22 1 43/3 1 44/15
  41/2 1 42/ 4 54/23 70/8 7 0 /23           104/9 106/23 106 /2 4 108/12                       1 48/12 1 4 8/15 149/11 150/l
  87/3 97/4 1 0 1 / 1 5 106/8 1 24/11 . 1 09 / 2 4 110/12 1]0/15 1 1 3/6                       15 2/20 1 53/ 1 1 153/ 17 1 5 4 /16
  1 2 4/ 1 1 130/6 1 40/16 1 4 3/2          113/10       1 1 6/15     121/  11   122/4         1 54/20 1~8/1 1 59/24 1 60/3
  1 48/12 148/ 1 5                          1 22/4 1 22/8 122 /22 1 23/2                       160 /13 162/5 1 65/8
taken [1 1 ] 14/1 7 69/8 69/ 1 2
                                            12 4 /17 126/8 126/12 127/2                      t here ' s [ 4 3 ] 4 0 I 6 4 I /2 4 4 2 / 1
  70/7 73/16 73/19 7 4 /6 74/9              12 7 /3 127/13 128/ 11 1 28/23                     4 3/ 17 48/ 1 3 4 9/ ] ] 5 4 /9 58/18
  124/20 157/10 ]66/7                       1 29/15      130/5      130/10      131/20         58/20      5 9/3 64/20 67 / 5 7]/20
takes [2]       4/7 49/23                   134/9      135/1    4   135/2]     1 36/14         73/8      76/6    78/18 79/5 79/10
taking [7]        37/3 39/15 42/10          1 36/18 1 3 7 /9 138/11 139/16                     79;1·1 80/17 87/7 8712 1 8 7/23
  4 2/ 1 1 7]/]1 73/8 76/10                 14 0/6 140/14 141/3 1 4?./15                       99/8 110/21 1 1 ]/5 11! /6
                                            1 42/20 142/21 1 43 /10 144/9                      1  11/ ! 0 7 20/11 122/]9 126/16
talk [ 16] 27/5 31/4 33/2 34/8
  37/16 37/23 38/1 67/20 8 1 /5             1 45/15 145/21 1 4 5/21 145/23                     127/23 129/2 129/2 13 1 /2
                                            14 9/11 149/15 151 /6 15 1 /12                     1 44/18 15 2/?.1 1 52 /2 1 152 / 24
  81/18 11 7/ 16 117/ 1 9 118/6
  121/18 128/4 1 53/22                      151 /17 151/18 153 /l 153/2                        153/8 15 4 / 7 15 4 /12 154/11
talked [ 14 ]      37/7 37/12 37/1 4        154/20 155/4 155/17 157/3                        there ' s nothing [l] 122/19
                                            159/9 159/11 1 62 / 6                            t hereupon [ 1 ] 165/20
  53/3 81/8 1 02/23 119/ 22
  120/1 ?. L21/2 l 7 1 /6 143/21          That's it [1] 1 42 / 21                            these [19]            89/10 89/J). 89/ 17
  1 52/5 153/23 154/ ]                    their       [19]     15/1     3  50/11   5 4 / 6     89/18      91/2     91/ 4 97/1 0 98/12
                                            7 7 /2 86/24 90/16 93/9 94/22                      1 02/4     1 0?/  7  1 02/9 I 10/23
talking [ 16]       6/2 6 /2 36/12
  3 9 / 16 41/16 42/ 12 53/1 7 53/19 98/13 1 23/2 12 4 /11 124 / 1 4                           121/1 1 36/24 1 37/2 ]37/ 1 3
  70/]5 70/20 92/6 125/6 136/ 2 4 14 2/ 1 0 1 45/21 15 3/5 153/7                               151/2 151 /23 1 56/22
                                                                                                 L I I I O   /. <.> I ..J   ✓~ C /   l O   L. 0 I ✓- \)   L O / I . .I.
'1'                                    t-11-1.. LU   Lit;. J   ~ ";7 I J.   '-± ::;   I   ..J

they  [1411 97~ ~g
              18       6 P1 4:18-cv-04063-SEM-TSH
                            ?F~'L1i§H:h ~ ~ -s1J
                                                       # 133-2 Page 16
                                                 J?iaga.i639:JfJe6s/13    of 23
                                                                       30/20  30/2 2                                   31 /21 3 3/1 I 34/9
                                                                                                  35 / 6 35/]2 36/19 45 / 23 50/5
  11/14 14/7 1 5/11 1 5/1 9 15/23        8/20 9~ 2 1 1 0/16 10/20 13/9
                                                                                                   55 /24 59/10 59/16 63/3 67/5
  1 6/3 16/5 16/8 18/13 23/7             15/9 15/10 1 6/6 19/22 20/2
                                                                                                   71/]3 73/5 73/11 77/10 79/3
  23/8 25/6 2 5/18 31/5 32/14            12115 2 2/17 22/17 27/ 19 28/3
                                                                                                   79/10 90/2 4 99/3 101/16
  35/8 38/14 3 8/14 39/13 39/1 8         30/ 2 0 32/10 32/13 32/19 32 / 24
                                                                                                   12 4 /13 12 5/2 125/22 126/3
  39/23 40/18 40/24 41/]0 41/ 12 34/~4 36/3 36/ 4 36/4 3 6 /23
                                                                                                   128/17 140/16 146/5 146/20
  4] /13 4]/14 4 2/17 42/21 44/1         37/5 38/9 39/10 40/ 1 2 43/5
                                                                                                   150 /5 15 0/6 156/10 158/21
  49/21 50/6 51/16 S2/ 23 54/7           43/6 43/6 43/14 47/18 5 4 / 14
  55/3 55/8 55/12 55/19 56/J             55/12 55/17 55 /18 57/13 58/4                             1 60/l3 166/2
                                                                                                t imes [ 9]         21/10 7-3/2 49/11
  56/4 56/15 5 9 /14 62/6 63/ 4          58/ 7 59/11 59/14 59/17 60/8
                                                                                                   58/19 58/21 59/4 61/1 74/23
  63/6 63/10 65/ l 65/6 65/8             60/ 15 66/13 66/15 66/20 67/ 5
  65/1 7 68/12 68/13 68/16 68/21 67/13 68/5 68/5 69/18 69/22                                       98/20
                                                                                                t ip [ 2]       1 59/1 15 9 /1
  68/23 74/24 75/24 76 /2] 77/2          71/9 75/2 78/6 81/3 8]/21
                                                                                                t ip--t ip [ 1 ]        1 59/1
  77/3 77/7 78/23 81/22 82/1             88/ 4 89/9 89/10 89/11 90/8
                                                                                                today [ 10 ]          4 /7 4 / 10 S / 2 3 7 /14
  84/13 86/12 87/18 89/24 96/17 90/24 91/20 92/13 94/11 9 4 /1 2
                                                                                                   7/17 7/21 88/9 88/12 98/ 1 9
  97/1 1 97/ 1 8 103/ 1 103/7 103/8 95/20 95/2 1 97/1 97/5 97/23
                                                                                                   12 1/2
   L03 / 8 1 04/12 105/1 70 5/2          99/5 99/14 99/]7 102/5 102/6
                                                                                                toge t h er [l ]          49/4
  107/3 109/16 109/17 1 10/2 4           102/7 1 02/8 ] 02/10 102/14
                                                                                                token [l ]           40/21
  11 1/ll 114/l6 ]14/17 ll6/l 3          102/23 103/7 104/2 104/14
                                                                                                told (52 ]           9/6 22/8 26/12
  ) 1 7/2 120/18 120 / 1 9 120/ 21       10 4/19 105/9 108/16 ] 10/17
                                                                                                   34/21 35/12 35/]6· 36/8 36/18
  1 23/1 9 124/10 124/11 124/ 1 3        11 0 /1~ 1 1 0/ 21 110/2 2 1 1 2/13
                                                                                                   36/20 3 7/22 4 3/4 43 /ll 4 3/13
  1 24/ 16 124/20 1 25/10 126/12         1 1 2/ 1 5 112 /17 112/2 2 112/23
                                                                                                   43/24 44/1 44/ 20 57/8 57/1 1
  126 / 1 5 131/16 ~3 1/18 134/1 4       113/9 113/24 1 1 5 /3 ]18/23
                                                                                                   65/3 65/1?. 72/2 l 80 / 17 85/7
  134/18 )36/ 1 136/22 137/20            1 19/6 ]23/23 1 23/2 4 12 4 /1
                                                                                                   86/5 88/22 95/9 95 / 1 4 98/4
  1 4 4/ 1 3 14 4/ 1 6 145/1 148/12      124/8 12 4/9 125/16 125/17
                                                                                                   102/3 1 02/21 103/2] 105/24
  1 48/1 5 148/16 153/l 153/ 4           125/2 4 126/14 1 29/18 ) 30/8
                                                                                                   105/?.4 106/ 2 110/]3 111/5
  153/5 15 3/5 153/6 155/15              1 31/15 132/l 133/1 134/13
                                                                                                   1 15/7 117/20 1 26/ 1 4 127/2
  15 5/24 156/5 156/8 )5 6/19             134/14 136/5 1 36/6 ]36/13
                                                                                                   1 28/18 131/21 132;20 133/8
  1 56/20 156/23 157/ 4 157/6             1 37/3 1 37/4 137/]9 1 37/22
                                                                                                   1 33/19 139/7 1 47/13 149/7
  15 7/7 157/8 1 57/9 157/1 0             1 37/2 4 1 38/6 138/7 139/18
                                                                                                   154/23 155/18 155;]9 ]57/11
  1 57/11 157 / 1 7 157 /20 157/22        139/2 4 140/3 1 4 1/14 ]4 3/9
                                                                                                tomato [1 ]           126/Jl
  158/8 159/ 4 160/ 7 1 6 1 /3            1 4 3/18 150/3 ]50/12 152/1 5
                                                                                                 t oo ( 1 5 ]      3 1/1 7 43/5 53/22
  161/10 1 6 1 /16 1 63 /9 163/11         152/16 153/]2 15 4/ 2 154/10
   163/16 163/16                          155/22 157/10 157/ ] 6 15 7/1 6                          73/ 4 110/18 123/ 4 ]31/ 1 5
                                                                                                   137/4 154/20 1 55/1 7 155 /20
 they'll [ 1 2 ]      9/7 50/ 10 50/ll    158/16 158/17 1 58/2 4 159/6
                                                                                                    157/23 158/8 1 59/11 159/20
  54/14 5 4/15 65/ 7 79/ 3 87/8           159/7 159/8 161/6 162/9
                                                                                                 t o o k [ 15 )      29/1 49/ 2 1 67/ 1 7
   1 05/ 1 0 124/19 127 /22 156/8         1 62 / 1 3 163/1 5 165/19 1 66/6
                                                                                                   68/6 69/1 7 0/19 71/ 13 71/ 1 7
 they ' re [ 4 3 l    3 9 / 1 4 3 9 /15   1 66/ 13                                                 72/22 77/4 82/22 82/23 83/13
   39/J'/ 39/1/ 40/3 41/4 4l/ 6         those (24)        4/21 26/15 62/2 2
   41/7 4 1/18 5 4 /6 54// 55/14          67/4 72/ 4 80/11 80/2] 81/]5                             98/18 114/1/
                                                                                                 top [ 5 J 6 / 8 2 6 /?. n / 21 1 4 o/ 6
   58/23 63/5 63/8 63/9 77/24             82/ 24 83 / 8 83/21 8 4 /5 86/18
                                                                                                    1 4 1 /13
   78/13 79/ 1 84/19 86/ 18 97/12         88/23 89/3 93/5 99/1 ]0 3/23
                                                                                                 to t al (1)         11 3/ 18
   98/13 104/2 1 1]0/9 1 10/10            12 0 /12 127/ 7 143/4 1 47 / 21
                                                                                                 t ouching [ 1 ]          165/.18
   111/12 12 4 /6 131/22 13 1 /22         153/3 160/12                                           towards ( 2 ]          11 4 /5 114 /S
   1 31/23 132/ 11 132/1 2 1 41 19      though [10]        6/3 24/11 68/2
                                                                                                 track [ 1]          158/22
   1 42/8 1 4 6/16 1 53/ 4 155/1 7        69/18 97/18 1 44/ 1 8 1 4 6/15
                                                                                                 traditio n [3]             53/1 6 5 4/6
   l57/ l 4 157/15 1 57/21 - 57/23        1 52/11 152 /18 153/15
   161 /5                               thought (41        43/24 69/17                              1 46/2 4
                                          105/22 131 /17                                         traditional ( 1)              1 42 /10
 they've [ 2]        1 1/3 154/ 11      three [15]        30/21 30/23 34/22                      transcri be [ 1 ]            6/1 4
 thing [18 ]       28/13 42/13 43/5       36/ 2 50/12 50/21 50/22 5 0/23                         transcript ( 1 )             7 66/3
   46/3 55/11 73/8 73/20 86/20            5 6 /21 7 4 /23 81/23 82/1 82/5                        transferred [ 1 ]              37/9
   98/17 120/20 ]30 /3 136/1 4            8 2/13 112/22                                          tray (19)           54/17 54/ 16 5 4 /23
   137/1 2 144/ 1 8 ]44/19 158/23       through [31]        11/12 12/1 0 16 /3                      63/2 63/7 63/ 1 7 63/18 63/20
   1 58/24 J 61/1"1                      .29/1 29/24 30/ 1 0 31/7 32 /7                             8 7/16 87/22 102/ 5 102/7
 things (1 6 ]       11/21 50/4 51/2      32/23 42/22 5 7/10 59/22 60/ 7                            127/19 12'//22 149/3 152/9
   53/23 56/5 67/6 83/22 98/2             71 /1 78/20 97/11 107/7 1 1 7/7                           153/13 153/lS 15 3 /16
   103/23 1 05/22 1 09/ 1 121/18          1 22/9 123/7 12 4 / 12 ]28/2                           tray s [l ]         62/8
   1 24// 143/14 156 /4 159/5             130 /21 132/24 1 36/ 1 6 ]38/12                        tri al [ 3] 154/2 158 /3 166/2
 think (30)        10/18 20/8 35 /7       154 /12 159/7 1 61/ 19 162/1                           tricky [1 ]           3 4 /15
   45/ l O 47 /8 47/13 57/19 70/14        162 / 5                                                 tri e d [2]        100/12 151/21
   71/5 7//1 84/6 92/21 98/8            throughout [16]         1 2/17 17/2 4                     t:c:ue [ 1 ]     1 65 / 2 3
   1 0 6 /21 ]09/8 114/9 125/5            23/5 23/1 4 43/16 58/2 69/22                            tru th [2]         1 65/ I 7 165/1 7
   130/1 3 132/21 133/24 1 43/11          7 7 /8 80/ 7 96/16 ]31 /15 140/15                       tru thful [ l ]          159/7
   144/ 4 144/5 145/5 152/5               151/4 151/6 15 1/11 156/21                              try [2]        S5/J9 101/24
   153/23 155/4 155/ 6 156/22           Thursday (1)        2/3                                   try ing [ 10]          10/17 32/24 39/10
   ·158/23                              time [57]        6/2 6/24 7/5 11/7                          46/19 59/ 17 66/ 1 7 9'1/21
 t h ink it' s [1 ]       130/1 3         1 1 /14 14 /8 15/9 16/2 19/14                             108/18 ] )0 /16 1 40 /15
 thinking [6 ]         99/21 L19/3        20/ 8 22/20 23/5 23/ 1 7 24/ l                         TSH [l]         ·1 /5
   1 35/ 17 13 5/17 156/ 2 159/2
~                                .           i UV/LV    ~UV/ LL   ~ U J/0               Wd.=='U   \...   l-'Q J   J_~/ ;;./.   L-l / / ,.)   /.V / ~


Tuesday    ·h~                 4:18-cv-04063-SEM-TSH # 133-2
             8 9.'6 ft4g~f6 s4~~~4isJt ~1-Jn;Page~4 otsfo                         Page 17 of 23
                                                                                       37/]8  44/1            4 4 /2 45/ 16 69/19
                                                                                              83/12 86/15 98/15 99/5 99/21
 49/5 4 9/8 49/15 4 9/17 74/1 5      used [4)    35/3 69/ 11 109/10
 85/4                                 137/22                                                  100/4 100/7 ) 00/10 100/14
                                                                                              101/ 4 10 1 /4 101/5 119/13
Tuesdays [5]      60/12 60/ 1 4 68/7 using [l]    18/ 24
                                     usually [21     50/12 63/14                              1 2 0/ 17 128/18 L20/20 128/19
 81/15 82/13                         utmost [11    4 0/15                                     156/2 4
turkey [ 2)    67./2 0 62/23                                                                 way [21 ]    5/ 4 1 2/] 0 29/l 34/2
turn [l ]   161 /24                  V                                                        40/7 40/9 41 /5 42/9 53/22
turned [1]    1 54/21                varies [2]    25/20 50/ 6                                71/1 73/ 22 "/8/18 83/3 105 /4
turns [2]    90/20 154 /17           various [1]     8/8                                      114/1 1 1 19/14 i23/18 1 36/13
two [11 ]   32/17 33/4 33/4          vegan [211    56/8 56/12 56/] 9                          136/1 3 138/12 ]38/13
 49/20 76/24 77/11 89/13              56 / 20 56/22 57/2 57/7 126/6                          wa ys [1]    46/23
 1 12/18 11 2/2 1 158/16 160/2        126/18 1 27/1 128/1 1 28/5                             we [115 1 5/23 7/9 9/3 10/13
type [3 ] 29/2?. 56/7 80/16           128/1 4 l?.9/12 129/24 152 /6                           14/5 1 4/5 14/8 14 / 24 15/ ] 4
types [ 1]   5 6/ 1                   152/23 153/8 153/13 153/15                              16/1 16/7 16/18 )8/10 18/10
typing [1 1 5/ 23                     153/16                                                  18/10 18/11 20/2 20/3 23/16
U                                                    vegetarian [3]           16/20 56/16     23/20 23/ 2 0 23/?.l 23/2?. 23123
-U-- L    ___R
     - _- T  ___E___y___A_[_l _J__ 48_ /_ 2_. 4_ _ _   56 11 8                                ?.5/16 25/ll 26/16 32/20 32/22
                                                                        124/15                38/13 38/16 39/1 39 /1 9 39/23
u.s [2] 138/1. 4 162/lO                              vendor [1]
                                                                                              43/ 12 43/2 1 44/9 47 / 15 4 9/ 13
                                                                        66/14
ultimately [ 11                12 3/12               v erbal [11                              49/18 49/21 50/2 50 / 3 ~2/1
                                                                     J. 6/10
Ultreya [ 7 )            48 /20 48/24 48/2 4 versa [lJ                                        53/3 57/ 2. 63/19 65/ 1 1 68/16
                                                                   109/9 J 13/13 143/17
   49/3 4 9/22 50/1 50/?.                            very [4 ]
                                                       157                                    68/1 7 68/ ?. 3 68/24 69/3 71/2
un6onstitutional [lJ                      110/23            /lO                               83/22 87/2 89/9 89/22 90/3
undecided [1]                80/18                   vice [1)      1 6/10
                                                                                              90/19 91/9 91/10 91 / 11 94/24
under [11 )             28/?.4 3 4 11 9 35 /] 9 violate [lJ              17 / 1
                                                                                              95/1 95/17 98/16 98 / 19 10 5/J l
   4 5/1 4 45/20 46/3 77/2l 88124 violated [2]                             1 4 9/6 150/8
   89/8 150/?.0 154 /8                               violatin' [lJ           149/19           105/21    110/1 7 119/14 1 20/]2
                                                                                              120/7.0 125/11 126/10 129/1
understand [4]                 5 4/] 7 6012          Voelker [l]         2/ 1 8
   151/1 4 ·155/1 0                                  volumes [6)         119/21 119 /24       129/1 131/14 131/17 ]32/4
                                                                                              132/4 ]32/6 132/15 133/ ll
understanding [9]                  57/1 57; 6          120/4 17.0/6 120/ 9 120/1 0
                                                                                              133/1 2 140/16 142/4 143/1
   57/15 90/23 98/4 1 0 4/ 24 135/3 volunteer [1] 35/ 4
   146/14 1 59/5                                     volunteers [2 ]           41/8 50/9      143/6 1 45 /2 14 5/10 14':J/24
                                                                                              146/1 1 46/22 ] 46/23 14"1/16
understood [ 3]                38/24 39; 5           voucher [2]         1 14/10 114/1 6
                                                                                              147/21 147/22 1 48/4 148/4
   99/7                                              W                                        15 4/ 4 155/21 155/22 156/10
unheard [ 1 1 73/7                                   wagging [1]         66/16                157/16 1 58/3 ]58/'/ 1 59/6
uniform [ 1 ]             46/8                       wait [1]      6/4                        160/7 161/11 161/17 162/1 7
 UNITED [ 3 l           1 / 1 4 / 1 4 1 1 5 / 12     waived [2]         16 4/8 1 66/3         1 63/5 163/6
unless [1 ]             98/6                         walk [3]      78/11 10?./i2 127/23 we'll (2 ]           143/2 1 56/10
unrelated [1]                67/1                    want [401       4/6 5/1 9/23 20/1 4 we' re [25]           6/9 1'7 /1 l'! /?.3
 until [25]             6/4 10/1 9 11 /15              21/10 42/21 49/19 53/21 53/22 18/6 ?.l/4 36/18 36/20 38/L6
   35/11 37/18 59/14 70/1 77./7                        58/20 78/23 78/2 3 18/ 24 79/1         38/16 38/22 38/2 4 39/22 43/5
   73/1 3 74/ll 83/19 95/21 97/13 79/4 79/4 79 /5 79/7 85/16                                  56/18 57/1 57/7 11 0 / 3 1 13/ 7
   98/1 99/ 7 99/ 1 1 118/23 1 32/9                    85/19 86/22 86/2 2 97/1 1              122/1 0 126/9 133/]1 1~9/9
   132/10 1 32/ 2 0 137/17 1 49/1                      1 04/ 1 9 10 4/] 9 108/19 120/20        1 61/1 1 161/1 ?. 1 62 /18
   1 4 9/7 1 49/ 1 4 1 53/20                           120/21 12 9/10 130/7 132/9            we ' ve [ 5]    32/21 65/ 19 88/8
 up [58]           9/4 1 0 / 11 10 /". l 13/10 137/1 5 1 40/16 1 45/22 1 47 /7                 111/21 l?.1 /2
   22/4 23/21 25/17 3 1 /9 35/11                       1 4 7/18 147/19 161/22 1 62/10        wear [ 1]     4 6 /'7
   36/24 37/2 37/3 37/6 38/5                           163/15                                Wednesday [2]           I 40/?.3 1 4 5/3
    4]/21 42/21 43 /3 50/17 50/18 wanted [21]                            1 0/21 J 0/22 29/23 week [ 1 ]    l 62 / 4
    50/20 50/24 58/8 59/14 63/ 1 8                     7 6/10 93/12 93/20 112/5              wei gh [l]      6':J/ l
    64/9 6'1/18 70/1 74/17 76/10                       118/ 16 1 1 9/ 10 119/12 1 19/1 7     weight [10]         64/ 1 64 /1 64/2
    78/ 4 79/11 79/13 79/16 79/20                      120/2 1 20/8 120/12 1 26/ 1 8           64/5 64/6 64/12 64 / 2 1 65/4
    83/19 87/7 87 /11 95/21 97/8                       151/1 8 15 3/14 157/24 1 60/4           65/9 65/12
    97/9 105/ll 123/8 123/11                           161/13 163/3                          well [100)        "f/J.3 7/14 8/11
    ]27/19 129/9 136/14 137/17                        wants [5]       85/22 87/9 97/17         9/22 1 0/ 1 0 1 0/15 12 / 6 14/16
    )38/ 1 3 1 42/13 1 49/ 1 149/]8                    105/8 118/21                            2 4 /17 26/10 28/3 31 / ]9 31/20
    150/] 151/12 1 57/17 158/10                       warden [ 34]       14/3 1 4/3 15/2       32/1 1 32/14 34/1 4 36/':J 36/1 6
    158/12 ]5 8/19 161/22                               ]5/3 1 5/4 23/24 25 /9 25/12           37/7 43/20 44/14 44 /15 4 5/2
 Uphoff [1]             155/19                          2 6/16 ?.7/ 7 27/9 27/13 33/16         46/24 47 / 1 49/11 4 9/16 52/]
 upon [2 ]           7"1/5 165/20                       89/ 4 89/14 89/15 89/]9 89/20          52/12 52/15 54/3 54/11 54/12
 upset [1)             68/5                             89/22 89/23 89/24 90/1 90/1            56/21 57/18 ':J9/9 59/2 4 63/16
 upside [lJ             141/16                          90/2 90/3 90/21 90/23 108/1            66/14 67/24 68/10 68/ : 6 68/23
 us [33]           8/9 8/16 9/6 18/13                   112/24 127/8 135/5 143/3               72/ 1 8 72/21 73/22 75/ 1 9 76/7
    38/ 11 38/15 38/20 38/?0 38/23 14 3/5 157/11                                               76/2 4 77/ 18 78/7 78/15 79/4
    39/5 39/19 43/4 43/23 66/7                        warden's [1]         98/11               7 9/1 1 79/15 80/ 11 81/ : 1 85/7
    76/24 94/23 95/ 1 8 98/ 1 4                       wardens [2]        74/12 89/13           86/4 88/21 89/2 89/5 93/14
    12 6 / 11 1 34/18 1 39/5 147/13                   was [272]                                95/9 95/14 95/24 96 / 24 97/ 73
    151/15 1 52/20 1 55/22 1 56/9                     Washington [1]           158/1?.         99/ 1 8 101/8 1 01 / 1 0 107/20
    157/13 1 58/2 160/14 160/16
w                                           wut:L 4::   L4.--:, J   J.   v / ,,._ J.   .J..   v /   ~ .L   J.. -1. t .i. ..L    J.   uJ   /   t:.->
         4·+8 C\I A4A6~ 4:18-cv-04063-SEM-TSH
                        S+=M TSH1J# i;2:S,tlt 19Pag'2# 6i!9;Q~6§>1/
                                                        133-2 Page      18 of 23 [4]
                                                                    1 2 witness                                                                       3/2 4/1 16':l/24
well ... [3]    1n7g rtffil       51/12 51/24 57/1':l 58/2 1 76/23 166/ 11
 114/ll 1 1 5/20 116/9 126/8                 7 9;22 87/5 98/19 113/7 11 4 /16                                                  witnesses (2)              154/3 154/6
 127/13 127/1~ 128/1 7 133/5                 1 24 ; 7 l24/J8 1 24/20 129/4                                                     won"t [7 ]         59/24 63/18 121/1 7
 13:,/21 1 40/18 1 44 /3 144/5               139/5 ]39/11 145/8 155/22                                                          148/1 2 148/15 151/5 156/10
 145/11 1 46/4 1 46/22 151/5                 15 8/l9 J.59/ 9 1 62/20                                                           word [4 ]         13/10 51/6 8?./7
 153/11 l:> 4 /4 157/9 160/1 3              WHEREOF [1]        16 6/ 11                                                         104/15
 161/4 162/3 162/9 J 62/ll                  whether [10]         1 2/21 16 /4 3 4 /6                                           work [ 9]        ':l/ 4 45/12 ':_, )./12
 163/ 2 163/14                               48 /19 60/20 91/ 1 2 116/20                                                        ':l2/16 52/18 5 2/?.l 52/ 23 98/2
went [22)         29/12 68/13 91 /18         121/3 122. /21123/13                                                               12 6/'I
 91/19 92/4 92/12 96/15 96/20               which [58]       4/] l 11/1 14/3                                                   working (7]             41/3 58/7.7. 8':l/21
 99/19 99/20 100/23 1 0 1 /8                 1 9/22 2 3/6 23/17 7.3/2 1 23/2 2                                                  15 6/ 13 1:,7/1 157/6 157 /8
 102/1 1 02/ 2 102/ 2 1 102/24               24123 25/2 4 26/13 26/ 1 6 28 /17                                                 works (4)           32/6 4 4/ 13 45 /1 0
 104/2 116/1 9 1 22/15 1 50/1                29/9 29/ 1 0 3 1 /2 31/ ) 0 34/1 7                                                 7 4/19
 1:,7/20 162/4                               4 1/11 49/3 49/18 57/21 66/4                                                      world [ 1)         53/?0
were [74]         8/ 1 6 l':l /17 : 6/3      / 2 /6 76/7 76/9 76/9 79/6 80/5                                                   worship [2]             /5/1 4 76/1
 16/12 16/16 16/18 19/23 22/12               82/6 86/ 7 93/J 95 / 1 95/5                                                       would [ 88)           4 /8 5/4 ':l /22 6/9
 22/20 22/21 23/22 25/16 26/19               103/19 105/17 108/23 1 09/3                                                        6/24 7/23 8/5 8/23 10/3 10/8
 30/17 30/23 3 1 /4 46/]8 46/20              109/19 1 1 2/20 ]13/ 15 122/2                                                      10/15 1 1/1 1 14/5 16 / 10 18/ 1 9
 47/2 47 /21 51/3 5 9/ 12 59/]9              126/16 133/20 134/10 1 39/22                                                       2':l/13 25/22 25/24 26/22 27/]2
 60/16 61/1 62/6 62/7 63/10                  1 40/23 ]40/24 141/5 144/9                                                         29/1 1 30/ 10 30/1 4 31 /5 3 1 /10
 63/12 74/13 74/1 4 '/4/16 75 /1 1           1 44/ 1 4 144/15 1 48/2 154/13                                                     32/13 32/ 1 4 32/1 8 33/2 33/5
 76/7. 76/ 1 9 82/3 82/17 82/20              160 /11 1 60/19 1 62/13 1 66/6                                                     36/16 36/23 38/2 43/ 4 43/12
 83/ 1 83/7 83/21 8 4 /4 85/11              whichever [l)          55/20                                                        46/20 47/l 4"//3 48/1':l 55/2
 93/13 95/1 95/ 1 9 103/?.4                 while [5]       48/2 5 1 /3 51/21                                                   55/1 0 60/6 60/ 1 4 60 / l'/ 62/2
 119/11 119/ 1 8 1 21 /19 121/20             7 6 /15 1 44/16                                                                    62/11 6?. /2 2 62/24 63/1 4 63/2 0
 121/22 123/14 123/ 14 l31/16               who [ 4 0]    8/21)2/22 1 3/19                                                      64/8 64/11 64/17 65 /1 65/1
 131/18 132/ 1 6 136/22 137/1 4              14 /4 14/18 22/ 6 26/2 1 27/2                                                      67/1 '/ 2/1 7 2/9 74 / 1 "/ '/5/12
 138/16 143/23 ) 48/6 1 48/ 10               27/23 28/19 30/16 30/23 3 4 /3                                                     76/3 76/5 77/ 1 2 7 7 /11 81/17
 1 4 8/22 1 49/3 1 49/5 150/8                35/13 36/3 41/13 41/16 54/12                                                       81/22 82/1 82/2 82/4 82/5
 15 4 /2 15 5 /15 1 55/16 157/6              57/8 57/11 74/14 76/19 79/18                                                       82/8 83/3 86/ 13 102 / 1 10 2/2
 1 57/8 161/3 162/20                         81/ 1 9 85 /13 85/22 89/11 89/16                                                   102/6 1 1 3/J 116/11 120/15
weren't [5)          8 1 /6 92/11 147/22     89/l9 89/22 91/3 95/20 96/2                                                        122/1 4 122/15 123/7.'3 126/17
 1 48/4 153/15                               96/3 1 12 /3 112/6 125/1 6 146/3                                                    126/19 1 27/10 12 9 /15 145/ 10
West [1]         106/?.2                     1 :, 4 /2 165/1 6                                                                  154/2
what [223]                                  who's (8)       36/3 36/5 39/1 63/6                                                wo uldn' t [18)            16/ 18 2 4 /4 2 4 /9
what's [12]          5/24 9 /5 27/16         68/19 89/23 128/10 163/9                                                           27/10 56/15 56/18 61/10 61/11
 5 0 / 1 0 8 2 / 6 1 0 4 /J 5 11 0 / 4      Whoa [ 1 ]    3 5 / 18                                                               6 3 / 2 6 3 / J 7 7 3 /1 0 9 8 I I 9 105 I 1 7.
 118/18 121 /7 126/20 1 35/3                whoever [12]         15/8 31/10 33/16                                                112/13 116/13 120/15 1 4 5/14
 150/3                                       50/7 8 ':l/21 89/24 1 09/ 1 2 110/2                                                 15 7/22
whatcha [ 1 J 12 6 /1 9                      112 / 1 7 115 /) 2 115 / 13 12 7 / 8                                              wow [ 1 J l :, 0 /?.
whatcha-cal l (1 )            126/19        whole [17)        15/ 1 9 18/1 18/ 4                                               write [9]           1 4/2 69/4 '/ 2/9
whatever (2 5)           6/17 7/1 0 11/10    23 ; 5 23 17 24/'/ 24/1 7 31/7.1                                                    78/ 1 8 126/19 129/18 130/18
 19/]3 24/:, 26/1 29/21 37./2                36/19 45/ 23 77/16 87/20 9 6/ 1 6                                                   130/]8 163/13
 50/5 50/6 50/16 50/2 4 54/6                 lOO/l 2 l l 0/l3 129/16 131/15                                                    wr i ting [7]           1 8/24 19/12 L9 /15
 5 4/21 55/18 69/'IO 77/4 78/3              whose [3 )      109/3 112/23 113/2                                                   34/7 129/t3 129/14 L29/24
 1 03/6 104/16 111 /11 122/22               why [ 4 l ]   8/10 8 /16 8/2 4 34/14                                               written (1]             9]/17
 124/13 12 4/21 1':l3/8                      37 ; 2 38/7 38/13 38/2 4 39/5                                                     wrong [3]           33/1 39/1 1 1 41/3
whatnot [2]          69/ 2 153/9             44/l4 44/ 18 45/7 45/21 56/14                                                     wrote [ 2 )         9/16 69/9
when [95)         9/3 10/9 10/ 20 13/1       5 6/7.0 58/3 58/3 69/5 69/ll
 19/8 22/2 22/12 22/20 28 /4                 74/9 ·15;4 81/6 8 4 /8 86/23                                                      y
 29/8 3 2 /13 34/9 35/7. 36/12               89/5 96/22 97/5 97/1 1 100/24                                                     yard [1)      75 /12
 3//4 39/23 42/4 43/21 43/24                 10 2/ 14 1 17/20 ]17/21 132/1                                                     yeah [25]      1 2/13 15/5 15/11
 44/20 48/1 1 52/6 53 /1 8 54/9              14 2/5 142/ 7 1 45 /15 14 5 /20                                                    1 8/3 7.3/14 23/18 41 /9 42/ 7
 54/17 59/1 4 62/6 64 / 8 64/24              1 4 9/15 1 5 1 /20 155/18 157/1':l                                                 44/6 ·10111 70/1 7 8 4 /1 9 106 /]9
 66/ 14 68/ 4 68/6 69/9 69/20               WIDE [1]      1 /22                                                                 107/2 107/12 1 10/21 17.3/':l
 70/8 70/19 12/] 0 73/2 74/8                wife [1)      41 / 1 6                                                              1 29/8 J 3;>,/8 J 3 4 /3 136/1 138/6
 79/21 81/16 82/22 87/13 91/7               will [13 ]      6/4 ]4 /1 2 15/14                                                   142/18 1 4 8/15 164 /1
 91/8 91/18 92/19 92/24 93/14                21/9 34/17 4 9/12 50/18 69/1 8                                                    year [35 ]      9/3 9/8 10/7. 11/1
 95/9 99/ 19 99/20 100/3 100/6               ] 2 1 /14 1 21/17 127/]7 1 54/18                                                   13/9 13/9 15/10 16/8 17/ ]0
 1 00/9 100/23 1 06/ 1 106/13                 l':l8/2                                                                           22/2 22/ 9 22/12 26/6 29/12
 1 06/15 107/9 1 07/ 1 0 1 07/13            Williams [5 ]        1 4/3 15/3 15/4                                                34/24 43 ; ·1 43/7 55/ 11 55/18
 ]16/5 117/16 ]24/ 1 124/5                    15/6 89/ 1 4                                                                      58/2 ':l9/]4 69/2 2 7 0/1 0 19/9
 1 24/1 2 127/18 1 28 /8 1 28/14            wing [2]      75/ 1 1 75/ 13                                                        8 7 / 1 9 126/ 15 1 2 8/ 1 6 1 28/20
 1 28/17 1 31 /9 13) /70 133/ 22            wise [3]      61/7 61/8 61/10                                                       129/J 132/15 135/11 1 4 5 /4
 134/8 135/8 137/7 139/7 149/2              wit [1]      165/12                                                                 14 6/ 19 167. /19 1 63/3
 14 9/4 149/8 15 0/ 1 151/8                 within [1]        1 62/4                                                           yearl y [ 6 ]    54// 161/ 20 162/2
 153/ 22 155/18 l':l9/18 161/6              without [7]         80/15 100/15                                                    162/8 162/12 162/14
 161/12 161/15 161 /16 162/4                  1 00/20 101 /3 1 39/13 139/19                                                    years [ 12 ]     8/ 1 3 3 1/?.2 49/21
 162/13 162/17 162/2?. 163/2
X                                      V/~L   0/~   ✓ J~L   l l /~   L V/ll

           :[3tr c~B1 9?1?1EM)£;S H
years . . _4              8 4:18-cv-04063-SEM-TSH
                                         2t#;ti?'.l2"ilt6      # 133-2 Page 19
                                                      P.age~6-,of2ij6s           of 23
  140/22 149/23 151/4 151/6              28/6 28/15 39/9 39/11 40/3
  151/12 ]56/22                          40/ 4 40/ 7 40/8 40/17 4 1 /1
yes [135) 5/20 6/7 6/11 6/l 5            41/3 42/23 45/9 46/3 46/16
  6/ 15 7/ 1 2 7/ 1 5 8/2 9/20 12/16 46/1 7 46/19 50/24 ~1/14 ~1/24
  13/14 13/24 16/17 17/] 5 17/20 52/5 52/7 53/15 53/16 53/16
  18/lJ 19 /6 19/1 0 19/20 22/ 1 0       54/2 54/1 6 57 /l~ 58/22 61/5
  23/ 4 2b/4 25/6 26/24 27/6             61/24 63/18 63/23 65/3 65/23
  28/10 29/3 29/5 29 /13 2 9/15          6 5/2 4 67/2 67/ 8 71/ 9 71/11
  30/12 30/17 30/19 31/15 33/12 7 4/ 7 74 /8 79/20 83/24 84/2
  33/21 34/12 37/24 38/6 41 /12 - 84/3 84/19 85/8 88/1 88/ 1 9
  43/3 47/12 47/ 22 48/ 19 49/9          89/ 1 8 89/19 90/6 91/20 91/2 1
  49/ 1 4 49/1 7 51/9 51/11 51/16        92/ 1 7 92/17 93/3 93 / 4 94/ 4
  51/20 51/23 5 2 /3 53/6 53/11          94/18 98/23 101/7 102/11
  53/12 56/9 56/1 1 56/24 59/23          103/16 105/18 1 05/ 19 107/16
  60/10 61/4 6 1 / 23 63/15 6 4 /20      108/14 112/1 ]]2/7 112/2 4
  64/23 6 7/ 1 0 67/12 67/15 67/ 1 7 113/11 1 15/6 116/4 117/4
  70 / 22 7]/8 7]/15 71/2 1 72/5         117/ 6 117/1 4 11 8 /8 118/12
  75/17 7 6/18 76/]9 77/20 77/24 118/17 120/3 12 0 /13 1 21/ 1 9
  79/20 82/12 82/15 83/1 9 84/1          127/16 133/16 13 5/3 145/1
  85/5 90/17 92/ 7 92/ 10 92/12          1 45/16 147/4 1 4 7/15 ]49/5
  92/2 1 93/7 94/3 94/6 95;·1            150/ 7 155/1 155/10 156/15
  98/24 100/1 102/ 20 106/5              1 59/2 1 159/24 1 60/ 1 160/2
  106/8 1 06/]3 107/8 108/9              1 60/2 4 161/22 1 61/23 161/24
  114/ 5 1 15/17 1 16/5 117/11           162/12 162/23
  1 17/1 3 117/1 5 J25/3 1 2 6 ; 5      your religious [ 1 ] 120/3
  1 28/ 7 1 28/13 130/1 6 131/8         yours [1]         96/8
  132/ 2 3 133/8 134/5 13 4 ;2 4        yourself [1] 11 /24
  l 36/ 6 136/ 23 137; 2 138/2          yourselves [ 1) 1 4 9/ 1 2
  138/4 138/8 l38/19 1 44/1
  150/10 150/22 152/8 154/l
  155/] 4 15 9/19 160/ 11 160/23
yesterday [ 6]       4/ 1 4 57/21
  1 45/17 1 45/17 159/23 1 59/23
yet [ 8] 38/?.l 68/l2 95/1 2
  12 )/1 1 1 2 1/16 15 4 /14 1 63 /19
  163/21
York [1] 124/12
you [935 ]
you'd [1]       33/8
you'll [8)       50/17 5 0/20 50/23
  54/1 0 55/13 55/13 1 27/18
  14 9/21
you're [86)       6/4 6/13 12/15
  15/21 19/3 20/10 20 / 13 21/5
  21/7 23/] 24/7 26/18 29/8
  2 9/2 1 35/16 38/4 38/18 38/19
  38/20 39/24 4]/ 3 41/?.0 4?./5
  42/7 42/ 8 51/14 53/15 54/10
  55/21 57/19 58/3 58/13 58/18
  59/9 60/?.2 61/8 61/16 61/23
, 62/3 62/ 3 6 4 /22 66/11 67/ 1 3
  67/ 16 69/13 70/6 70/15 70/20
  7 7 /18 7 8/16 80/ 1 9 80/ 2 0 82/ 24
  83/14 8)/21 88/3 89/ 1 2 89/17
  92/6 95/12 96/12 97/ 1 9 108/6
  112/10 125/6 125/21 : 29/19
  1 30/17 132/9 133/6 134/4
  1 34/10 136/24 138/9 : 40/15
  1 44 /12 144/13 145/6 :47/1 8
  147/20 149/13 150/24 158/18
  160/8 161 /21 1 62/6
you've [ 1 6 )    32/~ 36/?. 44/24
  49/ 1 0 51/21 58/19 58/?.J 60/8
  60/]] 76/12 76/15 80/18
  105/18 1 05/19 1 25/2 148/14
young [2 ] 106/1 106/JO
younger [ l ) 107/10
your [ 12 0 ) 5/7 5/13 5/1 4 5/19
                        4:18-cv-04063-SEM-TSH # 133-2             Page 20 of 23
      4:18-cv-04063-SEM-TSH # 121             Page 1 of 36                                          E-FILED
                                                                         Monday, 20 July, 2020 11 :46:23 PM
                                                                             Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

Aaron O'Neal, N53022,                            )
                                                 )
       Plaintiff,                                )
                                                 )
       V.                                        )       Case No. 18-4063-SEM-TSH
                                                 )
Manuel Rojas, et al.,                            )
                                                 )
       Defendants.                               )

                           MOTION FOR SUMMARY JUDGMENT

       Defendants, Manuel Rojas, Stephanie Dorethy, Freddie Britton, John Frost, Steve Gans,

Melissa Pelker, and John Baldwin, through their attorney, Kwame Raou l, Attorney General for the

State of Illinois, pursuant to Federal Rule of Civil Procedure 56 and Local Rule 7. l(D), hereby

move for summary judgment and provide a memorandum of law in support:

                                       INTRODUCTION

       On March 22, 2018, Plaintiff filed his Complaint. [Doc. l]. P laintiff was allowed to proceed

on a First Amendment claim concerning his right to practice his religion, a Fourteenth Amendment

equal protection claim, a Religious Land Use and Institutionalized Persons Act claim, and a First

Amendment retaliation claim.

       Specifically, Plaintiff: (1) claims Defendants Rojas, Dorethy, Britton, Frost, Gans, Pelker,

and Baldwin violated his First Amendment rights by failing to provide him with meatless meals

on Fridays during Lent; (2) claims Defendants Rojas, Dorethy, Britton, Frost, Gans, Pelker, and

Baldwin provided offenders with other religious affiliations with special religious diets but refused

to provide special religious diets to Catholics during Lent; (3) claims Defendant Rojas retaliated

against Plaintiff for complaining about a religious diet by removing Plaintiff from the list of

individuals allowed to participate in Cursillo; and (4) claims the Religious Land Use and
                     4:18-cv-04063-SEM-TSH # 133-2                 Page 21 of 23
      4:18-cv-04063-SEM-TSH # 121             Page 3 of 36



       3.     During the timeframe relevant to this lawsuit, Plaintiff was able to abstain from

eating meat on about 95% of Fridays. [Ex. 1, Deposition of Plaintiff, 60-7-10, 125:21-126:5].

       4.     In 2016, Plaintiff was able to purchase meatless food products at the Hill

Correctional Commissary during Lent, including, at least:

              a. On February 19, 2016: two cookies, two cashews, one oatmeal, two cereals,

                  two tortillas, eight sodas, eight chili refried beans and rice, one cheese jalapeno,

                  three coffee, eight BBQ sauce, one instant milk, two apple p ies, and two fudge

                  dip granola;

               b. On March 7, 2016: one instant milk, three tuna withjalapenos, two popcorns,

                  two cereals, five sour cream and onion chips, two nutty bars, four refried beans

                  and rice, one cashews, one coffee, one tortillas, six BBQ sauce, and six sodas;

                  and

               c. On March 18, 2016: two popcorn, two sour cream and onion chips, two cheese

                  jalapeno, two tortillas, two tuna, two mayo, two Kool Aid, one cookie, one

                  cashews, two sodas. [Ex. 4, Plaintiffs Inmate Commissary Fund, pp. 1-3].

       5.      During Lent in 2016, Plaintiff also purchased numerous food items containing

meat. [Ex. 4, Plaintiff's Inmate Commissary Fund, pp. 1-3].

       6.      In 2017, Plaintiff was able to purchase meatless food products at the Hill

Correctional Commissary during Lent, including, at least:

               a. On March 22, 2017: two tortilla chips, one nacho cheese chips, four brown rice,

                   two peanuts, two cheese jalapeno, six BBQ sauce, two Hawaiian Punch, two

                   salsa, two coffee, two tortillas, two cookies, eight tuna, one vegetable flakes,

                   one Skittles; and



                                                                                                     3
                       4:18-cv-04063-SEM-TSH # 133-2               Page 22 of 23
          4:18-cv-04063-SEM-TSH # 121           Page 5 of 36



          11.    During each Friday during Lent in 2020, offenders at Hill Correctional Center were

offered meatless meals at all three meals without having to sign up for a special meal. [Ex. 2,

Declaration of Karen Norman Rees, ,r 2].

          12.    The current Chaplain of Hill Correctional Center intends to have the facility provide

three meatless meal options each Friday during Lent in future years. [Ex. 2, Declaration of Karen

Norman Rees, ,r 3].

          13.    Plaintiff complained to Defendant Rojas, then-Chaplain of Hill Correctional

Center, every year from 2005 until Defendant Rojas's retirement in 2018, about wanting a r.e ligious

diet during Lent. [Ex. 1, Deposition of Plaintiff, 69: 13-70:7; Ex. 3, Declaration of Manuel Rojas,

iJ 21].
          Cursillo and Ultreva

          14.    Plaintiff alleges that Defendant Rojas removed Plaintiff from the list to participate

in Cursillo due to eleven years of complaints about wanting a religious diet during Lent. [Ex. 1,

Deposition of Plaintiff, 69: 13-70:7].

           15.   Cursillo is a weekend retreat that occurs once a year. Ultreya is a reunion group,

based on the Cursillo retreat, that occurs the third Tuesday of every month. [Ex. 2, Declaration of

Karen Norman Rees, ,i 2; Ex. 3, Declaration of Manuel Rojas, ,i 1].

           16.   The Cursillo retreat and Ultreya are held in the Chapel of Hill Correctional Center.

[Ex. 2, Declaration of Karen Norman Rees, ,r 5; Ex. 3, Declaration of Manuel Rojas, ,i 2].

           17.   The Hill Correctional Center Chapel has a maximum occupancy of 100. [Ex. 2,

Declaration of Karen Norman Rees, ,r 6; Ex. 3, Declaration of Manuel Rojas, ,i 3].




                                                                                                     5
                      4:18-cv-04063-SEM-TSH # 133-2                Page 23 of 23
       4:18-cv-04063-SEM-TSH # 121              Page 7 of 36




        25.    When there were too many requests to participate in Cursillo or Ultreya, the

decision was made to allow newer offenders who had not previously been able to attend Cursillo

or Ultreya to participate in those events. If everyone who requested was allowed to attend these

events, the number of individuals in the Chapel would exceed the maximum occupancy limit of

the Chapel. [Ex. 3, Declaration of Manuel Rojas, il 11].

       26.     When there were too many requests, Defendant Rojas's clerk would go through the

list of individuals who wanted to participate, determine who was eligible to participate, and

Defendant Roj as would issue call passes to those individuals so they could attend. [Ex. 3,

Declaration of Manuel Rojas, ,i 12].

       27.     This decision affected some individuals who, like Plaintiff, had been participating

in these events for longer periods of time. [Ex. 3, Declaration of Manuel Rojas, ,i 13].

       28.     Plaintiff was only unable to attend one Cursillo retreat held in early 2016 and one

Ultreya service, which was a continuation of the early 2016 Cursillo retreat, because the number

of individuals who had requested to participate exceeded the number of spaces available in the

Chapel. [Ex. 3, Declaration of Manuel Rojas, ,i 14).

       29.     Any complaints Mr. O'Neal may have made concerning Lent meals, or any other

topics, played no role in the decision about would be able to participate in Cursillo or Ultreya. [Ex.

3, Declaration of Manuel Rojas, ,i 15).

       30.     Even though Mr. O' Neal was not able to participate in these services. Mr. O'Neal

was able to practice his religion in other ways: he could obtain copies of the paperwork distributed

at Cursillo and Ultreya in order to complete them in his cell; he could engage in individual prayer

in his cell; he could read the Bible and any other religious texts he had in his possession; he was

allowed to attend the other Catholic Tuesday services; he could watch Catholic mass on the



                                                                                                    7
